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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


PHYLLIS CARSON; LORNE
COSMAN; WILLIAM DRAPER;
PHILLIP ERICKSON; TERENCE                  Case No.: 1:22-cv-00208-CFC
GRANER; DONALD HARMAN;
SARAH HOUSEHOLDER;
TRUDY L. GRANER; TRUDY                     JURY TRIAL DEMANDED
LETSON; SABINE MILLER;
DIANA HOBERT-POWELL;
JANET PURVIS; PATRICIA
ROBERTS; CAROLE SCHAUER;
CARA WASHINGTON;
STEPHEN KAPLITT; MICHAEL
DOBKIN; CHERYL MEOLA;
DIANE DRAKE; CHRISTOPHER
NIND; ROSE CARINA; BRUCE
WILLIAMS; ANTHONY
HARRIS; TIMUR SAKHARUK;
ROBERT DIMARTINO; IAN
PERRY; STEPHEN LUTHER;
GREGORY ORENSKI; RODNEY
NASH; and DEBORAH THELEN
individually and on behalf of all
others similarly situated,

            Plaintiffs,
v.

HP Inc.

          Defendant.
____________________________


              SECOND AMENDED CLASS ACTION COMPLAINT


                                     1
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       Plaintiffs Phyllis Carson; Lorne Cosman; William Draper; Phillip Erickson;

Terence Graner; Donald Harman; Sarah Householder; Trudy L. Graner; Trudy

Letson; Sabine Miller; Diana Hobert-Powell; Jan Purvis; Patricia Roberts; Carole

Schauer; Cara Washington; Stephen Kaplitt; Michael Dobkin; Cheryl Meola; Diane

Drake; Christopher Nind; Rose Carina; Bruce Williams; Anthony Harris; Timur

Sakharuk; Robert DiMartino; Ian Perry; Stephen Luther; Gregory Orenski; Rodney

Nash; and Deborah Thelen individually and on behalf of all others similarly situated,

file this Second Amended Class Action Complaint (“Second Amended Complaint”)

against Defendant HP Inc. (“HP”). The following allegations are based on personal

knowledge as to Plaintiffs’ own conduct and on the investigation conducted by their

counsel.

               INTRODUCTION AND SUMMARY OF ACTION

       1.     Plaintiffs bring this consumer class action alleging that HP misled

consumers about the quality and functionality of the Envy Laptops (“Envy”), Envy

360 Laptops (“Envy 360”), Pavilion Laptops (“Pavilion”), Pavilion 360 Laptops

(“Pavilion 360”) and the HP 14, HP 15, and HP 17 Laptops (“HP Laptop”).

Together, these computers, sold in or after 2017, make up the “Class Laptops” 1. The




1
  Plaintiffs reserve the right to modify the Class Laptops included in the Class Definition,
including after conducting discovery.
                                             2
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specific time period alleged herein pertains to those Class Laptops that were

purchased in 2017 to present (hereinafter referred to as the “Class Period”).

      2.     During the Class Period HP designed, manufactured, marketed, sold,

and distributed the Class Laptops to tens of thousands of consumers throughout the

United States.

      3.     The Class Laptops all possess a material defect that prevent them from

being used as portrayed in HP’s advertising materials, and HP concealed, failed to

disclose, or otherwise engaged in deceptive marketing with respect to this defect. As

a result, many consumers purchased computers that became practically unusable

after just months of use.

      4.     Unbeknownst to consumers, the Class Laptops are designed and

manufactured with a common inherent defect that, with ordinary use as intended,

compromises the laptops’ hinges, thus impairing the computer’s portability and

functionality. More specifically, the Class Laptops’ hinges are substandard and

defective in that they prematurely and unexpectedly crack and fail, eventually

breaking off from the poorly secured plastic mounting points at the base (where the

keyboard and internal components are located) of the device (the “Hinge Defect”).

      5.     One of the essential attributes of a laptop or portable computer is the

ability to open and close the case like a clam shell for ease of transport. This ability

is contingent on the hinge being anchored to the two halves of the laptop. A laptop’s


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universal design consists of a thin upper case, containing the monitor, and a thicker,

more robust bottom case that contains the keyboard, hard drive, CPU, and other

critical components. The hinge provides a connection between the two halves and

allows the monitor to be opened and closed as needed.

      6.     The Hinge Defect is the result of ordinary stress on a vital component

that is common in all the Class Laptops. Because the hinges are anchored to the

laptops with poorly made and substandard parts constructed from weak plastic

and/or otherwise suffer from defects in material and/or workmanship, the ordinary

opening or closing of the laptop fractures the plastic anchors, causing them to fail,

and destabilizes the hinges, separating them from the case. This destabilizing of the

hinges causes the case to become compromised resulting in further damage to the

lower case and inoperability of the hinge as designed. In many instances, as a result

of the Hinge Defect, one end of hinge detaches from the computer completely. As

a result of the Hinge Defect, the Class Laptops are unable to be used as intended,

that is a portable computer that can easily open and close for mobility, and in the

case of 360 models, reconfigure to multiple angles and be used as a tablet or a laptop.

The Hinge Defect is captured in the below photograph of a Class Laptop hinge

mechanism from a brand-new Class Laptop that was only opened and shut 15-20

times before the Hinge Defect manifested.




                                          4
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                Fractured Plastic Anchors in a Class Laptop (HP 17)




                     Fractured Plastic Anchors in 17” HP Envy2




2
  17" HP Envy Coming apart at the left near screen hinge - Page 3 - HP Support Community
- 4651990
                                           5
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              Fractured Plastic Anchors in a Class Laptop (HP 17)




              Fractured Plastic Anchor in a Class Laptop (HP 17)




                                      6
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                        Hinge Defect in an HP Envy 3603




      7.    As shown in the photographs above, the Hinge Defect is present in both

HP’s traditional clamshell style laptops and its 360-degree convertible hinge style

laptops. Despite its knowledge of the Hinge Defect, Defendant markets its 360 line

of computers, specifically the Envy 360 and Pavilion 360 computers as “convertible”

and designed to offer a near limitless range of angles and movements to users:

      “Create on-the-go with a convertible laptop designed to move with you.
      The power of a 360 degree hinge combined with the simultaneous use
      of touch and pen make for vibrant, accurate creations…The 360 degree
      hinge adapts so you can capture every intricate sketch with precision.”4
      (Envy x360)

3
  HP Envy x360 Broken Hinge - HP Support Community - 6793400
4
 See HP Envy x360 Product Listing, https://www.hp.com/us-en/shop/pdp/hp-envy-x360-
laptop-15t-ed100-174r7av-
1?cq_src=google_ads&cq_cmp=12690817676&cq_con=123460399194&cq_term=&cq_
med=&cq_plac=&cq_net=g&cq_pos=&cq_plt=gp&DSA&jumpid=ps_con_nb_ns&utm_

                                         7
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      “The HP Pavilion x360…convertible adapts to you so that you are
      productive at any angle…with four modes to choose from, you’ll find
      just the right angle for anything with the extremely flexible HP Pavilion
      x360.”5

      8.     Defendant marketed its HP Laptops as “reliable” and “designed for

long-lasting performance”, with “compact, portable design.”6

      9.     Defendant further provides assurances to customers as to the HP

Laptops’ durability and HP’s pre-sale diligence by stating that “extensive quality

testing ensures that you can keep going…and going.”7

      10.    Indeed, Defendant claims that each model has been subject to 115,000

hours of testing,8 which included opening and closing the laptops tens of thousands

of times.9 Moreover, HP represented to consumers that it subjected its hinges to



medium=ps&utm_source=ga&utm_campaign=HP-
Store_US_BRA_PS_CPS_OPEX_Google_All_SEM_All_Notebooks-
DSA&utm_term=&matchtype=b&adid=512564949515&addisttype=g&gclid=Cj0KCQj
wqKuKBhCxARIsACf4XuEpqark2dOenF2HqBQPwnykTceQK1TgHgPcz62FECDLt7b
BJRgkvDsaAibJEALw_wcB&gclsrc=aw.ds
5
   See HP Pavilion x360 Convertible Product Listing, https://www.hp.com/us-
en/shop/pdp/hp-pavilion-x360-convertible-15t-er000-touch-24d80av-
1?jumpid=ma_weekly-deals_product-tile_laptops_3_24d80av-1_hp-pavilion-x360-con
6
      See    Work,      Watch      and     Play     All     Day,     June     4,    2018,
https://www.youtube.com/watch?v=KdB4v9ssdIY
7
  HP Laptop - 17-ca2097nr (2Y438UA#ABA)
8
  HP Total Test Process Testing - HP Inc Video Gallery - Products (brightcovegallery.com)
9
    HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com); Inside HP Labs of Destruction! (archive.org)
                                           8
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25,000 cycles, which is the equivalent of opening and closing the laptop ten times a

day for seven years.10 HP further represents that the hinges it builds for its laptops

are made from magnesium alloy with hardened steel pins that, according to HP “last

virtually forever.”11

      11.    Defendant uniformly represented to consumers that it had years of

experience manufacturing computers and was in effect an expert in manufacturing,

design, and use of computers.

      12.    Plaintiffs and Class members saw or heard these representations from

Defendant about the Class Laptops prior to purchasing their Envy, Envy x360,

Pavilion x360, Pavilion, or HP Laptops.

      13.    Contrary to HP’s representations, HP fails to disclose that the Class

Laptops are designed and/or manufactured with a common inherent defect that, over

time, compromises the laptop’s hinges, significantly impairing the computer’s

portability and functionality.

      14.    According to Plaintiffs and other owners of the Class Laptops who have

experienced the Hinge Defect, the common hinge problem is not a result of dropping

or otherwise handling the laptop roughly. Rather, owners report that the Hinge

Defect becomes suddenly apparent by way of a popping or crunching noise when


10
     https://www.alphr.com/blogs/2012/05/17/revealed-the-military-standards-and-robots-
hp-uses-to-test-its-laptops/.
11
   Id.
                                          9
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opening or closing the laptop during normal and intended use. This initial fracturing

of the hinge assembly eventually, with ordinary use, becomes a complete failure,

making it impossible to properly open and close the laptop.

      15.    As a result, the user’s ability to (1) open the laptop to utilize the device,

(2) close or transport the laptop, or (3) transition the configuration of the laptop, is

dramatically reduced, or lost altogether.       Thus, the Hinge Defect renders the

computer partially or wholly unusable.

      16.    Consequently, the Class Laptops are not fit for their intended purpose

as functioning, compact, portable, or flexible computers and cannot satisfy the

representations HP made in its marketing materials and warranties.

      17.    Defendant has been aware of the Hinge Defect for many years. Indeed,

there are thousands of customer posts on Defendant’s own online forum complaining

of the hinge issue described above in the Class Laptops. These posts date back to at

least 2014. Accordingly, Defendant has been on notice of the Hinge Defect

preceding the Class Period.

      18.    Indeed, HP has long been on notice of defects in the hinges of its earlier

models of its laptops, dating back as early as 2009.12




12
  Hung up on HP's hinge recall,
https://www.infoworld.com/article/2632521/hung-up-on-hp-s-hinge-recall.html (last
accessed July 23, 2022).
                                           10
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      19.   The complaints describe the Hinge Defect, including the accompanying

crunching sounds when the devices are opened, and even report plastic debris from

the weak hinge anchors being expelled from the Class Laptops.

      20.   HP has responded to the Hinge Defect in several ways, all of which are

inadequate. In communications with some owners of the Class Laptops, HP has

stated that a hardware assembly issue was causing the hinge cracking and panel

separation problems.13 Despite acknowledging the Hinge Defect in this fashion,

Defendant has been unable or unwilling to address the true scope and pervasive

nature of the Hinge Defect in the Class Laptops.

      21.   HP’s laptop computers are covered by a limited warranty (the “Limited

Warranty”), which warrants that HP products are free of defects in material and/or

workmanship and that HP will repair the product, or if it is unable to repair the

product, replace or refund the purchase.

      22.   The Hinge Defect manifests both inside and outside of the warranty

period. Defendant has been unable to fix the Hinge Defect during the warranty

period and routinely refuses to repair the Hinge Defect free of charge outside the

warranty period.




13
      https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Laptop-Hinge-completely-broken-and-laptop-will-not-close/m-p/8101580 (posted on
07/02/2021 at 6:50 AM)
                                           11
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      23.    Many consumers complaining to HP about the Hinge Defect were told

that the issue was caused by user error and HP refused to provide complimentary

repair. Many other purchasers of the Class Laptops have sent their computers in for

repair, only to find that the same issues crop up after the purported repairs, and/or in

the next iteration of HP laptop owners purchased.

      24.    Despite being aware of the cause of the Hinge Defect, HP and its

representatives have often engaged in, or directed frustrated customers to engage in,

ineffective repair methods.14 More specifically, many customers who attempted to

exercise their rights under the warranty were told the hinge failures were the result

of a hardware problem and were instructed to order and install replacement hinges

from the HP Part store, which did not fix the Hinge Defect. When HP actually

accepts a Class Laptop for repair under warranty, it often replaced the hinges with

the same defective part. None of these purported repairs remedied the hinge issues

because none addressed the Hinge Defect.

      25.    Accordingly, in its capacity as a warrantor, Defendant's knowledge of

the Hinge Defect in the Class Laptops renders its efforts to limit the duration of

warranties in a manner that would exclude warranty coverage unconscionable, and

any such effort to disclaim, or otherwise limit, its warranties is null and void.


14
  See, e.g., Response https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HP-Laptop-Hinge-completely-broken-and-laptop-will-not-close/m-p/8101580
(posted on 7/2/2021 at 7:32 AM).
                                          12
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Defendant’s limitations on the warranties are procedurally unconscionable. There

was unequal bargaining power between Defendant and Plaintiffs and the other Class

members, as, at the time of purchase, Plaintiffs and the other Class members had no

other options for negotiating the terms thereof.

      26.    In addition, Defendant, with knowledge of the latent defect,

manipulated the warranty so it often expired before the defect materialized and the

consumer became aware of it.

      27.    The    limitations   on   the    warranties   also   are   substantively

unconscionable. Defendant knew (and knows) that the Class Laptops are defective

and incapable of performing as advertised. Defendant failed to disclose these defects

to Plaintiffs and Class members while continuing to market misrepresentations of

the performance properties of the Class Laptops; thus, Defendant’s enforcement of

the limitations on its warranties is harsh and shocks the conscience.

      28.    Indeed, Defendant marketed, promoted, and sold the Class Laptops as

flexible, compact, and portable laptops featuring sleek design and mobility to

support on-the-go, dynamic, and prolonged use.

      29.    Defendant knew that a material factor for consumers who purchased a

Class Laptop was that the device was capable of handling frequent use and

transportation and, in the case of the Envy 360 and Pavilion 360, possessed hinges

capable of movement into various positions and angles.


                                         13
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      30.    The Hinge Defect, however, makes it difficult or impossible to open

and close the Class Laptop, transport the laptop, or move the laptop smoothly into

any of its advertised dynamic positions.

      31.    HP concealed from and/or failed to disclose to Plaintiffs and the Class

members the defective nature of the Class Laptops and failed to remove the Class

Laptops from the marketplace or take adequate action to remedy the Hinge Defect.

Rather, HP sold the Class Laptops even though it knew, or was reckless in not

knowing, that the Hinge Defect impacted the functionality of the Class Laptops and

would ultimately result in Plaintiffs’ and Class members’ inability to use their Class

Laptops for their intended purpose.

      32.    Defendant’s knowledge of the Hinge Defect is evident from the

voluminous complaints lodged on Defendant’s own online forum as well as

Defendant’s engagement with Class Laptop owners complaining of the Hinge Defect

on the forum. Many of such interactions predate the Class Period.

      33.    As a result of HP’s unlawful, unfair, fraudulent, misleading, and

deceptive practices, Plaintiffs and other consumers have purchased HP’s products

under the mistaken belief that the Class Laptops possessed high quality, functional

hinges that were capable of normal use without damaging the machine.

      34.    Had Plaintiffs and the Class known the facts regarding the Hinge Defect

in the Class Laptops, those facts would have been material to them and any


                                           14
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reasonable consumer’s decisions to purchase the Class Laptops at the price they paid

for their Class Laptops.

      35.    Indeed, had Plaintiffs and the Class members known about the Hinge

Defect at the time of purchase, they would have paid substantially less for their Class

Laptops or purchased a laptop from another manufacturer. Alternatively, they would

not have purchased the Class Laptops and avoided the significant out-of-pocket costs

they have incurred or will incur to repair or replace their Class Laptops once the

Hinge Defect manifests.

      36.    Because of HP’s false and misleading statements, its active

concealment of the Hinge Defect, and its failure to repair or otherwise address the

Hinge Defect, Plaintiffs and the Class members have suffered injury in fact,

including actual damages in that the Class Laptops they purchased are unreliable

and/or unusable for their intended purposes. As a direct and proximate result of the

Hinge Defect, Plaintiffs and the Class members have also suffered or will suffer

damages in the form of, inter alia: out-of-pocket expenditures for the replacement

and attempted repairs of the Class Laptops; diminished value of the Class Laptops;

time wasted attempting to repair the Hinge Defect; and the failure to receive the

benefit of the bargain in their purchases of the Class Laptops.

      37.    Accordingly, Plaintiffs seek redress for Defendant’s breaches of

warranties and violations of the below-identified state laws.


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      38.    In furtherance of the public interest, and in order to remedy HP’s

wrongful conduct, Plaintiffs bring this action as a class action, and assert claims on

behalf of themselves and a class of similarly situated persons seeking money

damages, equitable relief, and injunctive relief for Defendant’s conduct described

herein.

      39.    Because of the relatively small size of the typical individual Class

members’ claims, it is unlikely that individual Class members could afford to seek

recovery on their own. This is especially true in light of the size and resources of

Defendant. A class action is, therefore, the only reasonable means by which Class

members can obtain relief.

                                     PARTIES

      40.    Plaintiff Phyllis Carson is an individual citizen of the United States

residing in Helena, Alabama and is otherwise sui juris.

      41.    Plaintiff Cheryl Meola is an individual citizen of the United States

residing in Little Rock, Arkansas and is otherwise sui juris.

      42.    Plaintiff Carole Schauer an individual citizen of the United States

residing in Apple Valley, California and is otherwise sui juris.

      43.    Plaintiff Lorne Cosman is an individual citizen of the United States

residing in Sherman Oaks, California and is otherwise sui juris.




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      44.    Plaintiff Terence Graner is an individual citizen of the United States

residing in Spring Valley, California and is otherwise sui juris.

      45.    Plaintiff Trudy Letson is an individual citizen of the United States

residing in Jackson, California and is otherwise sui juris.

      46.    Plaintiff Stephen Luther is an individualized citizen of the United States

residing in Citrus Heights, California and is otherwise sui juris.

      47.    Plaintiff Phillip Erickson is an individual citizen of the United States

residing in Orlando, Florida and is otherwise sui juris.

      48.    Plaintiff Donald Harman is an individual citizen of the United States

residing in Wilton Manors, Florida and is otherwise sui juris.

      49.    Plaintiff Patricia Roberts is an individual citizen of the United States

residing in Cocoa Beach, Florida and is otherwise sui juris.

      50.    Plaintiff Christopher Nind is an individual citizen of the United States

residing in Longboat Key, Florida and is otherwise sui juris.

      51.    Plaintiff Rodney Nash is an individual citizen of the United States

residing in Tucker, Georgia and is otherwise sui juris.

      52.    Plaintiff Rose Carina is an individual citizen of the United States

residing in Bloomington, Indiana and is otherwise sui juris.

      53.    Plaintiff William Draper is an individual citizen of the United States

residing in Merrillville, Indiana and is otherwise sui juris.


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      54.    Plaintiff Sabine Miller is an individual citizen of the United States

residing in Merrillville, Indiana and is otherwise sui juris.

      55.    Plaintiff Timur Sakharuk is an individual citizen of the United States

residing in Framingham, Massachusetts and is otherwise sui juris.

      56.    Plaintiff Robert DiMartino is an individual citizen of the United States

residing in Dedham, Massachusetts and is otherwise sui juris.

      57.    Plaintiff Diana Hobert-Powell is an individual citizen of the United

States residing in Rochester Hills, Michigan and is otherwise sui juris.

      58.    Plaintiff Janet Purvis is an individual citizen of the United States

residing in Imperial, Missouri and is otherwise sui juris.

      59.    Plaintiff Anthony Harris is an individual citizen of the United States

residing in Cleveland, Missouri and is otherwise sui juris.

      60.    Plaintiff Stephen Kaplitt is an individual citizen of the United States

residing in Livingston, New Jersey and is otherwise sui juris.

      61.    Plaintiff Michael Dobkin is an individual citizen of the United States

residing in Denville, New Jersey and is otherwise sui juris.

      62.    Plaintiff Deborah Thelen is an individual citizen of the United States

residing in New York City, New York and is otherwise sui juris.

      63.    Plaintiff Bruce Williams is an individual citizen of the United States

residing in Elmira, New York and is otherwise sui juris.


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      64.    Plaintiff Ian Perry is an individual citizen of the United States residing

in Miller Place, New York and is otherwise sui juris.

      65.    Plaintiff Cara Washington is an individual citizen of the United States

residing in Dayton, Ohio and is otherwise sui juris.

      66.    Plaintiff Gregory Orenski is an individual citizen of the United States

residing in Parma, Ohio and is otherwise sui juris.

      67.    Plaintiff Sarah Householder is an individual citizen of the United States

residing in Beaverton, Oregon and is otherwise sui juris.

      68.    Plaintiff Diane Drake is an individual citizen of the United States

residing in Tacoma, Washington and is otherwise sui juris.

      69.    Defendant HP Inc. is a Delaware corporation with its headquarters

located at 1501 Page Mill Road, Palo Alto, California, 94304. Upon information and

belief, HP Inc. is a global Fortune 500 company and one of the world’s largest

manufacturers and sellers of computers. Defendant HP Inc. utilizes the website

www.hp.com/us-en/home.html and its related webpages, as well as resellers, to

market and sell personal computers and related products directly to consumers

throughout the United States. HP Inc. is registered to do business in Alabama,

Arkansas, California, Florida, Georgia, Indiana, Massachusetts, Michigan, Missouri,

New Jersey, New York, Ohio, Oregon, Washington, and other states across the

country.


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                         JURISDICTION AND VENUE

      70.    Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §

1332(d)(2) and (6), this Court has original jurisdiction. The aggregated claims of the

individual class members exceed the sum or value of $5,000,000, exclusive of

interest and costs. This is a class action in which at least one member of the Class

and Subclass is a citizen of a state other than the states in which Defendant is

incorporated and has its principal place of business.

      71.    This Court has personal jurisdiction over this action because Defendant

HP is a Delaware corporation.

      72.    Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because

Defendant HP resides within this District.

      73.    Plaintiffs are informed and believes, and thereon alleges, that each and

every one of the acts and omissions alleged herein were performed by, and/or

attributable to, Defendant.




                              STATEMENT OF FACTS

      74.    HP Inc. designs, develops, manufacturers, and sells personal

computers, tablet computers, monitors, printers, workstations, and accessories.




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      75.    HP Inc. operates in more than seventy countries and sells its products

globally. HP’s headquarters is in Palo Alto, California.

      76.    As of January 2021, HP Inc. was the world’s second largest personal

computer vendor by unit sales.

      1.     The Class Laptops

      77.    The laptop models which comprise the Class Laptops include a diverse

line of HP’s laptop computer products. However, all the Class Laptops share and

suffer from the same inherent defects in material and/or workmanship (defined

above) as described in detail below.

      78.    HP launched the Envy family of computers in 2009.15 In 2014, HP

unveiled its 360-degree Convertible PC16—so named for its ability to assume

multiple form factors, including that of a traditional laptop or a touch screen tablet,

due to a hinged screen. Since that time, HP has released at least 37 new laptop

computers under the Envy and 360-degree Convertible brand names. The latest

(2021) basic Envy models are priced at $1,499.99 and $1,099.99, for the 15” and

17” models, respectively. The latest (2021) convertible Envy models are only

offered as 15” models and start at $699.99.



15
    See Timeline of our history, https://www.hp.com/us-en/hp-information/about-
hp/history/hp-timeline/timeline.html
16
   HP Worldwide Limited Warranty and Technical Support, https://www.hp.com/us-
en/privacy/limited_warranty.html#2
                                          21
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      79.    The latest (2021) basic model of the 15” HP Pavilion is priced at

$619.99. The latest (2021) convertible model of the 15” HP Pavilion starts at

$699.99. The latest (2021) basic 15” and 17’ HP Laptops are priced at $329.99, and

$429.99 respectively.

      80.    Defendant represented, and continues to represent, to consumers that it

had years of experience in the manufacture of computers and was in effect an expert

in the manufacture, design, and use of computers.

      81.    Defendant’s Limited Warranty “guarantees that it will repair, replace,

or refund, at HP’s option, an HP Hardware Product that manifests a defect in

materials or workmanship during the Limited Warranty Period”.17 If “in the unlikely

event that…HP determines it is unable to repair or replace the HP Hardware Product,

HP, at its option, may elect to provide you with (a) a replacement unit selected by

HP that is the same or functionally equivalent to your HP Hardware Produce in

performance or (b) to give you a refund or credit of your purchase price or lease

payments (less interest) instead of a replacement. To the extent permitted by local

law, this is your exclusive remedy for defective products.”18

      82.    Defendant designed, manufactured, warranted, advertised, and sold

Class Laptops to tens of thousands of consumers throughout the United States and,


17
    HP Worldwide Limited Warranty and Technical Support, https://www.hp.com/us-
en/privacy/limited_warranty.html#2
18
   Id.
                                         22
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upon information and belief, disseminated marketing materials from its headquarters

in California.

      2.     The Hinge Defect

      83.    Contrary to HP’s representations, the Class Laptops are designed and

manufactured with an inherent defect that compromises the computers’ ability to

open or close, be transported, or configured into any of its advertised dynamic

positions. Moreover, the damage to the hinge results in the screen, and its parts,

sitting in a detached or tilted position. Upon information and belief, the Hinge Defect

is the result of ordinary stress on a vital component that is common in the Class

Laptops.

      84.    While the hinges are connected to the Class Laptops using brass screws,

the screws are held in place by fragile plastic. The fracture toughness of the plastic

is too low for this application and reflects the overall lack of quality in the laptop’s

frame.

      85.    Because the hinges are anchored to the Class Laptops with poorly

designed parts constructed from weak plastic, the ordinary opening or closing of the

laptop results in friction between the brass and weak plastic. This, in turn, through

ordinary use as intended, wears and cracks the plastic anchors — thus fracturing and

destabilizing the hinges. During ordinary use of the machine, the Hinge Defect




                                          23
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causes part or all of the hinge anchors to crack, snap, separate, break or otherwise

fail.

        86.   Once the brass becomes unsecured from the plastic rings, they will not

re-seat.

                        Image from YouTube Repair Video19




        87.   Once the Hinge Defect manifests, use of the computer is, at best,

difficult, and often impossible because the user cannot transport, open or close, or

adjust their laptop. Since the Hinge Defect impairs the user’s ability to view the

visual interface to the machine and impairs or prevents the portability of the laptop,

it renders the device partially or wholly unusable.


19
      Laptop Hinge Repair - HP Envy - YouTube; available at
https://www.youtube.com/watch?v=cyaZ-7rUFmQ. Last visited on November 2, 2021.
                                         24
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      88.    According to Plaintiffs and other owners of Class Laptops who have

experienced the Hinge Defect, the hinge problems are triggered and exacerbated

when the laptop monitor is opened, closed, or adjusted, as intended — such as when

the user folds the monitor down towards the keyboard or, in the case of the 360-

degree Convertible models, the monitor is folded into tent or tablet mode.

      89.    The Hinge Defect is often initially identified by crunching sounds when

the devices are opened as well as plastic debris falling from the Class Laptops. Soon

thereafter, the hinge becomes increasingly inoperable.

      90.    Consequently, the Class Laptops are not fit for their intended purpose

and cannot perform in accordance with HP’s marketing materials and warranties.

      91.    The Hinge Defect has impacted many other purchasers of the Class

Laptops. For example, on April 18, 2020, a forum member created a thread entitled

“Broken hinge attachment” and wrote:

      I bought the 17-BY1008CA less than a year ago…The way the laptop
      has been designed the entire weight of the monitor is resting on two
      hinges that are attached to cheap plastic. It is basically designed so that
      if the laptop is open the weight slowly pulls the screws out of where
      they are attached and pushes up through the housing causing everything
      to break…My laptop sits on my desk or on my lap in my home. It is
      lifted by the bottom using two hands…I have to use clamps to hold it
      together as it has already snapped the housing. I spent $700 on this
      laptop it should not break by itself.20


20
  See TheLastPrincess, Comment to Broken hinge attachment., HP COMMUNITY (Apr.
18, 2020, 9:09 AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge-attachment/m-p/7560795
                                          25
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      92.    In the same thread, another customer replies: “My issue is

similar…Two days ago (8 months after receiving my laptop back from repairs) the

hinge broke a second time. The first hinge incident occurred just over a year after

purchase. I have never dropped it or handled it roughly. I used it to read an article

for school the other evening, then closed it. The next morning it cracked as I

attempted to open it.”21

      93.    In another thread on the HP Forum created on February 15, 2021,

entitled “Broken hinge,” a customer wrote:

      I purchased a $1100 envy360 in 2018. The laptop is not two years old
      so it’s a year out of warranty. I was using it last night and the left side
      hinge broke from the inside out. I called hp and they said because it’s
      out of warranty I would have to pay $500 to have it fixed which would
      take over a month. I am a college student I don’t have $500 or a month
      to get my laptop fixed…I have…NEVER dropped it. I’m so
      disappointed that HP won’t stand behind their products and do the right
      thing and fix it for free. The laptop should last longer than two years
      before it starts to fall apart.22

      94.    In the same thread, another customer responded, that they were “having

the same problem.”23



21
   See Royal_Code, Comment to Broken hinge attachment., HP COMMUNITY (Apr. 29,
2020, 2:21 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge-attachment/m-p/7560795
22
   See Kristen131, Comment to Broken hinge, HP COMMUNITY (Feb. 15, 2021, 12:26
PM),                 https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge/m-p/7977304
23
   See Milhome, Comment to Broken hinge, HP COMMUNITY (Feb. 16, 2021, 5:36 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-
hinge/m-p/7977304
                                          26
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      95.   In another thread posted on January 21, 2021 titled “Broken left hinge

and corner”, a customer wrote about their Pavilion HP Notebook:

      “I have an HP laptop that is cracked on the upper left corner. The hinge
      has also broken and I have to leave the lid open. I have not dropped the
      laptop and it seems that other people have posted this same issue.”24

      96.   Another customer responded to this post, writing

       “I have the exact same issue but the response HP gives is that it is out
      of warranty and they will repair for $300!! That is unacceptable!! This
      is clearly a design/manufacturing flaw HP is aware of and won’t stand
      by their product? This is a terrible way to handle your business and
      customers.”25

      97.   On the HP Forum there are thousands of distinct complaints detailing

computers affected by the Hinge Defect. Below are a few such examples of such

threads pertaining to the Class Laptops, each one created by a different consumer

and containing a multitude of testimonials regarding the issues created by the Hinge

Defect:

      a. 17-Bs019cy (2PB35UA) Broken hinge (created November 29, 2020).26




24
   See Andrew141, Comment to Broken left hinge and corner, HP COMMUNITY (Jan. 21,
2021, 3:02 PM), https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-
Touch/Broken-left-hinge-and-corner/m-p/7945435
25
   See JackP5, Comment to Broken left hinge and corner, HP COMMUNITY (Apr. 7, 2021,
6:18 PM), https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-Touch/Broken-
left-hinge-and-corner/m-p/7945435
26
   See Awilliams9103, Comment to Broken hinge, HP COMMUNITY (Nov. 29, 2020, 8:05
PM),                 https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge/m-p/7874642
                                         27
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      b. HP 17” Laptop – By0053cl HP Laptop Hinge completely broken and

         laptop will not close – Unacceptable! (created July 1, 2021).27

      c. HP 17-By1003na Full-HD Laptop Product 7GR46EA#ABU HINGE ON

         RIGHT SIDE OF LAPTOP BROKEN (created September 30, 2020).28

      d. HP Laptop 17-By001st Horrible HP Experience – HP wants me to pay

         $190 to fix their faulty product (created August 22, 2020).29

      e. Pavilion Laptop 15 Broken hinge (created August 3, 2020).30

      f. HP 15-D035dx Notebook PC HP Notebook broken hinge – is it fixable?

         (created March 1, 2019).31 The user provided the below images of the

         Hinge Defect.




27
   See Jim491, Comment to HP Laptop Hinge completely broken and laptop will not close
-     Unacceptable!,    HP     COMMUNITY        (July   1,    2021,   10:18     AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Laptop-Hinge-completely-broken-and-laptop-will-not-close/m-p/8101580
28
    See LEWIS_STRUTHERS, Comment to HINGE ON RIGHT SIDE OF LAPTOP
BROKEN,         HP    COMMUNITY          (September    30,    2020,     2:06    PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HINGE-
ON-RIGHT-SIDE-OF-LAPTOP-BROKEN/m-p/7799660
29
   See Ish197, Comment to Solved! Horrible HP Experience - HP wants me to pay $190 to
fix their faulty product, HP COMMUNITY (August 22, 2020, 11:11 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Horrible-
HP-Experience-HP-wants-me-to-pay-190-to-fix-their/m-p/7743128
30
   See Van47, Comment to Solved! Broken hinge, HP COMMUNITY (July 3, 2020, 10:35
AM),                 https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge/m-p/7670952
31
    See Cassb, Comment to Solved! HP Notebook broken hinge - is it fixable?, HP
COMMUNITY (March 1, 2019, 7:02 AM), https://h30434.www3.hp.com/t5/Notebook-
Hardware-and-Upgrade-Questions/HP-Notebook-broken-hinge-is-it-fixable/m-p/7036976
                                         28
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      g. HP Notebook – 17-By1062st Broken hinge on my laptop (created March

         12, 2021).32

      h. HP Gaming Pavilion – 15-Cx0140tx HP Gaming Pavilion – 15-cx0140tx

         = Hinges broken with Pieces coming out broken! (created June 30, 2021).33

      i. Pavilion 15-Cs0053cl Left hinge broken (created July 9, 2020).34

      j. HP ENVY X360 Left Hinge on HP ENVY x360 Broken (created July 12,

         2021).35

      k. HP Notebook Broken left rear hinge (created June 4, 2021).36

      l. Notebook 15-Bs121nr broken hinge (created December 18, 2019).37




32
   See Ebfoerster, Comment to Solved! Broken hinge on my laptop, HP COMMUNITY
(March 12, 2021, 2:50 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/Broken-hinge-on-my-laptop/m-p/8006416
33
   See Jaisan, Comment to Solved! HP Gaming Pavilion - 15-cx0140tx = Hinges broken
with Pieces coming out broken, HP COMMUNITY (June 30, 2021, 12:59 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Gaming-Pavilion-15-cx0140tx-Hinges-broken-with-Pieces/m-p/8100345
34
   See kmkeenan, Comment to Solved! Left hinge broken, HP COMMUNITY (July 9, 2020,
4:27       PM),      https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Left-hinge-broken/m-p/7680094
35
    See RNAGY111, Comment to Solved! Left Hinge on HP ENVY x360 Broken, HP
COMMUNITY (July 12, 2021, 6:57 PM), https://h30434.www3.hp.com/t5/Notebook-
Hardware-and-Upgrade-Questions/Left-Hinge-on-HP-ENVY-x360-Broken/m-p/8110870
36
   See NYMetsNo1, Comment to Broken left rear hinge, HP COMMUNITY (June 4, 2021,
4:47       PM),      https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-left-rear-hinge/m-p/8080837
37
   See Dismayed-Too, Comment to Solved! Broken hinge l, HP COMMUNITY (Dec. 18,
2019, 8:32 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/broken-hinge-l/m-p/7345099
                                       30
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      m. HP Notebook – 15-Bs113dx Broken hinges (created January 15, 2021).38

      n. HP Laptop 17z Broken hinges (created December 6, 2020).39

      o. Pavilion 15-Cs3019nl HP Pavilion – 15-cs3019nl – Screen Hinges Broken

         – Display Bezel Broken (created January 27, 2021).40

      p. Pavilion Gaming Laptop 15-Cx0xxx HP Pavilion Gaming Laptop 15

         hinge broken just a year and a half after purchase (created April 25,

         2020).41

      q. HP Notebook – 17-Bs001no Hp left hinge broken (created April 10,

         2019).42




38
   See Joanne09, Comment to Broken hinges, HP COMMUNITY (Jan. 15, 2021, 7:04 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-
hinges/m-p/7937049
39
   See AKIcehouse, Comment to Broken hinges, HP COMMUNITY (Dec. 6, 2020, 4:41
PM),                 https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinges/m-p/7883787
40
   See Gianmarco18, Comment to Solved! HP Pavilion - 15-cs3019nl - Screen Hinges
Broken - Display Bezel Broken, HP COMMUNITY (Jan. 27, 2021, 10:49 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Pavilion-15-cs3019nl-Screen-Hinges-Broken-Display-Bezel/m-p/7952645
41
   See James311, Comment to Solved! HP Pavilion Gaming Laptop 15 hinge broken just a
year and a half after purchase, HP COMMUNITY (March 25, 2020, 8:50 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Pavilion-Gaming-Laptop-15-hinge-broken-just-a-year-and-a/m-p/7574227
42
   See Elvijs, Comment on Solved! Hp left hinge broken, HP COMMUNITY (March 10,
2019, 9:13 AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Hp-left-hinge-broken/m-p/7085264
                                        31
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      r. Pavilion Gaming Laptop 15-Cx0020nr Broken hinge mount on Pavilion

         gaming laptop (created May 20, 2020).43

      s. Hp-Bs023ca Hinge broken (created April 14, 2021).44

      t. Broken left hinge on my HP 17-bs0xx (created July 7, 2021).45

      u. HP Envy x360 Screen Popped Out/Broken Hinge (created April 4,

         2020).46 The post provided the below images of the Hinge Defect.




43
   See Voo-Du_3, Comment on Solved! Broken hinge mount on Pavilion gaming laptop,
HP COMMUNITY (May 20, 2020, 2:51 PM), https://h30434.www3.hp.com/t5/Notebook-
Video-Display-and-Touch/Broken-hinge-mount-on-Pavilion-gaming-laptop/m-
p/7615274
44
   See T1T2T3, Comment on Hinge broken, HP COMMUNITY (April 14, 2021, 12:59
PM),                https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Hinge-broken/m-p/8037757
45
    See Gina3793476, Comment to broken left hinge on my HP 17-bs0xx, HP
COMMUNITY (July 7, 2021, 10:31 AM), https://h30434.www3.hp.com/t5/Notebook-
Hardware-and-Upgrade-Questions/broken-left-hinge-on-my-HP-17-bs0xx/m-p/8106517
46
    Alasia-M, Comment to HP Envy x360 Screen Popped Out/Broken Hinge, HP
COMMUNITY (April 4, 2020, 8:32 PM), https://h30434.www3.hp.com/t5/Notebook-
Hardware-and-Upgrade-Questions/HP-Envy-x360-Screen-Popped-Out-Broken-Hinge/td-
p/7536339
                                       32
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                                     34
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      98.    Purchasers of the Class Laptops have also posted similar accounts on

many other internet forums.47 For example, the below reddit post concerning an

Envy 360 illustrates the damage caused by the Hinge Defect.48




47
   See, e.g., truecrtiq, Comment on , HP Envy x360 Laptop right hinges so fragile-it BROKE
in     3       months.,     R/AMDLAPTOPS         (Jan.    14,     2021,      6:22      AM),
https://www.reddit.com/r/AMDLaptops/comments/kx3tw7/hp_envy_x360_laptop_right_
hinges_so_fragileit/
48
   HP Envy x360 Hinge Issue. Closed my laptop the other day and a screw popped out and
now the hinge is broken. I can see that the other 3 screws are in place on the bracket, but
have also become unglued from the case. How should I fix this? Was quoted $200 from

                                            35
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      99.   The Hinge Defect manifests both inside and outside of the warranty

period. As shown above, Defendant is unable to adequately fix the Hinge Defect

during the warranty period and routinely refuses to repair the Hinge Defect free of

charge outside of the warranty period.

      3.    HP’s Exclusive and Early Knowledge of the Hinge Defect

      100. HP forum activity makes clear that Defendant has been on notice of the

Hinge Defect in the Class Laptops since at least 2014 through complaints made to

the HP Forum.

      101. The forum page “17” HP Envy Coming apart at the left near screen

hinge” (first posted October 27, 2014)49, and the nearly 200 customer posts on it,

demonstrates that the Hinge Defect was both pervasive and reported to Defendant

back in 2014:




HP.       R/HEWLETT_PACKARD             (Mar.    23,     2019,       4:59      PM),
https://www.reddit.com/r/Hewlett_Packard/comments/b4o6g9/hp_envy_x360_hinge_issu
e_closed_my_laptop_the/
49
   Jude_Love, Comment to 17" HP Envy Coming apart at the left near screen hinge HP
COMMUNITY (Oct. 27, 2014, 4:44 AM), 17" HP Envy Coming apart at the left near
screen hinge - HP Support Community - 4651990
                                         36
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      104. Customer complaints continued on other HP forum pages, as

demonstrated in the below images from a forum entitled “Hinges” (first posted

February 16, 2016):50




50
  CarlaMaria, Comment to Solved: Hinges,HP COMMUNITY (Feb. 16, 2016, 10:38 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Hinges/td-
p/5502838
                                      39
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                                     40
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      105. Defendant’s failure to improve its material and/or workmanship is

evident in the below continued complaints on the HP forum page “Replacement

Hinges Question” (first posted January 24, 2018)51:




51
  Ben93, Comment to Solved: Replacement Hinges Question, HP COMMUNITY (Jan.
24, 2018, 6:55 AM),https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-
Touch/Replacement-Hinges-Question/m-p/6531071
                                        41
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      106. As the years progressed, the number of complaints on HP forum sites

climbed drastically, as discussed in the excerpts below from “HP Envy Hinge Issues

- Has HP acknowledged this is a known issue yet? (5+ years and counting)” (first

posted July 16, 2018)52:




52
  ThatGeekGirlAU, Comment to HP Envy Hinge Issues - Has HP acknowledged this is a
known issue yet? (5+ years and counting), HP COMMUNITY (July 16, 2018, 11:53
PM),https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Envy-Hinge-Issues-Has-HP-acknowledged-this-is-a-known/td-p/6759803
                                       42
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      107. HP claims that “When the products are serviced, it’s a goldmine of

information for us. We harvest that information to help us understand how to test it

better and what’s driving reliability.”53

      108. Despite Defendant’s awareness of the Hinge Defect and the wealth of

information provided by a plethora of disgruntled customers, HP has failed to reveal,

repair, prevent or adequately respond to the Hinge Defect.



53
    HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com),
http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-test-
process-testing?autoStart=true&page=0&q=Military
                                            45
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      109. Defendant knew that functionality, mobility, maneuverability and

portability were, and continue to be, material factors for consumers purchasing a

Class Laptop.

      110. HP concealed from and/or failed to disclose to the public at large—

including the Plaintiffs and the Class—the defective nature of the Class Laptops and

failed to remove the Class Laptops from the marketplace or take adequate action to

remedy the Hinge Defect. Rather, HP sold and serviced the Class Laptops even

though it knew, or was reckless in not knowing, that the Hinge Defect impacted the

portability, mobility, and functionality of the Class Laptops and would ultimately

result in Plaintiffs’ and Class members’ inability to use their Class Laptops for their

intended purpose.

      111. Moreover, Defendant’s omissions are accompanied by affirmative

misrepresentations as to the Class Laptops’ durability and portability. Defendant

marketed, promoted, and sold the Class Laptops as “precision-crafted, high-

performance notebooks”. 54

      112. For example, the 360-degree Convertible PC was marketed as a 2-in-1

laptop with a touchscreen monitor that could be folded flat against the underside of

the base of the machine.



54
    HP Timeline | HP® Official Site, available at https://www.hp.com/us-en/hp-
information/about-hp/history/hp-timeline/timeline.html
                                          46
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      113. Specifically, HP stated that the 360-degree models offered “an

affordable touch convertible PC that transforms the computing experience with a

360-degree hinge.”55

      114. Defendant described its HP Laptops as “reliable” and “designed for

long-lasting performance”, with a “compact, portable design”.56

      115. Defendant repeatedly emphasized the mobility of the Class Laptops

with the following representations: “easy to take anywhere”57; “built to keep you

productive and entertained from anywhere”58; “[a] compact laptop that makes it easy

to get work done on the go with a Precision Touchpad, while the long battery life

and HP Fast Charge let you keep moving”;59 “[t]he Pavilion 15 Laptop packs more

performance into a smaller profile, so you can get more done wherever you go…. so

you can do more and enjoy entertainment wherever you go”60; “[c]reate on-the-go,

anytime, anywhere and whenever inspirations strikes.”61


55
    See Timeline of our history, https://www.hp.com/us-en/hp-information/about-
hp/history/hp-timeline/timeline.html
56
       See    Work,      Watch     and  Play   All   Day,    June    4,     2018,
https://www.youtube.com/watch?v=KdB4v9ssdIY
57
   HP Laptop 17-ca3097nr (2C5B7UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-
laptop-pc-17-ca3000-%281c0g7av%29
58
   HP Laptop -15t-dw300 (1B9N3AV_1), https://www.hp.com/us-en/shop/pdp/hp-laptop-
15t-dw300-touch-optional-1b9n3av-1
59
    HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-pavilion-laptop-15-eh1097nr
60
    HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-pavilion-laptop-15-eh1097nr
61
    HP® ENVY 17 Laptops, https://www.hp.com/us-en/shop/mdp/laptops/envy-17-
344517--1#!&tab=features
                                        47
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      116. Defendant further provides assurances to customers regarding the HP

Laptops’ durability and HP’s pre-sale diligence by stating that “extensive quality

testing ensures that you can keep going...and going.”62

      117. Defendant also promoted its quality assurance and the durability of its

products by inviting technology reporters to its testing facility.63 The tour

demonstrated a variety of testing devices designed to ensure durability and

longevity, including: a pulley system designed to slam laptops into a hard surface; a

platform that vibrated the laptops rapidly; equipment used to send electric shocks

into the laptops; and a freezer for temperature testing.64

      118. Most importantly, HP also represented to the attendees that the

durability of the laptop hinges was tested by opening and closing the laptops

“typically from minimum angle to maximum angle” 27,000 times.65That represents

a use cycle of over seven (7) years.




62
   HP Laptop - 17-ca2097nr (2Y438UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-
laptop-17-ca2097nr
63
          Inside       HP       Labs       of       Destruction!      (archive.org),
https://web.archive.org/web/20150918232024/https:/www.chipchick.com/2014-07-
inside-hp-labs-destruction.php
64
   Id.
65
   Id.
                                          48
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            Photograph of Defendant’s Hinge-Testing Operations in 2014.66




            Photograph of Defendant’s Hinge-Testing Operations in 2011.67




66
     Id.
67
     HP Durability Tests - YouTube, https://www.youtube.com/watch?v=bM7yw-y3BB0
                                         49
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      119. Defendant’s assurances regarding the durability of its products

continues to this day. HP’s website includes a video entitled “HP Total Test

Process”.68 This video describes Defendant’s product testing procedures and

presents HP products as having gone through an “exhaustive set of tests that are

designed to replicate the full product life cycle in a short period of time”.69

      120. HP claims that their product testing consists of “115,000 hours of

testing on each model.”70

      121. Once again, HP portrays its hinges as tested to survive long-term usage.

“Take a notebook for example. One of the things that everybody has to do is open

and close it. If you’re expected to open and close that notebook 10,000 times, we’ll

test it to 50,000.”71 Again, based upon HP’s own representations, that equates

fourteen (14) years of use. A far cry from the life span Plaintiffs and the Class

members actually experienced with the Class Laptops.




68
     HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com),
http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-test-
process-testing?autoStart=true&page=0&q=Military
69
   Id.
70
   Id.
71
   Id.
                                          50
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     Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s
                                    Website.72




     Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s
                                    Website.73




72
     Id.
73
     Id.
                                        51
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     Image of Laptops Being Dropped as Part of Quality Testing on HP’s Website74




74
     Id.
                                         52
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           122. HP further assures customers that “after all that’s done, we do low-level

evaluations. We take a look at each of the subsystems at a component level to make

sure that there is nothing that could causes issues in the future.”75

           123. HP also warrants to consumers that “you can be confident if you buy

HP’s product it’s going to work with what you’ve already got and what you’re going

to buy.”76

           124. Defendant marketed, promoted, and warranted that the Class Laptops

were premium computers, able to perform the tasks of opening and closing,

withstand transportation, and furthermore able to perform all of the basic functions

of similar laptops of their class.

           125. Plaintiffs and Class members purchased their Class Laptops to be used

for mobile computing purposes like those portrayed by Defendant in its marketing

materials for all of the Class Laptops.

           126. Because the defective materials are fully enclosed within the Class

Laptops and the Hinge Defect is only revealed by laptop use, testing, or disassembly,

reasonable consumers could not discover the Hinge Defect prior to purchase.

           127. In addition to its knowledge of the Hinge Defect in the Class Laptops

through pre-sale testing, consumer complaints, warranty inquiries, and other sources



75
     Id.
76
     Id.
                                             53
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as outlined herein, HP also knew or should have known of the Hinge Defect through

its detailed knowledge of hinge designs as set out in its Dec. 2012 patent application

for a hinge assembly “comprising: a first knuckle including a wall that defines a

cavity; a friction element disposed in the cavity, wherein the friction element

includes a plurality of fingers extending substantially parallel to a longitudinal axis

of the friction element and the fingers of the friction element expanding toward the

wall to frictionally engage the wall of the first knuckle; a second knuckle coupled to

the friction element so that the first knuckle is movable with respect to the second

knuckle; and a counterbalance member coupled to the first knuckle and the second

knuckle to provide a force that both opposes movement of the first knuckle with

respect to the second knuckle in a first direction and facilitates movement of the first

knuckle with respect to the second knuckle in a second direction.” See United States

Patent Application Publication Pub. No.: WO2014/098792, dated December 17,

2012. Images from this application are included here:




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                                     56
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      128. This patent application demonstrates that HP knew of the crucial

importance of a durable hinge design, the mechanisms necessary to provide friction

for the opening and closing of a laptop lid, as well as the interaction of internal

components that facilitated the use of a laptop in this way. Moreover, as illustrated

in its patent application, HP understood that it could apply its hinge design to suit a

variety of form-factors: “These examples are not intended to be exhaustive or to

limit the invention to the precise form or to the exemplary embodiments disclosed.”

Id. Rather, HP’s hinge designs were intended to meet customers’ expectation of

“form-factors that are designed to help reduce size so that they may be more easily

used, transported and/or stored.” Id. Nonetheless, despite this knowledge, HP

released the Class Laptops without the necessary structural integrity and otherwise

failed to disclose the Hinge Defect to Plaintiffs and Class members.

      129. It is likely that many of the Class Laptops will continue to be used or

purchased by unsuspecting members of the putative class, and injunctive relief could

prevent harm to those who remain unaware of the Hinge Defect which can render

the Class Laptops useless. Further, potential Class-wide notice may inform Class

members of potential remedies that they may not be aware of.

      130. As the Hinge Defect likely results from the defects in material and/or

workmanship the Class Laptops—i.e., the use of flimsy plastic material to mount the




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laptop hinges—replacing the broken hinges with identical ones is unlikely to fully

remedy the Hinge Defect.

      4.     Plaintiffs’ Defective HP Laptops

      Plaintiff Cheryl Meola

      131. Plaintiff Cheryl Meola is a citizen of Arkansas and resides in Little

Rock, Arkansas.

      132. Plaintiff Meola purchased an HP Envy from Best Buy for her personal

use on October 28, 2017, for $1149.99. Her device’s serial number is 5cg73768cl.

      133. Prior to purchasing her Class Laptop, Plaintiff Cheryl Meola researched

different laptops and viewed multiple advertisements from HP, touting HP laptops’

reliability, durability, and superiority over competitive offerings.

      134. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Cheryl Meola.

      135. Immediately after receiving her Class Laptop, Plaintiff Cheryl Meola

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Cheryl Meola.

      136. Plaintiff Cheryl Meola had been using her laptop for approximately 18

months when the Hinge Defect manifested around April 2019. The left hinge

completely separated from the base of the laptop, causing the right side of the

keyboard to pop almost an inch out of place, where it remains at an incline from the


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other side. The Class Laptop cannot be closed or transported from its position.

Plaintiff Meola received a verbal quote for repair of $300 which she opted not to

pursue. The manifestation of the Hinge Defect in Plaintiff’s Class Laptop, which

rendered the device substantially unusable, and which has eliminated the Class

Laptop’s    portability,   can   be    seen    in    the   photograph     below.




                                       59
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      137. Plaintiff Cheryl Meola used and maintained her Class Laptop in a

manner typical of a reasonable consumer.

      138. Plaintiff Cheryl Meola was unaware of, and lacked a reasonable means

of discovering, the Hinge Defect.

      139. If Plaintiff Cheryl Meola had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

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      140. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      141. Plaintiff Cheryl Meola remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Phyllis Carson

      142. Plaintiff Phyllis Carson is a citizen of Alabama and resides in Helena,

Alabama.

      143. Plaintiff Phyllis Carson purchased an HP 17 for her personal use on

October 7, 2019, for $439.00, from Exchange. Her device’s serial number is:

5CG939003N.

      144. Prior to purchasing her Class Laptop, Plaintiff Phyllis Carson

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.


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      145. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Phyllis Carson.

      146. Immediately after receiving her Class Laptop, Plaintiff Phyllis Carson

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Phyllis Carson.

      147. Plaintiff Phyllis Carson had been using her laptop for approximately 18

months when the Hinge Defect manifested and the hinge on the right side of the

Class Laptop failed. As a result, the cover has separated from the base of the laptop

and the device cannot be closed or transported. The manifestation of the Hinge

Defect in Plaintiff’s Class Laptop, which has rendered the device substantially

unusable, which has eliminated the Class Laptop’s portability functionality, can be

seen in the photograph below.




                                         62
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      148. Plaintiff Phyllis Carson used and maintained her Class Laptop in a

manner typical of a reasonable consumer.

      149. Plaintiff Phyllis Carson was unaware of, and lacked a reasonable means

of discovering, the Hinge Defect.

      150. If Plaintiff Phyllis Carson had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      151. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking


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remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      152. Plaintiff Phyllis Carson remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Carole Schauer

      153. Plaintiff Carole Schauer is a citizen of California and resides in Apple

Valley, California.

      154. Plaintiff Carole Schauer purchased an HP Envy x360 for her personal

use on June 23, 2017, for $894.33, from Best Buy. Her device’s serial number is:

8CG727OYHD.

      155. Plaintiff Carole Schauer also purchased an HP Envy 17 for her personal

use on June 23, 2017, for $1,185.24, from Best Buy.

      156. Prior to purchasing her Class Laptops, Plaintiff Carole Schauer

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.




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      157. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Carole Schauer.

      158. Immediately after receiving her Class Laptops, Plaintiff Carole Schauer

reviewed the Class Laptop boxes and the documents included inside the boxes.

Neither of these sources disclosed the Hinge Defect to Plaintiff Carole Schauer.

      159. Shortly after purchase, Plaintiff Carole Schauer’s HP Envy x360 laptop

presented cause for concern. When opening and closing the device, Plaintiff

encountered substantial stiffness in the hinge and often heard a clicking sound when

closing the device. Approximately one year after purchase, just days after the one-

year warranty expired, a small button-like screw/rivet snapped off and the screen

separated from the lid. The laptop is no longer usable in any capacity; Plaintiff tried

to move the laptop after the screen separated from the lid, but any movement seemed

to cause further damage, so the laptop now lays flat in a box. The manifestation of

the Hinge Defect in Plaintiff’s Class Laptop can be seen in the photograph below.




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      155. Plaintiff Carole Schauer’s HP Envy 17 laptop also manifested

indicators of the defective hinge, shortly after purchase, including substantial

stiffness when the device opens and closes.

      156. Plaintiff Carole Schauer used and maintained her Class Laptops in a

manner typical of a reasonable consumer.

      157. Plaintiff Carole Schauer was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.


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      158. If Plaintiff Carole Schauer had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptops, or would have paid substantially less for them.

      159. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      160. Plaintiff Carole Schauer remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Lorne Cosman

      161. Plaintiff Lorne Cosman is a citizen of California and resides in Sherman

Oaks, California.




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      162. Plaintiff Lorne Cosman purchased an HP Envy for his personal use on

June 1, 2018, for $1,244.87, from Best Buy. His device’s serial number is:

5CG8114NMK.

      163. Prior to purchasing his Class Laptop, Plaintiff Lorne Cosman

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      164. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Lorne Cosman.

      165. Immediately after receiving his Class Laptop, Plaintiff Lorne Cosman

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Lorne Cosman.

      166. Plaintiff Lorne Cosman had been using his laptop for approximately 18

months when the Hinge Defect manifested, and the right hinge functionality

deteriorated. Although repair of the hinge was attempted with epoxy, the hinge still

does not work properly. Plaintiff Lorne Cosman must leave the laptop open at all

times and moves it as little as possible out of fear of further damage. As a result of

the Hinge Defect, the laptop has been rendered substantially unusable and has lost

the Class Laptop’s essential portability functionality.

      167. Plaintiff Lorne Cosman used and maintained his Class Laptop in a

manner typical of a reasonable consumer.


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      168. Plaintiff Lorne Cosman was unaware of, and lacked a reasonable means

of discovering, the Hinge Defect.

      169. If Plaintiff Lorne Cosman had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      170. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      171. Plaintiff Lorne Cosman remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Patricia Roberts

      172. Plaintiff Patricia Roberts is a citizen of Florida and resides in Cocoa

Beach, Florida.


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      173. Plaintiff Patricia Roberts purchased an HP 15 for her personal use on

August 30, 2018, for $373.43, from Walmart. Her device’s serial number is:

CND81557QW.

      174. Prior to purchasing her Class Laptop, Plaintiff Patricia Roberts

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      175. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Patricia Roberts.

      176. Immediately after receiving her Class Laptop, Plaintiff Patricia Roberts

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Patricia Roberts.

      177. Plaintiff Patricia Roberts had been using her laptop for approximately

2 years when the Hinge Defect manifested around June 2020. She attempted to close

the laptop after using it but felt resistance from the hinges. The hinges separated as

a result of the Hinge Defect which caused the frame to distort. Plaintiff Patricia

Roberts tried to push the laptop’s frame back into place, but the hinges felt stiff and

she feared further damaging them. The manifestation of the Hinge Defect in

Plaintiff’s Class Laptop, which rendered the device substantially unusable, can be

seen in the photograph below.




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      178. Because the manifestation of the Hinge Defect prevented her from

being able to close her Class Laptop, Plaintiff Patricia Roberts had to purchase a

second laptop for traveling purposes

      179. Plaintiff Patricia Roberts used and maintained her Class Laptop in a

manner typical of a reasonable consumer.

      180. Plaintiff Patricia Roberts was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.




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      181. If Plaintiff Patricia Roberts had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      182. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      183. Plaintiff Patricia Roberts remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Terence Graner

      184. Plaintiff Terence Graner is a citizen of California and resides in Spring

Valley, California.




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      185. Plaintiff Terence Graner purchased an HP 17 for his personal use on

January 27, 2018, for $645.42, from Sam’s Club. His device’s serial number is:

8CG7422QNY.

      186. Prior to purchasing his Class Laptop, Plaintiff Terence Graner

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      187. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Terence Graner.

      188. Immediately after receiving his Class Laptop, Plaintiff Terence Graner

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Terence Graner.

      189. Plaintiff Terence Graner had been using his laptop for approximately

one year when the Hinge Defect manifested. The laptop became difficult to open

and close. Five months later, the Class Laptop’s hinge snapped, preventing the

device from being maneuvered or transported and rendering it substantially

unusable. To make matters worse, Plaintiff Graner was forced to purchase a

replacement stand-alone monitor to replace the detached laptop monitor—as shown

in Plaintiff’s photograph below.




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      190. Plaintiff Terence Graner used and maintained his Class Laptop in a

manner typical of a reasonable consumer.

      191. Plaintiff Terence Graner was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      192. If Plaintiff Terence Graner had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      193. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy


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the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      194. Plaintiff Terence Graner remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Trudy Letson

      195. Plaintiff Trudy Letson is a citizen of California and resides in Jackson,

California.

      196. Plaintiff Trudy Letson purchased an HP 14 for her personal use in June

2020, for $628, from Staples. Her device’s serial number is: 5CDO1216NL.

      197. Prior to purchasing her Class Laptop, Plaintiff Trudy Letson researched

different laptops and viewed multiple advertisements from HP, touting HP laptops’

reliability, durability, and superiority over competitive offerings.

      198. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Trudy Letson.

      199. Immediately after receiving her Class Laptop, Plaintiff Trudy Letson

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Trudy Letson.




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      200. Plaintiff Trudy Letson had been using her laptop for approximately 6

months when the Hinge Defect manifested. As a result of the Hinge Defect, the hinge

would no longer support the screen, leading the laptop lid to close on its own.

Plaintiff Letson would need to prop up an object behind the screen in order to keep

the screen from moving forward or back. The Class Laptop’s maneuverability and

portability have suffered as a result of the Hinge Defect and it has been rendered

substantially unusable.

      201. Plaintiff Trudy Letson contacted HP but was told she needed to pay

$100 for technical support or had to have purchased an extended warranty to receive

assistance. She was told her warranty was expired, despite the fact that one year had

not yet passed from her purchase.

      202. Plaintiff Trudy Letson used and maintained her Class Laptop in a

manner typical of a reasonable consumer.

      203. Plaintiff Trudy Letson was unaware of, and lacked a reasonable means

of discovering, the Hinge Defect.

      204. If Plaintiff Trudy Letson had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.




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      205. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      206. Plaintiff Trudy Letson remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Stephen Luther

      207. Plaintiff Stephen Luther is a citizen of California and resides in Citrus

Heights, California.

      208. Plaintiff Stephen Luther purchased an HP 15 for his personal use on

August 22, 2018, for $320, from Walmart. His device’s serial number is

CND8280TDW.

      209. Prior to purchasing his Class Laptop, Plaintiff Stephen Luther

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.


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      210. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Stephen Luther.

      211. Immediately after receiving his Class Laptop, Plaintiff Stephen Luther

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Stephen Luther.

      212. Plaintiff Stephen Luther had been using his laptop for approximately

two-and a-half years when the Hinge Defect manifested, and the left hinge snapped.

This caused the frame of the screen to irreparably pop away from the base of the

Class Laptop. Plaintiff Luther knew that his warranty had expired, but attempted to

contact Defendant’s customer service line anyways, with no luck. He states that he

could never get a live customer service representative to assist him in this matter and

that he could not, otherwise, afford repair. As a result of the Hinge Defect, the laptop

has been rendered substantially unusable. Photographs of the Hinge Defect and its

severe impacts on the Class Laptop can be found below.




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      213. Plaintiff Stephen Luther used and maintained his Class Laptop in a

manner typical of a reasonable consumer.

      214. Plaintiff Stephen Luther was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      215. If Plaintiff Stephen Luther had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)




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misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      216. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      217. Plaintiff Stephen Luther remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Phillip Erickson

      218. Plaintiff Phillip Erickson is a citizen of Florida and resides in Orlando,

Florida.

      219. Plaintiff Phillip Erickson purchased an HP 17 Laptop for his personal

use for $463.99, from Best Buy in Orlando, FL. His device’s serial number is:

5CG8398VXG.




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      220. Prior to purchasing his Class Laptop, Plaintiff Phillip Erickson

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      221. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Phillip Erickson.

      222. Immediately after receiving his Class Laptop, Plaintiff Phillip Erickson

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Phillip Erickson.

      223. Plaintiff Phillip Erickson had been using his laptop for approximately

6 months when the Hinge Defect manifested. Plaintiff Phillip Erickson had difficulty

closing and opening his laptop. Intending to use the laptop for travel, the Hinge

Defect made it so that he could no longer carry it from location to location. The lid

would sometimes slam shut and pieces, such as screws and broken plastic, dropped

out of the device. What pieces remained rattled inside the chassis. As a result of the

Hinge Defect, Plaintiff Phillip Erickson does not move his laptop from his desk, so

the laptop is no longer portable and has been rendered substantially unusable. The

manifestation of the Hinge Defect in Plaintiff’s Class Laptop can be seen in the

photograph below.




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      224. Plaintiff Phillip Erickson used and maintained his Class Laptop in a

manner typical of a reasonable consumer.

      225. Plaintiff Phillip Erickson was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      226. If Plaintiff Phillip Erickson had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      227. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

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warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      228. Plaintiff Phillip Erickson remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Donald Harman

      229. Plaintiff Donald Harman is a citizen of Florida and resides in Wilton

Manors, Florida.

      230. Plaintiff Donald Harman purchased an HP Envy 17 Laptop for his

personal use on December 15, 2017, for $949.99, from Best Buy. His device’s serial

number is: 5CG7460R5X.

      231. Prior to purchasing his Class Laptop, Plaintiff Donald Harman

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      232. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Donald Harman.




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      233. Immediately after receiving his Class Laptop, Plaintiff Donald Harman

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Donald Harman.

      234. Prior to purchasing the Class Laptop, Plaintiff researched the available

models on the market, ultimately choosing the Class Laptop because of its large, 17-

inch screen and its high quality, reliable video streaming.

      235. For three years, Plaintiff Donald Harman used his Class Laptop

exclusively at his home office, essentially as a desktop computer. The Class Laptop

sat on his desk, plugged into the charger, and remained open.

      236. In late August of 2021, Plaintiff Donald Harman planned to travel for a

number of days and decided to take his laptop with him. He attempted to close his

Class Laptop for the first time but stopped before it was shut. Plaintiff Donald

Harman was alarmed to see that the back of the bottom panel appeared to bend away

from the keyboard, and the upper clamshell was beginning to separate from the

bottom.

      237. Plaintiff Donald Harman brought his Class Laptop to Best Buy where

he had purchased it and inquired about repairs, since his Limited Warranty had

lapsed. The GeekSquad within Best Buy informed him that he would need an

entirely new frame, as well as replacement hinges. Plaintiff Donald Harman was told

the shipping and replacement bezzle would cost $185, but they could not give him a


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quote for the required hinge repair. Reluctant to pay what seemed like the mounting

costs of repair, Plaintiff Donald Harman took his defective Class Laptop home.

Plaintiff Donald Harman did not take his Class Laptop on his travels, for fear of

further damaging it while opening and closing the lid.

      238. Plaintiff Donald Harman continued to use the laptop but observed the

back of the bottom panel was being forced incrementally and steadily out of place,

despite never again trying to close the lid or transport the Class Laptop.

      239. Alarmed that the panel seemed on the brink of separating entirely,

Plaintiff Donald Harman applied a clip to the bottom panel of the laptop. This clip

is currently the only thing holding the pieces of the Class Laptop together.

      240. The Class Laptop’s maneuverability and portability performance have

suffered as a result. The manifestation of the Hinge Defect in Plaintiff’s Class

Laptop, which has rendered the device substantially unusable, can be seen in the

photograph below.




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      241. Plaintiff Donald Harman used and maintained his Class Laptop in a

manner typical of a reasonable consumer.

      242. Plaintiff Donald Harman was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      243. If Plaintiff Donald Harman had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.




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      244. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      245. Plaintiff Donald Harman remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Christopher Nind

      246. Plaintiff Christopher Nind is a citizen of Florida and resides in

Longboat Key, Florida.

      247. Plaintiff Christopher Nind purchased an HP Envy x360 from Best Buy

for his personal use on November 5, 2020, for $879.99. His device’s serial number

is CNDO396TMW.

      248. Prior to purchasing his Class Laptop, Plaintiff Christopher Nind

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.


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      249. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Christopher Nind.

      250. Immediately after receiving his Class Laptop, Plaintiff Christopher

Nind reviewed the Class Laptop box and the documents included inside the box.

Neither of these sources disclosed the Hinge Defect to Plaintiff Christopher Nind.

      251. After only about 18 months of use on June 7, 2022, the Hinge Defect

manifested when Plaintiff Christopher Nind’s HP Envy x360 laptop experienced

sudden and extreme stiffness of the left hinge. He went to close the laptop that

morning and, upon feeling the tension in the hinge, he left the device as it was.

Despite his extreme caution in not attempting to close his laptop, when he next

returned to his device, he found the hinge cracked and the material at the base of the

laptop peeling away from itself. The laptop cannot be closed since the Hinge Defect

manifested. As a result of the Hinge Defect, the laptop has been rendered

substantially unusable.

      252. Plaintiff Christopher Nind had purchased additional technical support

from Best Buy when he acquired the Class Laptop. He therefore so brought the Class

Laptop back to them, still in its open and upright position, to evaluate and hopefully

fix. However, they informed him that his technical support package did not support

hardware and that they would not recommend moving forward with repair, since

they could not guarantee it would be successful given the overall design of the


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laptop’s hinges. The manifestation of the Hinge Defect in Plaintiff Christopher

Nind’s Class Laptop can be seen in the photographs below.




      253. Plaintiff Christopher Nind used and maintained his Class Laptop in a

manner typical of a reasonable consumer.

      254. Plaintiff Christopher Nind was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      255. If Plaintiff Christopher Nind had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      256. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

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remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      257. Plaintiff Christopher Nind remains very interested in purchasing

another HP laptop in the future and would consider doing so if he felt confident that

HP would correct the problems discussed herein and throughout this Second

Amended Complaint.

      Plaintiff William Draper

      258. Plaintiff William Draper is a citizen of Indiana and resides in

Merrillville, Indiana.

      259. Plaintiff William Draper purchased an HP Pavilion x360 Laptop for his

personal use on May 12, 2019, for $449.99, from Best Buy. His device’s serial

number is: 8CG910CS11.

      260. Prior to purchasing his Class Laptop, Plaintiff William Draper

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.

      261. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff William Draper.




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      262. Immediately after receiving his Class Laptop, Plaintiff William Draper

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff William Draper.

      263. Plaintiff William Draper had been using his laptop for approximately

two-and-a-half years when the Hinge Defect manifested, as shown below. Plaintiff

William Draper opened the laptop, heard a crunch, and saw that the left hinge had

broken off from the top of the laptop. To make matters worse, the manifestation of

the Hinge Defect separated the screen from the Class Laptop’s frame. The Class

Laptop’s maneuverability and portability have suffered as a result. The

manifestation of the Hinge Defect, which has rendered the device substantially

unusable, can be seen in the images below.




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      264. Plaintiff William Draper used and maintained his Class Laptop in a

manner typical of a reasonable consumer. Indeed, Plaintiff Draper never even

opened his Class Laptop into the full 360-degree tablet mode advertised by

Defendant.

      265. Plaintiff William Draper was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      266. When Plaintiff Draper called HP about the Hinge Defect, he was told

by customer service that “there is no recall on it, so it’s not our issue;” the laptop

was “not under warranty;” and he would have to pay “$379.00 to have it fixed.”

      267. If Plaintiff William Draper had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.

      268. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.


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      269. Plaintiff William Draper remains very interested in purchasing another

HP laptop in the future and would consider doing so if he felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Sabine Miller

      270. Plaintiff Sabine Miller is a citizen of Indiana and resides in Merrillville,

Indiana.

      271. Plaintiff Sabine Miller purchased an HP 17 Laptop for her personal use

on November 19, 2019, for $649.99, from Costco. Her device’s serial number is:

8CG7212T97.

      272. Prior to purchasing her Class Laptop, Plaintiff Sabine Miller researched

different laptops and viewed multiple advertisements from HP, touting HP laptops’

reliability, durability, and superiority over competitive offerings.

      273. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Sabine Miller.

      274. Immediately after receiving her Class Laptop, Plaintiff Sabine Miller

reviewed the Class Laptop box and the documents included inside the box. Neither

of these sources disclosed the Hinge Defect to Plaintiff Sabine Miller.

      275. The Hinge Defect manifested in or around May 2020, the hinges on

Plaintiff Sabine Miller’s HP 17” began making clicking sounds when she opened


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and closed the laptop. The hinge then popped out of its position. Every time Plaintiff

Sabine Miller attempts to reposition the hinge into its correct positioning, it

subsequently pops back out again. The destabilized hinge interferes with the opening

and closing of the laptop. As a result of the Hinge Defect, Plaintiff Sabine Miller’s

laptop is no longer portable, which was one of the reasons she purchased a laptop.

Plaintiff Sabine Miller’s laptop was well-protected, as it used to travel in a rolling,

padded cases. Despite this precaution, the device must now remain on her desk in

order to prevent further manifestations of the Hinge Defect and complete destruction

of the device. The Class Laptop’s maneuverability and portability have suffered as

a result. Therefore, the laptop has been rendered substantially unusable.

      276. Plaintiff Sabine Miller was unable to exchange the laptop from Costco

since the Hinge Defect did not manifest until after the exchange period expired.

      277. Plaintiff Sabine Miller used and maintained her Class Laptop in a

manner typical of a reasonable consumer.

      278. Plaintiff Sabine Miller was unaware of, and lacked a reasonable means

of discovering, the Hinge Defect.

      279. If Plaintiff Sabine Miller had been told of the Hinge Defect and the

deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.


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      280. HP has long been on notice of the Hinge Defect. As detailed herein,

multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

remedies for, among other things, its failure to remedy the Hinge Defect under its

warranties. HP did not respond to that letter, and, through counsel, refused to remedy

the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

letter seeking correction of the Hinge Defect under HP’s warranties.

      281. Plaintiff Sabine Miller remains very interested in purchasing another

HP laptop in the future and would consider doing so if she felt confident that HP

would correct the problems discussed herein and throughout this Second Amended

Complaint.

      Plaintiff Diana Hobert-Powell

      282. Plaintiff Diana Hobert-Powell is a citizen of Michigan and resides in

Rochester Hills, Michigan.

      283. Plaintiff Diana Hobert-Powell purchased an HP 17 Laptop for her

personal use on November 10, 2018, for $528.94, from Sam’s Club. Her device’s

serial number is: 5CG83909NZ.

      284. Prior to purchasing her Class Laptop, Plaintiff Diana Hobert-Powell

researched different laptops and viewed multiple advertisements from HP, touting

HP laptops’ reliability, durability, and superiority over competitive offerings.


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      285. At no point, in either researching Class Laptops, at the point of sale or

otherwise did HP disclose the Hinge Defect to Plaintiff Diana Hobert-Powell.

      286. Immediately after receiving her Class Laptop, Plaintiff Diana Hobert-

Powell reviewed the Class Laptop box and the documents included inside the box.

Neither of these sources disclosed the Hinge Defect to Plaintiff Diana Hobert-

Powell.

      287. The Hinge Defect manifested when the hinges on Plaintiff Diana

Hobert-Powell's HP 17” came apart and lifted the top case from the laptop base a

few months after purchase, in early 2019. Plaintiff Diana Hobert-Powell is afraid to

open and close the laptop because she is afraid the exposed wires will be cut and

render the computer unusable. As a result of the Hinge Defect, Plaintiff Diana

Hobert-Powell does not move her laptop from her desk. The laptop is therefore no

longer portable.

      288. Plaintiff Diana Hobert-Powell had dealt with HP before regarding a

previous laptop that HP failed to adequately repair. She therefore did not consider it

worthwhile to call HP about repairing her HP 17” because of the past negative

experience she had with the company. The manifestation of the Hinge Defect in

Plaintiff Diana Hobert-Powell’s Class Laptop, which has rendered the device

substantially unusable, can be seen in the photograph below.




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      289. Plaintiff Diana Hobert-Powell used and maintained her Class Laptop in

a manner typical of a reasonable consumer.

      290. Plaintiff Diana Hobert-Powell was unaware of, and lacked a reasonable

means of discovering, the Hinge Defect.

      291. If Plaintiff Diana Hobert-Powell had been told of the Hinge Defect and

the deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

misrepresent its quality, durability, and portability, Plaintiff would not have

purchased the Class Laptop, or would have paid substantially less for it.


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       292. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       293. Plaintiff Diana Hobert-Powell remains very interested in purchasing

 another HP laptop in the future and would consider doing so if she felt confident that

 HP would correct the problems discussed herein and throughout this Second

 Amended Complaint.

       Plaintiff Janet Purvis

       294. Plaintiff Janet Purvis is a citizen of Missouri and resides in Imperial,

 Missouri.

       295. Plaintiff Janet Purvis received an HP Pavilion x360 Laptop as a gift for

 her personal use on November 1, 2019.

       296. Immediately after receiving her Class Laptop, Plaintiff Janet Purvis

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Janet Purvis.




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       297. Plaintiff Janet Purvis had been using her laptop for approximately two

 years when the Hinge Defect manifested and the hinge on one side of the Class

 Laptop suddenly separated, followed shortly thereafter by the second side. Plaintiff

 Purvis heard the distinctive crunch sound complained of by other plaintiffs and

 noticed plastic debris falling out of the unit. The manifestation of the Hinge Defect

 in Plaintiff Janet Purvis’s Class Laptop, which has rendered the device substantially

 unusable, can be seen in the photographs below.




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       298. Plaintiff Janet Purvis used and maintained her Class Laptop in a manner

 typical of a reasonable consumer.

       299. Plaintiff Janet Purvis was unaware of, and lacked a reasonable means

 of discovering, the Hinge Defect.

       300. If Plaintiff Janet Purvis had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       301. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy



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 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       302. Plaintiff Janet Purvis remains very interested in purchasing another HP

 laptop in the future and would consider doing so if she felt confident that HP would

 correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Sarah Householder

       303. Plaintiff Sarah Householder is a citizen of Oregon and resides in

 Beaverton, Oregon.

       304. Plaintiff Sarah Householder purchased an HP Pavilion 17 Laptop

 (certified factory refurbished by HP) for her personal use on October 18, 2019, for

 $449.95, from Ebay. Her device’s serial number is: 5CG8337TDF.

       305. Prior to purchasing her Class Laptop, Plaintiff Sarah Householder

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       306. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Sarah Householder.

       307. Immediately after receiving her Class Laptop, Plaintiff Householder

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Sarah Householder.


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       308. Plaintiff Sarah Householder had been using her laptop for

 approximately one year when the Hinge Defect manifested and the left hinge

 separated from the frame holding the screen, as such the computer cannot be

 maneuvered or transported. The Hinge Defect prevents the laptop’s screen from

 staying in place—it simply falls down unless it is propped up on something. The

 manifestation of the Hinge Defect, which has rendered the device substantially

 unusable, can be seen in the image below.




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       309. Plaintiff Sarah Householder used and maintained her Class Laptop in a

 manner typical of a reasonable consumer.

       310. Plaintiff Sarah Householder was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       311. If Plaintiff Sarah Householder had been told of the Hinge Defect and

 the deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       312. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       313. Plaintiff Sarah Householder remains very interested in purchasing

 another HP laptop in the future and would consider doing so if she felt confident that

 HP would correct the problems discussed herein and throughout this Second

 Amended Complaint.

       Plaintiff Gregory Orenski


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         314. Plaintiff Gregory Orenski is a citizen of Ohio and resides in Parma,

 Ohio.

         315. Plaintiff Gregory Orenski purchased two HP 17 laptops for his personal

 use on November 23, 2018, for a merchandise total of $712.78 (after applying two

 $200 coupons), from Staples. His devices’ serial numbers are 5CG8432VS0 and

 5CG8432W5S.

         316. Prior to purchasing his Class Laptop, Plaintiff Gregory Orenski

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

         317. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Gregory Orenski.

         318. Immediately after receiving his Class Laptop, Plaintiff Gregory

 Orenski reviewed the Class Laptop box and the documents included inside the box.

 Neither of these sources disclosed the Hinge Defect to Plaintiff Gregory Orenski.

         319. Plaintiff Gregory Orenski had been using his laptop for approximately

 thirty-two months when the Hinge Defect manifested and both hinges on the Class

 Laptops failed. As a result, Plaintiff Gregory Orenski could not open and close the

 lid on either laptop.

         320. Plaintiff Gregory Orenski used and maintained his Class Laptops in a

 manner typical of a reasonable consumer.


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         321. Plaintiff Gregory Orenski was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

         322. If Plaintiff Gregory Orenski had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptops, or would have paid substantially less for them.

         323. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

         324. Plaintiff Gregory Orenski remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

         Plaintiff Cara Washington

         325. Plaintiff Cara Washington is a citizen of Ohio and resides in Dayton,

 Ohio.


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       326. Plaintiff Cara Washington purchased an HP 17 Laptop for her personal

 use on October 8, 2018, for $639.90, from the QVC television network. Her device’s

 serial number is: 5CG84157Y9.

       327. Prior to purchasing her Class Laptop, Plaintiff Cara Washington

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       328. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Cara Washington.

       329. Immediately after receiving her Class Laptop, Plaintiff Cara

 Washington reviewed the Class Laptop box and the documents included inside the

 box. Neither of these sources disclosed the Hinge Defect to Plaintiff Washington.

       330. Plaintiff Cara Washington had been using her laptop for less than year

 and a half when the Hinge Defect manifested and she noticed the machine made a

 popping and cracking sound when she opened or closed the lid. Soon after, the hinge

 became askew, dislodging the keyboard assembly from its base. Now, the Class

 Laptop has been rendered substantially unusable and Plaintiff Cara Washington has

 to manually push the keyboard assembly back down into the base.

       331. Plaintiff Cara Washington used and maintained her Class Laptop in a

 manner typical of a reasonable consumer.




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       332. Plaintiff Cara Washington was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       333. If Plaintiff Cara Washington had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       334. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       335. Plaintiff Cara Washington remains very interested in purchasing

 another HP laptop in the future and would consider doing so if she felt confident that

 HP would correct the problems discussed herein and throughout this Second

 Amended Complaint.

       Plaintiff Michael Dobkin

       336. Plaintiff Michael Dobkin is a citizen of New Jersey and resides in

 Denville, New Jersey.


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       337. Plaintiff Michael Dobkin purchased an HP Pavilion x360 2-in-1 for his

 personal use on November 23, 2018 from Best Buy. The laptop cost $399.00 before

 applicable taxes. The Purchased Class Laptop is identified by the serial number:

 8CG8406HJY.

       338. Prior to purchasing his Class Laptop, Plaintiff Michael Dobkin

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       339. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Michael Dobkin.

       340. Immediately after receiving his Class Laptop, Plaintiff Michael Dobkin

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Michael Dobkin.

       341. Plaintiff Michael Dobkin had been using the laptops for approximately

 19 months when the Hinge Defect manifested and the hinge on the right side of the

 Class Laptop failed. As a result, the screen cracked, the cover has separated from the

 base of the laptop and the devices cannot be closed or transported or transformed to

 tablet mode. The manifestation of the Hinge Defect in Plaintiff’s Class Laptop has

 rendered the device substantially unusable.

       342. At the time of purchase, Plaintiff Michael Dobkin purchased an

 extended warranty through American Express. Upon manifestation of the Hinge


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 Defect, Plaintiff Michael Dobkin contacted American Express which in turn

 contacted HP to seek coverage under the extended warranty. HP told American

 Express that the Hinge Defect was a result of physical damage caused by Plaintiff

 Michael Dobkin, not the Hinge Defect, and would not cover the claim. Accordingly,

 American Express rejected the extended warranty claim.

       343. Plaintiff Michael Dobkin used and maintained his Class Laptop in a

 manner typical of a reasonable consumer.

       344. Plaintiff Michael Dobkin was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       345. If Plaintiff Michael Dobkin had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       346. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.


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       347. Plaintiff Michael Dobkin remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Stephen Kaplitt

       348. Plaintiff Stephen Kaplitt is a citizen of New Jersey and resides in

 Livingston, New Jersey.

       349. Plaintiff Stephen Kaplitt purchased an HP17 laptop in 2012. It broke as

 a result of the plastic frame being unable to hold the metal hinge in place. Believing

 the laptop to simply be a lemon, Plaintiff Stephen Kaplitt purchased a second HP17

 laptop, included among the Class Laptops, on December 12, 2018, for $511.79 from

 Staples, Serial # 5CG8475LLX. He purchased an extended warranty for his Class

 Laptop on April 19, 2019, for $95.95. The extended warranty expired on November

 26, 2021, although it should have expired on December 12, 2021, three years after

 the date of purchase.

       350. Prior to purchasing his Class Laptop, Plaintiff Stephen Kaplitt

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       351. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Stephen Kaplitt.


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       352. Immediately after receiving his Class Laptop, Plaintiff Stephen Kaplitt

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Stephen Kaplitt.

       353. Plaintiff’s HP 17 laptop broke in November 2021, after not even three

 years of use. Plaintiff called HP on December 16, 2021 and was told that the

 extended warranty had expired and HP was unable to repair it or compensate him

 for the damaged laptop. Once again, the damage was a result of the Defect, as shown

 in the below image of Plaintiff Stephen Kaplitt’s HP 17 laptop. The weak plastic

 anchor broke, rendering the laptop hinge inoperable. The location where the plastic

 broke is shown in the red circle.

       354. Plaintiff Stephen Kaplitt did not use the Class Laptop in any manner

 not anticipated or expected in the course of ordinary use, and neither of Plaintiff’s

 HP laptops (purchased in 2012 and 2018) suffered any accidental damage or misuse

 of any kind.




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       355. Plaintiff Stephen Kaplitt used and maintained his Class Laptop in a

 manner typical of a reasonable consumer and did not do anything to either cause,

 exacerbate or accelerate the deterioration of the plastic base holding the hinge in

 place.77

       356. Plaintiff Stephen Kaplitt was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       357. If Plaintiff Stephen Kaplitt had been told by HP of the Hinge Defect

 instead of HP deceptively (a) concealing the Hinge Defect, and (b) misrepresenting

 the quality, durability, and portability of the Class Laptop, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       358. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.



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   The removal of the back of the laptop occurred after the plastic broke and was done only
 after Plaintiff was advised by HP that the laptop was out of warranty. The removal was
 done for the purpose of seeing what had caused the hinge failure, and subsequently showing
 Plaintiff Stephen Kaplitt’s counsel what had happened.
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       359. Plaintiff Stephen Kaplitt remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Timur Sakharuk

       360. Plaintiff Timur Sakharuk is a citizen of Massachusetts and resides in

 Framingham, Massachusetts.

       361. Plaintiff Timur Sakharuk purchased two HP 17s for his personal and

 family use on June 3, 2020 and June 28, 2020. Each laptop cost $999.00 for a total

 purchase price, before tax of $1,998.00. The Class Laptops are identified by the

 serial numbers: 5CG9370249 and 5CG0143XWB.

       362. Prior to purchasing his Class Laptops, Plaintiff Timur Sakharuk

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       363. At no point, in either researching Class Laptops, at the point of sale or

 otherwise, did HP disclose the Hinge Defect to Plaintiff Timur Sakharuk.

       364. Immediately after receiving his Class Laptops, Plaintiff Timur

 Sakharuk reviewed the Class Laptop boxes and the documents included inside the

 boxes. Neither of these sources disclosed the Hinge Defect to Plaintiff Timur

 Sakharuk.


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       365. Plaintiff Timur Sakharuk had been using the laptops for approximately

 13 months when the Hinge Defect manifested and the hinge on the right side of both

 Class Laptops failed. As a result, the cover has separated from the bases of the

 laptops and the devices cannot be closed or transported. The manifestation of the

 Hinge Defect in Plaintiff’s Class Laptops has rendered the devices substantially

 unusable.

       366. Plaintiff Timur Sakharuk used and maintained his Class Laptops in a

 manner typical of a reasonable consumer.

       367. Plaintiff Timur Sakharuk was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       368. If Plaintiff Timur Sakharuk had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptops, or would have paid substantially less for them.

       369. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy




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 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       370. Plaintiff Timur Sakharuk remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Robert DiMartino

       371. Plaintiff Robert DiMartino is a citizen of Massachusetts and resides in

 Dedham, Massachusetts.

       372. Plaintiff Robert DiMartino purchased two HP 17s for his personal use

 on June 15, 2020 from Costco and June 29, 2020 from BJ’s. The laptops each cost

 $499.99. The Class Laptop purchased at Costco is identified by the serial number:

 5CG023037D.

       373. Prior to purchasing his Class Laptops, Plaintiff Robert DiMartino

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       374. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Robert DiMartino.

       375. Immediately after receiving his Class Laptops, Plaintiff Robert

 DiMartino reviewed the Class Laptop boxes and the documents included inside the


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 boxes. Neither of these sources disclosed the Hinge Defect to Plaintiff Robert

 DiMartino.

       376. Plaintiff Robert DiMartino had been using the laptops for

 approximately 14 months when the Hinge Defect manifested and the hinges on both

 sides of the Class Laptops failed. As a result, the screens separated from the base of

 the laptop and the devices cannot be closed or transported. The Hinge Defect

 rendered the laptop purchased from BJ’s so useless that Plaintiff had no choice but

 to discard it. However, to use the laptop purchased from Costco, Plaintiff has to

 hold up or prop up the screen to prevent it from falling.

       377. The manifestation of the Hinge Defect in Plaintiff’s Class Laptop has

 rendered the devices totally and substantially unusable. Plaintiff Robert DiMartino

 contacted HP about the manifestation of the Hinge Defect but was told the laptops

 were out of warranty and they would not offer a repair free of charge.

       378. Plaintiff Robert DiMartino used and maintained his Class Laptop in a

 manner typical of a reasonable consumer.

       379. Plaintiff Robert DiMartino was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       380. If Plaintiff Robert DiMartino had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)




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 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptops, or would have paid substantially less for them.

       381. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       382. Plaintiff Robert DiMartino remains very interested in purchasing

 another HP laptop in the future and would consider doing so if he felt confident that

 HP would correct the problems discussed herein and throughout this Second

 Amended Complaint

       Plaintiff Deborah Thelen

       383. Plaintiff Deborah Thelen is a citizen of New York and resides in New

 York City, New York.

       384. Plaintiff Deborah Thelen purchased an HP 17 Laptop for her personal

 use on December 16, 2019, for $631.46, from Best Buy. Her device’s serial number

 is: 5CG7460R5X.




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       385. Prior to purchasing her Class Laptop, Plaintiff Deborah Thelen

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       386. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Deborah Thelen.

       387. Immediately after receiving her Class Laptop, Plaintiff Deborah Thelen

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Deborah Thelen.

       388. Plaintiff Deborah Thelen had been using her laptop for less than year

 when the Hinge Defect manifested. She noticed the machine made a popping sound

 when she opened or closed the lid. Shortly after the noise manifested, the right hinge

 holding the two panels of the laptop together snapped entirely. The top and bottom

 panels of the laptop are now held together only by wiring; as such, it does not stay

 open, cannot be transported, and has been rendered wholly unusable.




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       389. Plaintiff Deborah Thelen used and maintained her Class Laptop in a

 manner typical of a reasonable consumer.

       390. Plaintiff Deborah Thelen was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       391. If Plaintiff Deborah Thelen had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       392. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

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 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       393. Plaintiff Deborah Thelen remains very interested in purchasing another

 HP laptop in the future and would consider doing so if she felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Diane Drake

       394. Plaintiff Diane Drake is a citizen of Washington and resides in Tacoma,

 Washington.

       395. Plaintiff Diane Drake purchased an HP 15 for her personal use on

 October 3, 2019, for $550.99, from Costco. Her device’s serial number is

 5CD916OYT8.

       396. Prior to purchasing her Class Laptop, Plaintiff Diane Drake researched

 different laptops and viewed multiple advertisements from HP, touting HP laptops’

 reliability, durability, and superiority over competitive offerings.

       397. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Diane Drake.

       398. Immediately after receiving her Class Laptop, Plaintiff Diane Drake

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Diane Drake.


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       399. Approximately one month after the expiration of her warranty period,

 Plaintiff Diane Drake was opening her Class Laptop like normal when the Hinge

 Defect manifested, and the hinges made a cracking noise as they failed. Upon further

 examination, she found that pieces of plastic had been expelled from her Class

 Laptop. As a result, the frame around the screen is puckered outward from the laptop

 and the device cannot be closed or transported in any normal fashion. The

 manifestation of the Hinge Defect in Plaintiff’s Class Laptop, which has rendered

 the device substantially unusable in the ways for which it was marketed, can be seen

 in the photograph below.




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       400. Plaintiff Diane Drake took the laptop to two separate repair shops in

 November or December 2020, Gadget Genie and UBreakIFix, who each verbally

 quoted her $250 repairs to the hinges. She opted not to pay for either service.

       401. Plaintiff Diane Drake used and maintained her Class Laptop in a

 manner typical of a reasonable consumer.

       402. Plaintiff Diane Drake was unaware of, and lacked a reasonable means

 of discovering, the Hinge Defect.

       403. If Plaintiff Diane Drake had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       404. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       405. Plaintiff Diane Drake remains very interested in purchasing another HP

 laptop in the future and would consider doing so if she felt confident that HP would


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 correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Bruce Williams

       406. Plaintiff Bruce Williams is a citizen of New York and resides in Elmira,

 New York.

       407. Plaintiff Bruce Williams purchased an HP Envy for his personal use on

 December 14th, 2020, for $1,249.99, from Best Buy. His device’s serial number is

 CND0458CFQ.

       408. Prior to purchasing his Class Laptop, Plaintiff Bruce Williams

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.

       409. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Bruce Williams.

       410. Immediately after receiving his Class Laptop, Plaintiff Bruce Williams

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Bruce Williams.

       411. On or around June 26, 2022, Plaintiff Bruce Williams was opening his

 Class Laptop like normal when the Hinge Defect manifested, and the hinges made a

 crunching noise. While he did not notice any visible damage, his Class Laptop

 continued to make crunching noises when he opened and closed it.


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       412. On or around July 3, 2022, Plaintiff Bruce Williams opened the screen

 and saw that the left hinge had popped out of place. The manifestation of the Hinge

 Defect also shattered the lower left part of the Class Laptop’s screen

       413. To avoid further hinge and screen damage, Plaintiff has left the device

 open since the Hinge Defect manifested; thus, the device cannot be transported. The

 manifestation of the Hinge Defect in Plaintiff’s Class Laptop, which has rendered

 the device substantially unusable in the ways for which it was marketed, can be seen

 in the photograph below.

       414. When Plaintiff Bruce Williams entered his serial number on HP’s serial

 number search engine, the website showed that his warranty had expired.

       415. Plaintiff Bruce Williams used and maintained his Class Laptop in a

 manner typical of a reasonable consumer.

       416. Plaintiff Bruce Williams was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.

       417. If Plaintiff Bruce Williams had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       418. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge


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 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       419. Plaintiff Bruce Williams remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Ian Perry

       420. Plaintiff Ian Perry is a citizen of New York and resides in New York,

 New York.

       421. Plaintiff Ian Perry purchased an HP Pavilion x3 for his personal use in

 November of 2019 at Sam’s Club for on December 14th, 2020, for approximately

 $500. His device’s serial number is 8CG9381BYD.

       422. In or around April, 2022, Plaintiff Ian Perry was using his Class Laptop

 like normal when the Hinge Defect manifested and the left hinge failed.

       423. He can no longer open and close the Class Laptop. The manifestation

 of the Hinge Defect in Plaintiff’s Class Laptop, which has rendered the device

 substantially unusable in the ways for which it was marketed.


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       424. When the Hinge Defect manifested, his warranty on the Class Laptop

 had expired. He had contacted HP for service, but HP refused to assist him repair

 the Hinge Defect because his Class Laptop was out of warranty. In fact, HP support

 told Plaintiff Ian Perry that HP was unaware of any hinge issues with HP laptops.

       425. Plaintiff Ian Perry used and maintained his Class Laptop in a manner

 typical of a reasonable consumer.

       426. Plaintiff Ian Perry was unaware of, and lacked a reasonable means of

 discovering, the Hinge Defect.

       427. If Plaintiff Ian Perry had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       428. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.




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        429. Plaintiff Ian Perry remains very interested in purchasing another HP

 laptop in the future and would consider doing so if he felt confident that HP would

 correct the problems discussed herein and throughout this Second Amended

 Complaint

        Plaintiff Rose Carina

        430. Plaintiff Rose Carina is a citizen of Illinois and resides in Bloomington,

 Illinois.

        431. Plaintiff Rose Carina purchased an HP Envy 360 for her personal use

 on April 18th, 2018, for $759.99, from Best Buy. Her device’s serial number is

 8CG7422K5W.

        432. Prior to purchasing her Class Laptop, Plaintiff Rose Carina researched

 different laptops and viewed multiple advertisements from HP, touting HP laptops’

 reliability, durability, and superiority over competitive offerings.

        433. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Rose Carina.

        434. Immediately after receiving her Class Laptop, Plaintiff Rose Carina

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Rose Carina.

        435. In or around April 2022, Plaintiff Rose Carina noticed that the screen

 was popping out of place on the lower left side and had to push it back into place in


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 order to use her Class Laptop. On or around June 23, 2022, Plaintiff opened her

 laptop and heard a loud cracking noise and noticed that several small screws had

 fallen out of the left hinge area, and that the bottom left screen and the screen casing

 were separating. Following the manifestation of the Hinge Defect, Plaintiff Rose

 Carina cannot open or close the Class Laptop without using a tool to hold the hinge

 in place while she closes the device. The manifestation of the Hinge Defect in

 Plaintiff’s Class Laptop, which has rendered the device substantially unusable in the

 ways for which it was marketed, can be seen in the photograph below.




       436. When Plaintiff Rose Carina contacted HP regarding the Hinge Defect,

 a representative told her that they would be unable to help her because she was no

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 longer in warranty. Additionally, she was told that HP no longer makes the part

 required to repair the laptop, and even if they did, the repair would cost Plaintiff at

 least $400.

       437. Plaintiff Rose Carina used and maintained her Class Laptop in a manner

 typical of a reasonable consumer.

       438. Plaintiff Rose Carina was unaware of, and lacked a reasonable means

 of discovering, the Hinge Defect.

       439. If Plaintiff Rose Carina had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       440. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       441. Plaintiff Rose Carina remains very interested in purchasing another HP

 laptop in the future and would consider doing so if she felt confident that HP would


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 correct the problems discussed herein and throughout this Second Amended

 Complaint.

 Plaintiff Rodney Nash

       442. Plaintiff Rodney Nash is a citizen of Georgia and resides in Tucker,

 Georgia.

       443. Plaintiff Rodney Nash purchased an HP Pavilion for on October 27 th,

 2020, for $719.99, from Amazon. His device’s serial number is 5CG022C433.

       444. Prior to purchasing his Class Laptop, Plaintiff Rodney Nash researched

 different laptops and viewed multiple advertisements from HP, touting HP laptops’

 reliability, durability, and superiority over competitive offerings.

       445. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Rodney Nash.

       446. Immediately after receiving his Class Laptop, Plaintiff Rodney Nash

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Rodney Nash.

       447. In or around May 2021, after only about seven months of use, Plaintiff

 Rodney Nash opened his Class Laptop and a small piece of plastic fell out next to

 the right hinge. The screen and keyboard began to separate from one another, and

 the hinge has popped out of its original place. Because of the hinge detachment, the

 screen feels very heavy when Plaintiff opens and closes it, and the screen is barely


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 able to support itself when the laptop is fully open. The manifestation of the Hinge

 Defect in Plaintiff’s Class Laptop, which has rendered the device substantially

 unusable in the ways for which it was marketed, can be seen in the photograph

 below.




       448. Plaintiff Rodney Nash used and maintained his Class Laptop in a

 manner typical of a reasonable consumer.

       449. Plaintiff Rodney Nash was unaware of, and lacked a reasonable means

 of discovering, the Hinge Defect.

       450. If Plaintiff Rodney Nash had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.



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       451. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple Class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       452. Plaintiff Rodney Nash remains very interested in purchasing another

 HP laptop in the future and would consider doing so if he felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

       Plaintiff Anthony Harris

       453. Plaintiff Anthony Harris is a citizen of Missouri and resides in

 Cleveland, Missouri.

       454. Plaintiff Anthony Harris purchased an HP 17 in December 2020, for

 $666.84, from HP. His device’s serial number is 5CG052208X.

       455. Prior to purchasing his Class Laptop, Plaintiff Anthony Harris

 researched different laptops and viewed multiple advertisements from HP, touting

 HP laptops’ reliability, durability, and superiority over competitive offerings.




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       456. At no point, in either researching Class Laptops, at the point of sale or

 otherwise did HP disclose the Hinge Defect to Plaintiff Anthony Harris.

       457. Immediately after receiving his Class Laptop, Plaintiff Anthony Harris

 reviewed the Class Laptop box and the documents included inside the box. Neither

 of these sources disclosed the Hinge Defect to Plaintiff Anthony Harris.

       458. Plaintiff Anthony Harris had been using his Class Laptop for

 approximately 11 months when the Hinge Defect manifested around November

 2021. The right hinge popped out of place and, in so doing, separated the base of the

 laptop. The Class Laptop cannot be closed or transported. The manifestation of the

 Hinge Defect in Plaintiff’s Class Laptop, which rendered the device substantially

 unusable, can be seen in the photograph below.




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       459. Plaintiff Anthony Harris used and maintained his Class Laptop in a

 manner typical of a reasonable consumer.

       460. Plaintiff Anthony Harris was unaware of, and lacked a reasonable

 means of discovering, the Hinge Defect.



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       461. If Plaintiff Anthony Harris had been told of the Hinge Defect and the

 deceptive manner in which HP would (a) conceal the Hinge Defect, and (b)

 misrepresent its quality, durability, and portability, Plaintiff would not have

 purchased the Class Laptop, or would have paid substantially less for it.

       462. HP has long been on notice of the Hinge Defect. As detailed herein,

 multiple class members have contacted HP, yet HP has failed to remedy the Hinge

 Defect under its warranties. Moreover, HP was previously sent a notice letter seeking

 remedies for, among other things, its failure to remedy the Hinge Defect under its

 warranties. HP did not respond to that letter, and, through counsel, refused to remedy

 the Hinge Defect under its warranties. Finally, Plaintiff, though counsel, sent a notice

 letter seeking correction of the Hinge Defect under HP’s warranties.

       463. Plaintiff Anthony Harris remains very interested in purchasing another

 HP laptop in the future and would consider doing so if she felt confident that HP

 would correct the problems discussed herein and throughout this Second Amended

 Complaint.

                 TOLLING OF STATUTES OF LIMITATIONS

       464. Any applicable statute(s) of limitations have been tolled by HP’s

 knowing and active concealment and denial of the facts alleged herein. Plaintiffs and

 the members of the Class could not have reasonably discovered the true, latent nature

 of the Hinge Defect until shortly before this class action litigation was commenced.


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       465. In addition, even after Plaintiffs and Class members contacted HP

 and/or its authorized retailers for Class Laptops repairs concerning the effects of the

 Hinge Defect, they were routinely told by HP and/or through its retailers that the

 Class Laptops were not defective and that a breakdown of the hinge on a Class

 Laptop was the result of normal use of the Class Laptop or user error.

       466. HP was and remains under a continuing duty to disclose to Plaintiffs

 and the members of the Class the true character, quality, and nature of the Class

 Laptops. As a result of HP’s active concealment, any and all applicable statutes of

 limitations otherwise applicable to the allegations herein have been tolled.

                        CLASS ACTION ALLEGATIONS

       467. Plaintiffs bring this lawsuit on behalf of themselves, and all similarly

 situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),

 23(b)(2), 23(b)(3), and/or 23(c)(4). The class and subclasses consist of:

    a. The Nationwide Class: All purchasers in the United States who purchased a

       Class Laptop (the “Nationwide Class”);

    b. The Alabama Subclass: All purchasers in the state of Alabama who

       purchased a Class Laptop (the “Alabama Subclass”);

    c. The Arkansas Subclass: All purchasers in the state of Arkansas who

       purchased a Class Laptop (the “Arkansas Subclass”);




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    d. The California Subclass: All purchasers in the state of California who

       purchased a Class Laptop (the “California Subclass);

    e. The Florida Subclass: All purchasers in the state of Florida who purchased

       a Class Laptop (the “Florida Subclass”);

    f. The Indiana Subclass: All purchasers in the state of Indiana who purchased

       a Class Laptop (the “Indiana Subclass”);

    g. The Massachusetts Subclass: All purchasers in the state of Massachusetts

       who purchased a Class Laptop (the “Massachusetts Subclass”);

    h. The Michigan Subclass: All purchasers in the state of Michigan who

       purchased a Class Laptop (the “Michigan Subclass”);

    i. The Missouri Subclass: All purchasers in the state of Missouri who

       purchased a Class Laptop (the “Missouri Subclass”);

    j. The New Jersey Subclass: All purchasers in the state of New Jersey who

       purchased a Class Laptop (the “New Jersey Subclass”);

    k. The New York Subclass: All purchasers in the state of New York who

       purchased a Class Laptop (the “New York Subclass”);

    l. The Ohio Subclass: All purchasers in the state of Ohio who purchased a Class

       Laptop (the “Ohio Subclass”);

    m. The Oregon Subclass: All purchasers in the state of Oregon who purchased

       a Class Laptop (the “Oregon Subclass”); and


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    n. The Washington Subclass: All purchasers in the state of Washington who

       purchased a Class Laptop (the “Washington Subclass”).

       468. Plaintiffs and Class members reserve the right to narrow or expand the

 forgoing class definition, or create subclasses, in light of future fact discovery, and

 including as the Court deems necessary. The may include, by way of example,

 bellwether classes or state or other sub-classes. Excluded from the Class are: (a) any

 Judge presiding over this action and members of their families; (b) Defendant and

 its subsidiaries and affiliates; and (c) all persons who properly execute and file a

 timely request for exclusion from the Class.

       469. No actual conflict of laws exists between the laws of Plaintiffs’ home

 states, and the laws of other Class members’ states in the putative Nationwide Class.

 Or alternatively, any potential conflict is a false one. The lack of conflict, or the

 false conflict, between the laws of Plaintiffs’ home states and the laws of other Class

 members’ states in the putative Nationwide Class means it is appropriate to certify

 Nationwide Class under the laws of the aforementioned states. Alternatively, Class

 members from jurisdictions can be grouped together for purposes of class treatment

 given that Rule 23 and choice of law principles permit certification of subgroups of




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 states and provide that relatively minor differences in state law that can be overcome

 by grouping similar laws together.78

        470. Numerosity: Members of the Class are so numerous that their

 individual joinder is impracticable. Moreover, the Class is composed of an easily

 ascertainable, self-identifying set of individuals and entities who purchased Class

 Laptops. The precise number of Class members can be ascertained through

 discovery, which includes Defendant’s records. Plaintiffs estimate the number of

 Class members to be in at least the tens of thousands. The disposition of their claims

 through a class action will benefit both the parties and this Court.

        471. The proposed classes are ascertainable because they are defined by

 reference to objective criteria. In addition, and upon information and belief, the

 names and addresses of all members of the proposed class can be identified in

 business records maintained by Defendant.

        472. Commonality: There are questions of law and fact common to the Class

 that will materially advance the litigation, and these common questions predominate

 over any questions affecting only individual Class members. Among the questions

 common to the Class are:



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   See also, e.g., Phillips Petro. Co. v. Shutts, 472 U.S. 797, 816 (1985) (“[t]here can be no
 injury in applying Kansas law if it is not in conflict with that of any other jurisdiction
 connected to this suit”).

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    a. Whether the Class Laptops suffer from a defect that causes the hinges to fail;

    b. The origins and implementation of, and the justifications for, if any, HP’s

       policies and technology relating to the Hinge Defect and its manifestation in

       the Class Laptops;

    c. When HP became aware of the Hinge Defect in the Class Laptops and how it

       responded to that knowledge;

    d. Whether HP actively concealed and/or failed to notify consumers of the Hinge

       Defect in the Class Laptops;

    e. Whether Defendant knew of the Hinge Defect but failed to disclose the

       problem and its consequences to their customers;

    f. Whether a reasonable consumer would consider the Hinge Defect and its

       consequences to be material;

    g. Whether Defendant’s conduct violates state consumer protection laws as

       asserted herein;

    h. Whether Defendant’s sale of Class Laptops containing the Hinge Defect is an

       unfair, false, misleading, or deceptive act in the conduct of any trade or

       commerce;

    i. Whether Defendant breached the implied warranty of merchantability or

       fitness by selling the Class Laptops containing the Hinge Defect;

    j. Whether the Defendant’s purported warranty limitations are unconscionable;


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    k. Whether Plaintiffs and the other Class members overpaid for their Class

       Laptops as a result of the Hinge Defect herein;

    l. Whether Plaintiffs and Class members would have purchased their Class

       Laptops, and whether they would have paid a lower price for them, had they

       known that they contained the Hinge Defect at the time of purchase;

    m. Whether Plaintiffs and the Class are entitled to compensatory damages,

       including, among other things: (i) compensation for all out-of-pocket monies

       expended by members of the Class for replacement or repair of the Class

       Laptops; (ii) the failure of consideration in connection with and/or difference

       in value arising out of the variance between the Class Laptops as merchantable

       in the absence of the Hinge Defect, and as actually manufactured and sold

       possessing the Hinge Defect; and (iii) whether Plaintiffs and the Class are

       entitled to all costs associated with repair and replacement of their Class

       Laptops; and

    n. Whether Plaintiffs and the other Class members are entitled to equitable relief,

       including, but not limited to, restitution or injunctive relief.

       473. Typicality: Plaintiffs’ claims are typical of the claims of the members

 of the Class, as all such claims arise out of Defendant’s conduct in manufacturing,

 marketing, advertising, warranting, selling, and/or designing the Class Laptops. All

 of Plaintiffs’ claims are typical of the claims of the Class because Plaintiffs and all


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 Class members were injured in the same manner by Defendant’s uniform course of

 conduct described herein. Plaintiffs and all Class members have the same claims

 against Defendant relating to the conduct alleged herein, and the same events

 giving rise to Plaintiffs’ claims for relief are identical to those giving rise to the

 claims of all Class members. Plaintiffs and all Class members sustained monetary

 and economic injuries including, but not limited to, ascertainable losses arising out

 of Defendant’s wrongful conduct as described herein. Plaintiffs are advancing the

 same claims and legal theories on behalf of himself and all absent Class members.

       474. Adequate Representation: Plaintiffs will fairly and adequately protect

 the interests of the members of the Class and have no interests antagonistic to those

 of the Class. Plaintiffs have retained counsel experienced in the prosecution of

 complex class actions including, but not limited to, consumer class actions

 involving, inter alia, breach of warranties, product liability, product defects, and

 state consumer fraud statutes.

       475. Predominance: This class action is appropriate for certification

 because questions of law and fact common to the members of the Class predominate

 over questions affecting only individual members.

       476. Superiority: A class action is superior to other available methods for

 the fair and efficient adjudication of this controversy, since individual joinder of all

 members of the Class is impracticable. Given the amount at issue for each Class


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 member, individual suits would not be economically viable; however, should

 individual Class members bring separate actions, this Court would be confronted

 with a multiplicity of lawsuits burdening the judicial system while also creating the

 risk of inconsistent rulings and contradictory judgments. In contrast to proceeding

 on a case-by-case basis, in which inconsistent results will magnify the delay and

 expense to all parties and the court system, this class action presents far fewer

 management difficulties while providing unitary adjudication, economies of scale

 and comprehensive supervision by a single court.

       477. Manageability: Plaintiffs are unaware of any difficulties that are likely

 to be encountered in the management of this action that would preclude its

 maintenance as a class action.

                               CAUSES OF ACTION

                                    Count I
             Violation of the New York General Business Law § 349,
                            N.Y. GEN. BUS. LAW § 349
                 (Asserted on behalf of the New York Subclass)

       478. Plaintiffs Thelen, Williams, and Perry incorporate by this reference the

 allegations contained in the preceding paragraphs as if fully set forth herein.

       479. Plaintiffs Thelen, Williams, and Perry bring this claim individually and

 on behalf of the proposed New York Subclass against HP.




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       480. Plaintiffs Thelen, Williams, and Perry and New York Subclass

 members are “persons” within the meaning of the New York General Business Law

 (“GBL”). N.Y. GEN. BUS. LAW § 349(h).

       481. HP is a “person, firm, corporation or association or agent or employee

 thereof” within the meaning of the GBL. NY. GEN. BUS. LAW § 349(b).

       482. Under GBL § 349, “[d]eceptive acts or practices in the conduct of any

 business, trade or commerce” are unlawful.

       483. In the course of HP’s business, it failed to disclose and actively

 concealed the Defect in the Class Laptops with the intent that consumers rely on that

 concealment in deciding whether to purchase the Class Laptops.

       484. By intentionally concealing the Defect while advertising the Class

 Laptops as superior and high quality in their material and/or workmanship, HP

 engaged in deceptive acts or practices in violation of GBL § 349.

       485. HP’s deceptive acts or practices were materially misleading. HP’s

 conduct was likely to and did deceive reasonable consumers, including Plaintiffs

 Thelen, Williams, and Perry, about the true performance and value of the Class

 Laptop.

       486. Plaintiffs Thelen, Williams, and Perry and New York Subclass

 members were unaware of, and lacked a reasonable means of discovering, the

 material facts that HP suppressed.


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       487. HP’s actions set forth above occurred in the conduct of trade or

 commerce.

       488. HP’s misleading conduct concerns widely purchased consumer

 products and affects the public interest. HP’s conduct includes unfair and misleading

 acts or practices that have the capacity to deceive consumers and are harmful to the

 public at large.

       489. Plaintiffs Thelen, Williams, and Perry and New York Subclass

 members suffered ascertainable loss as a direct and proximate result of HP’s GBL

 violations. Plaintiffs Thelen, Williams, and Perry and New York Subclass Members

 are entitled to recover their actual damages or $50, whichever is greater.

 Additionally, because HP acted willfully or knowingly, Plaintiffs Thelen, Williams,

 and Perry and New York Subclass members are entitled to recover three times their

 actual damages. Plaintiffs Thelen, Williams, and Perry are also entitled to reasonable

 attorney’s fees.

                                      Count II
               Violation of the New York General Business Law § 350,
                              N.Y. GEN. BUS. LAW § 350
                  (Asserted on behalf of the New York Subclass)

       490. Plaintiffs Thelen, Williams, and Perry incorporate by this reference the

 allegations contained in the preceding paragraphs as if fully set forth herein.

       491. Plaintiffs Thelen, Williams, and Perry bring this claim individually and

 on behalf of the proposed New York Subclass against HP.
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       492. N.Y. GEN. BUS. LAW § 350 provides, in part, as follows: False

 advertising in the conduct of any business, trade or commerce or in the furnishing of

 any service in this state is hereby declared unlawful.

       493. N.Y. GEN. BUS. LAW § 350A(1) provides, in part, as follows:

       The term ‘false advertising, including labeling, of a commodity, or of
       the kind, character, terms or conditions of any employment opportunity
       if such advertising is misleading in a material respect. In determining
       whether any advertising is misleading, there shall be taken into account
       (among other things) not only representations made by statement, word,
       design, device, sound or any combination thereof, but also the extent to
       which the advertising fails to reveal facts material in the light of such
       representations with respect to the commodity or employment to which
       the advertising relates under the conditions proscribed in said
       advertisement, or under such conditions as are customary or usual …

       494. HP’s labeling and advertisements of the Class Laptops were false and

 misleading in a material way, via affirmative statements and omissions as HP failed

 to reveal material facts in light of such representations or conduct.

       495. Specifically, HP advertised the superior abilities of the Class Laptops

 and durability of the hinges, while omitting material information concerning the

 Hinge Defect.

       496. This misrepresentation has resulted in consumer injury or harm to the

 public interest.

       497. As a result of this misrepresentation, Plaintiffs Thelen, Williams, and

 Perry and members of the New York Subclass have suffered economic injury

 because (a) they would not have purchased the Class Laptops had they known the
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 truth, and (b) they overpaid for the Class Laptops on account of the

 misrepresentations and omissions that the Class Laptops’ hinges were of superior

 quality, including in their material and/or workmanship.

       498.   By reason of the foregoing and as a result of HP’s conduct, Plaintiffs

 Thelen, Williams, and Perry and Class seek to enjoin the unlawful acts and practices

 described herein, to recover their actual damages or five hundred dollars, whichever

 is greater, three times actual damages, and reasonable attorney’s fees.

                                    Count III
                     Indiana Deceptive Consumer Sales Act
                         INDIANA CODE § 24-5-0.5-1 to 12
                   (Asserted on behalf of the Indiana Subclass)

       499. Plaintiffs Draper, Miller and Carina incorporate by this reference the

 allegations contained in the preceding paragraphs as if fully set forth herein.

       500. Plaintiffs Draper, Miller and Carina bring this claim individually and

 on behalf of the proposed Indiana Subclass against HP.

       501. The purposes and policies of the Indiana Deceptive Consumer Sales

 Act (the "DCSA", INDIANA CODE § 24-5-0.5-1 to -12, are to:

       1.     simplify, clarify, and modernize the law governing deceptive and
              unconscionable consumer sales practices;
       2.     protect consumers from suppliers who commit deceptive and
              unconscionable consumer sales practices; and
       3.     encourage the development of fair consumer sales practice.

       IND. CODE § 24-5-0.5-1(b).



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       502. The Indiana General Assembly has instructed courts to construe the

 DCSA liberally to promote these purposes and policies. IND. CODE § 24-5-0.5-1(a).

       503. Defendant is a "supplier" as defined in the DCSA because it is a seller

 or other person who regularly engages in or solicits consumer transactions, which

 are defined to include sales of personal property, services, and intangibles that are

 primarily for a personal, familial, or household purpose, such as those at issue in this

 action. IND. CODE § 24-5-0.5-2(1), (3). The term “Supplier” “includes a

 manufacturer, wholesaler, or retailer, whether or not the person deals directly with

 the consumer.” Id.

       504. The DCSA provides that "[a] supplier may not commit an unfair,

 abusive, or deceptive act, omission, or practice in connection with a consumer

 transaction. Such an act, omission, or practice by a supplier is a violation of [the

 DCSA] whether it occurs before, during, or after the transaction. An act, omission,

 or practice prohibited by this section includes both implicit and explicit

 misrepresentations." IND. CODE § 24-5-0.5-3(a).

       505. For the reasons discussed herein, Defendant violated and continues to

 violate the DCSA by engaging in the herein described unconscionable, deceptive,

 unfair acts or practices proscribed by DSCA § 24-5-0.5-3. Defendant’s acts and

 practices, including its material omissions, described herein, were likely to, and did




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 in fact, deceive and mislead members of the public, including consumers acting

 reasonably under the circumstances, to their detriment.

       506. In advertising and selling the Class Laptops, Defendant failed to

 disclose the material information that the Class Laptops feature the Defect.

       507. Defendant’s omissions were material because they were likely to

 deceive reasonable consumers to induce them to purchase the Class Laptops without

 being aware that the Class Laptops contained a material defect. As a direct and

 proximate result of Defendants' unfair and deceptive acts or practices, Plaintiffs

 Draper, Miller and Carina and the Indiana Subclass Members purchased the Class

 Laptops—which they would not have purchased had they known the truth. In so

 doing, they received a product that was substantially worthless because it was

 predisposed to break at the hinges, become unmovable, and even fall apart.

       508. Defendant’s deceptive trade practices caused injury in fact and actual

 damages Plaintiffs Draper, Miller and Carina, and the Indiana Subclass Members in

 the form of the loss or diminishment of value of the Class Laptops they purchased.

 This allowed Defendants to profit at the expense of Plaintiffs Draper, Miller and

 Carina and the Indiana Subclass Members. The injuries to Plaintiffs Draper, Miller

 and Carina and the Indiana Subclass Members were to legally protected interests.

 The gravity of the harm of Defendants' actions is significant and there is no

 corresponding benefit to consumers of such conduct.


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         509. The DCSA provides that "[a] person relying upon an uncured or

 incurable deceptive act may bring an action for the damages actually suffered as a

 consumer as a result of the deceptive act or five hundred dollars ($500), whichever

 is greater. The court may increase damages for a willful deceptive act in an amount

 that does not exceed the greater of: (1) three (3) times the actual damages of the

 consumer suffering the loss; or (2) one thousand ($1,000). IND. CODE § 24-5-0.5-

 4(a).

         510. The DCSA provides that "[a]ny person who is entitled to bring an action

 under subsection (a) on the person's own behalf against a supplier for damages for a

 deceptive act may bring a class action against such supplier on behalf of any class

 of persons of which that person is a member . . . ." IND. CODE § 24-5-0.5-4(b).

         511. Plaintiffs Draper, Miller and Carina and the Indiana Subclass Members

 seek relief for the injuries they have suffered as a result of Defendant’s unfair and

 deceptive acts and practices, as provided by TDTPA and applicable law.

                                     Count IV
         Violation of the Florida Deceptive and Unfair Trade Practices Act
                             FLA. STAT. § 501.201, et seq.
                    (Asserted on behalf of the Florida Subclass)

         512. Plaintiffs Erickson, Harman, Roberts, and Nind and the Florida

 Subclass incorporate by reference each preceding and succeeding paragraph as

 though fully set forth at length herein.



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       513. Plaintiffs Erickson, Harman, Roberts, and Nind bring this claim

 individually and on behalf of the proposed Florida Subclass against HP.

       514. The purpose of the Florida Deceptive and Unfair Trade Practices Act

 (“FDUPTA”) is “to protect the consuming public and legitimate business enterprises

 from those who engage in unfair methods of competition, or unconscionable,

 deceptive, or unfair acts or practices in the conduct of any trade or commerce.” FLA.

 STAT. § 501.202(2).

       515. The      FDUPTA       prohibits   “[u]nfair   methods    of   competition,

 unconscionable acts or practices, and unfair or deceptive acts or practices in the

 conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

       516. The actions of HP, as set forth above, occurred in the conduct of trade

 or commerce.

       517. Defendant misrepresented and/or knowingly and intentionally

 concealed material facts concerning the characteristics, uses, and quality of the Class

 Laptops, and thereby created confusion among purchasers of the Class Laptops.

 Accordingly, HP engaged in unfair and deceptive acts or practices.

       518. Contrary to Defendant’s representations, the Class Laptops were not

 precisely designed, premium computers, and they could not be used in the manner

 shown in Defendant’s marketing materials--i.e., a functional, portable, compact

 design and/or a 2-in-1 laptop employing hinges enabling the machine to fold into


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 various positions—without triggering the Defect and becoming largely or wholly

 unusable.

       519. Meanwhile, Defendant failed to disclose the major Defect in the Class

 Laptops, as well as the serious impacts the Defect has on functionality. Defendants

 failed to disclose that the Class Laptops are not in fact portable and quite literally

 fall apart when the user opens and closes them.

       520. These misrepresentations and/or omissions led Plaintiffs Erickson,

 Harman, Roberts, and Nind and the Florida Subclass members to believe that they

 were purchasing fully functional, portable and compact and/or premium computers,

 when in fact they purchased laptops that would cease to function properly if used as

 advertised.

       521. Plaintiffs Erickson, Harman, Roberts, and Nind and members of the

 Florida Subclass were deceived by and relied upon Defendants affirmative

 misrepresentations and failures to disclose, including but not limited to, the

 representations about the Class Laptops’ quality, material and/or workmanship,

 design, and hinge movement capabilities.

       522. HP’s acts and practices deceived Plaintiffs Erickson, Harman, Roberts,

 and Nind and the Florida Subclass. In failing to disclose the Defect and suppressing

 material facts to purchasers of the Class Laptops, HP violated the FDUPTA and

 caused injuries to Plaintiff and the Florida Subclass.


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           523. Therefore, Plaintiffs Erickson, Harman, Roberts, and Nind and the

 members of the Florida Subclass are entitled to recover actual, statutory, and all

 other damages to the extent permitted by law, as well as costs and reasonable

 attorneys’ fees pursuant to FLA. STAT. § 501.2105, and any other just and appropriate

 relief.

           524. Plaintiffs Erickson, Harman, Roberts, and Nind and the members of the

 Florida Subclass are entitled to injunctive relief because it is likely that many of the

 Class Laptops will be used or purchased by unsuspecting members of the putative

 class, and injunctive relief could prevent harm to those who remain unaware of the

 Defect which can render the Class Laptops useless.

           525. Plaintiffs Erickson, Harman, Roberts, and Nind and the members of the

 Florida Subclass seek restitution of all monies that HP received as a result of selling

 the defective Class Laptops to Plaintiffs Erickson, Harman, Roberts, and Nind and

 the members of the Florida Subclass. As a result of this deception, Plaintiffs

 Erickson, Harman, Roberts, and Nind and the members of the Florida Subclass

 expended substantial sums of money and/or time for the repair and/or replacement

 of their Class Laptops. Plaintiffs Erickson, Harman, Roberts, and Nind are informed

 and believe that the amount of said restitution is unknown at this time but will seek

 relief to amend this complaint at the time of trial, when the same has been

 ascertained.


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       526. Plaintiffs Erickson, Harman, Roberts, and Nind sent Defendant a notice

 letter prior to the filing of this action. Plaintiffs Erickson, Harman, Roberts, and Nind

 have yet to receive a response from HP. Defendant was also provided notice of these

 issues by numerous informal and formal complaints filed against it, including the

 instant Complaint and the various complaints detailed herein, and by numerous

 communications sent by Plaintiffs and other Class members.

                                      Count V
       Violation of Fla. Stat. § 817.41 Prohibiting Misleading Advertising
                  (Asserted on behalf of the Florida Subclass)

       527. Plaintiffs Erickson, Harman, Roberts, and Nind and the Florida

 Subclass incorporate by reference each preceding and succeeding paragraph as

 though fully set forth at length herein.

       528. Plaintiffs Erickson, Harman, Roberts, and Nind bring this claim

 individually and on behalf of the proposed Florida Subclass against HP.

       529. Florida’s prohibition on misleading advertising declares unlawful for

 any person to do the following:

       “[M]ake or disseminate or cause to be made or disseminated before the
       general public of the state, or any portion thereof, any misleading
       advertisement. Such making or dissemination of misleading advertising
       shall constitute and is hereby declared to be fraudulent and unlawful,
       designed and intended for obtaining money or property under false
       pretenses.”

       FLA. STAT. § 817.41(1).



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       530. The statutory term “misleading advertising” includes statements made

 or disseminated to the public in “oral, written, electronic, or printed form or

 otherwise...which are known, or through the exercise of reasonable care or

 investigation could or might have been ascertained, to be untrue or misleading.” FLA.

 STAT. § 817.40(5). Consumers have standing to state a claim under this statute by

 alleging that they relied on an identifiable misleading advertisement.

       531. As described herein, HP regularly and pervasively advertised the Class

 Laptops as portable with a compact design and/or as 2-in-1 laptops employing hinges

 enabling the machine to fold into various positions, while in fact those computers

 would cease to function if used as advertised.

       532. Plaintiffs Erickson, Harman, Roberts, and Nind, and members of the

 Florida Subclass were deceived by and relied upon Defendant’s affirmative

 representations and failures to disclose, including but not limited to, the

 representations about the Class Laptops’ quality, material and/or workmanship,

 design, and hinge movement capabilities.

       533. Defendant’s      statements   regarding the purported         quality and

 functionality of the Class Laptops were material to prospective purchasers, and were

 untrue, deceptive, and misleading.

       534. HP has violated FLA. STAT. § 817.41 by engaging in this false

 advertising scheme described herein.


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       535. Plaintiffs Erickson, Harman, Roberts, and Nind, and the Florida

 Subclass members have been injured and have suffered economic damages from

 HP’s false advertising scheme.

       536. Pursuant to FLA. STAT. § 817.41(6), Plaintiffs Erickson, Harman,

 Roberts, and Nind, and the Florida Subclass members are entitled to relief for HP’s

 violations of the statute, including: 1) damages; 2) punitive damages; 3) costs and

 reasonable attorneys’ fees; and 4) any other remedies prescribed by law.

                                   Count VI
      Violation of the Alabama Deceptive Trade Practices Act (“ADTPA”),
                           ALA. CODE §§ 8-19-1, et seq.
           (On Behalf of the Alabama Subclass and in the alternative)

       537. Plaintiff Carson and the Alabama Subclass incorporate by reference

 each preceding and succeeding paragraph as though fully set forth at length herein.

       538. Plaintiff Carson brings this claim individually and on behalf of the

 proposed Alabama Subclass against HP.

       539. HP is a “person” as identified by ALA. CODE § 8-19-3(5).

       540. Plaintiff Carson and all other Alabama Subclass members are

 “consumers” as defined by ALA. CODE § 8-19-3(2).

       541. HP received notice pursuant to ALA. CODE § 8-19-10(2) concerning its

 wrongful conduct as alleged herein by Plaintiff Carson and Alabama Subclass

 members. However, sending pre-suit notice pursuant to ALA. CODE § 8-19-10(e)

 would have been an exercise in futility for Plaintiff, as HP has already been informed
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 of the allegedly unfair and unlawful conduct as described herein as of the date of the

 first-filed lawsuit, and has yet to offer Class members a remedy in accordance with

 similar consumer protection statutes.

       542. HP advertised, offered, or sold goods or services in Alabama, and

 engaged in trade or commerce directly or indirectly affecting the people of Alabama.

       543. HP engaged in deceptive acts and practices in the conduct of trade or

 commerce, in violation of the ADTPA, including:

          a. Knowingly designing, developing, manufacturing, advertising, and

              selling Class Laptops with significant defects that result in broken

              hinges that compromise portability, reliability, and usability so that

              consumers did not receive the benefit of their bargain;

          b. Marketing and selling laptops that relied upon their hinge design as a

              means to achieve 2-in-1 functionality to differentiate Class Laptops

              from competing laptops, while at the same time using subpar parts or

              construction to increase profits;

          c. Failing to take steps to secure the hinges from normal wear and tear;

          d. Making affirmative public representations about the versatility of Class

              Laptops, while, at the same time, not ensuring that versatility in

              practice; and




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          e. Concealing and/or failing to disclose material facts, including but not

              limited to, that in designing its Class Laptops, it failed to take measures

              to perform adequate quality control checks.

       544. HP’s representations and omissions were material because they were

 likely to deceive ordinary, reasonable consumers.

       545. HP intended to mislead Plaintiff Carson and Alabama Subclass

 members and induce them to rely on its misrepresentations and omissions.

       546. Had HP disclosed to Plaintiff Carson and Alabama Subclass members

 material facts, including but not limited to, that in designing and manufacturing the

 Class Laptops, HP failed to take adequate quality control measures to ensure the

 durability and reliability of the laptop hinges, and was otherwise engaged in

 deceptive, common business practices, they would not have purchased the Class

 Laptops, or would have paid substantially less for them. Instead, HP represented that

 its Class Laptops were well-constructed and suited to their advertised purpose,

 namely to be used as a portable laptop and tablet computer. Plaintiff Carson and

 Alabama Subclass members acted reasonably in relying on HP’s misrepresentations

 and omissions, because the Defect was hidden and could not be discovered prior to

 purchase and disassembly of the device.

       547. HP acted intentionally, knowingly, and maliciously to violate the

 ADTPA, and recklessly disregarded Plaintiff Carson’s and Alabama Subclass


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 members’ rights. HP’s knowledge of the Class Laptops’ defect put it on notice that

 the Class Laptops were not as it advertised.

       548. As a direct and proximate result of HP’s deceptive acts and practices,

 Plaintiff Carson and Alabama Subclass members have suffered and will continue to

 suffer injury, ascertainable losses of money or property, and monetary and non-

 monetary damages, including from not receiving the benefit of their bargain in

 purchasing the Class Laptops, and increased time and expense in dealing with

 reliability and usability issues.

       549. HP’s deceptive acts and practices caused substantial injury to Plaintiff

 Carson and Alabama Subclass members, which they could not reasonably avoid, and

 which outweighed any benefits to consumers or to competitors.

       550. Plaintiff Carson and the Alabama Subclass seek all monetary and non-

 monetary relief allowed by law, including the greater of (1) actual damages or (b)

 statutory damages of $100; treble damages; injunctive relief; attorneys’ fees, costs,

 and any other relief that is just and proper.

                                    Count VII
                       Missouri Merchandise Practices Act,
                  MO. REV. STAT. §§ 407.010, et seq. (the “MMPA”)
                       (On Behalf of the Missouri Subclass)
       551. Plaintiffs Purvis and Harris and the Missouri Subclass incorporate by

 reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

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       552. Plaintiffs Purvis and Harris bring this claim individually and on behalf

 of the Missouri Subclass.

       553. HP is a “person” as defined by MO. REV. STAT. § 407.010(5).

       554. HP advertised, offered, or sold goods or services in Missouri and

 engaged in trade or commerce directly or indirectly affecting the people of Missouri,

 as defined by MO. REV. STAT. § 407.101(4), (6) and (7).

       555. Plaintiffs Purvis and Harris and Missouri Subclass members purchased

 goods or services primarily for personal, family, or household purposes.

       556. HP engaged in unlawful, unfair, and deceptive acts and practices, in

 connection with the sale or advertisement of merchandise in trade or commerce, in

 violation of Mo. Rev. Stat. § 407.020(1), as described herein.

       557. HP’s misrepresentations and omissions were material because they

 were likely to deceive reasonable consumers.

       558. HP intended to mislead Plaintiffs Purvis and Harris and the Missouri

 Subclass members and induce them to rely on its misrepresentations and omissions.

       559. HP acted intentionally, knowingly, and maliciously to violate MMPA,

 and recklessly disregarded Plaintiff Purvis Plaintiffs Purvis and Harris’ and Missouri

 Subclass members’ rights. HP’s knowledge of the Class Laptops reliability issues,

 including through customer complaints and forum posts, put it on notice that the

 Class Laptops were not as it advertised.


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        560. As a direct and proximate result of HP’s deceptive acts and practices,

 Plaintiffs Purvis and Harris and Missouri Subclass members have suffered and will

 continue to suffer injury, ascertainable losses of money or property, and monetary

 and non-monetary damages, including from not receiving the benefit of their bargain

 in purchasing the Class Laptops, and increased time and expenses in dealing with

 reliability issues.

        561. Plaintiffs Purvis and Harris and Missouri Subclass members seek all

 monetary and non-monetary relief allowed by law, including actual damages,

 punitive damages, attorneys’ fees and costs, injunctive relief, and any other

 appropriate relief.

                                   Count VIII
                Violation of Ohio’s Consumer Sales Practices Act
               OHIO REV. CODE ANN. § 1345.01, et seq. (the “CSPA”)
                        (On Behalf of the Ohio Subclass)

        562. Plaintiffs Washington and Orenski and the Ohio Subclass incorporate

 by reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

        563. Plaintiffs Washington and Orenski bring this claim individually and on

 behalf of the Ohio Subclass.

        564. HP is a “person” within the meaning of CSPA § 1345.01(B) and is a

 “[s]upplier... engaged in the business of effecting or soliciting consumer

 transactions...” within the meaning of CSPA § 1345.01(C).
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       565. HP’s acts and practices, as alleged in this Complaint, violate CSPA §

 1345.02(A), (B)(1) and (B)(2) because they include unfair and deceptive acts and

 practices in connection with consumer transactions – the sale of defective laptops.

 Specifically, in violation of the CSPA, HP:

       566. Knowingly designed, developed, manufactured, advertised, and sold

 the Class Laptop with the Hinge Defect, resulting in broken hinges that compromise

 portability, reliability, and usability so that consumers did not receive the benefit of

 their bargain;

       567. Advertised and sold the 360-degree Class Laptops that relied upon its

 hinge design as a means to achieve 2-in-1 functionality to differentiate the Class

 Laptops from competing laptops while, at the same time, using subpar parts or

 construction to increase profits;

       568. Failed to take steps to secure the hinges from normal wear and tear;

       569. Made affirmative public representations and advertisements about the

 versatility of Class Laptops while, at the same time, failing to ensure such versatility

 in practice; and

       570. Concealed and/or failed to disclose material facts that included, but are

 not limited to, the fact that in designing the Class Laptops, HP failed to take measures

 to perform adequate quality control checks.




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       571. HP also committed unconscionable acts and practices in violation of

 CSPA § 1345.03(B)(3) because it knew, at the time the consumer transactions were

 entered into, that the consumers were unable to receive a substantial benefit of the

 subject of the consumer transactions.

       572. Through its design, development, and pre-release testing of the hinges

 and display, as well as through other consumer complaints, HP knew that the Class

 Laptops’ hinges and display were defective and prone to the failure described

 throughout this Complaint.

       573. HP was under a duty to disclose that the Class Laptop was defective

 because it had superior knowledge of the defect – stemming from its own production

 thereof, repair requests, complaints made directly to HP, online complaints, quality

 control and pre-release testing, and online reputation management.

       574. HP had ample means and opportunities to disclose to Plaintiffs

 Washington and Orenski and Ohio Subclass members that the Class Laptops were

 defective, including through advertisements, external packaging, and during the

 laptop’s setup process. Despite its exclusive knowledge and these opportunities to

 disclose the defect, HP failed to disclose to Plaintiffs Washington and Orenski and

 Ohio Subclass members the defective nature of the Class Laptops either prior to

 purchase or before Plaintiffs Washington’s and Orenski’s and Ohio Subclass

 members’ respective buyer’s remorse periods expired.


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       575. HP’s misrepresentations and omissions were material. Had Plaintiffs

 Washington and Orenski and members of the Ohio Subclass known that the Class

 Laptops were defective, they either (a) would not have purchased them, (b) would

 not have purchased them at the prices they did, or (c) would have returned them

 during their respective buyer’s remorse periods.

       576. Requisite notice to HP of its violations required under CSPA §

 1345.09(B) has been satisfied here as HP’s violations constitute acts and practices

 that have been declared to be deceptive or unconscionable by rules adopted under

 CSPA § 1345.05(b)(2). Additionally, notice to HP has likewise been satisfied under

 CSPA § 1345.09(B) due to deceptive and unconscionable acts and practices similar

 to those alleged herein having already been determined by courts of the State of Ohio

 to be in violation of both CSPA §§ 1345.02 and 1345.03.

       577. Plaintiffs Washington and Orenski and the Ohio Subclass were injured

 by HP’s CSPA violations. As a result, Plaintiffs Washington and Orenski seek and

 are entitled to economic damages resulting from Defendant’s violation of the CSPA,

 as well as to declaratory and injunctive relief under CSPA § 1345.09, such damages

 and relief to be further determined at trial.

       578. Because HP knowingly committed the violations alleged herein,

 Plaintiffs Washington and Orenski also seek attorneys’ fees under CSPA §

 1345.09(F)(2).


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                                    Count IX
         Violation of California’s Unfair Competition Law (the “UCL”),
                     CAL. BUS. & PROF. CODE § 17200, et seq.
                      (On Behalf of the California Subclass)

       579. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

       580. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther assert this

 claim on behalf of the California Subclass against HP.

       581. The UCL proscribes “any unlawful, unfair or fraudulent business act or

 practice and unfair, deceptive, untrue or misleading advertising.” CAL. BUS. & PROF.

 CODE § 17200.

                                       Unlawful

       582. HP’s conduct is unlawful, in violation of the UCL, because it violates

 the Consumers Legal Remedies Act, the Song-Beverly Act, and California’s False

 Advertising Law.

                                        Unfair

       583. HP’s conduct is unfair in violation of the UCL because it violates

 California public policy, legislatively declared in the Song-Beverly Consumer

 Warranty Act, requiring a manufacturer to ensure that goods it places on the market

 are fit for their ordinary and intended purpose. HP violated the Song-Beverly Act



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 because the Class Laptops are unfit for their most central purpose: to be used as

 laptops and tablets.

       584. HP acted in an unethical, unscrupulous, outrageous, oppressive, and

 substantially injurious manner. HP engaged in unfair business practices and acts in

 at least the following respects:

       585. HP promoted and sold laptops it knew were defective because they

 contain hinges prone to failure;

       586. HP promoted and sold laptops with defective hinges despite knowing

 that users do not expect the hinges to materially degrade over time;

       587. HP failed to disclose that the Class Laptops are defective, and

 represented through advertising, its website, product packaging, press releases, and

 other sources that the Class Laptops possess particular qualities that were

 inconsistent with HP’s actual knowledge of the product;

       588. HP made repairs and provided replacements that caused Plaintiffs

 Schauer, Cosman, Graner, Letson, and Luther to experience repeated instances of

 hinge failure, rendering the Limited Warranty useless;

       589. HP failed to exercise adequate quality control and due diligence over

 the Class Laptops before placing them on the market; and

       590. HP minimized the scope and severity of the problems with the Class

 Laptops, refusing to acknowledge that its hinges are defective, failing to provide


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 adequate relief to consumers, and suggesting to consumers that their aftermarket

 conduct resulted in the failure of the hinges when HP had actual knowledge of the

 true cause of the failure.

       591. The gravity of harm resulting from HP’s unfair conduct outweighs any

 potential utility. The practice of selling defective laptops without providing an

 adequate remedy to cure the defect—and continuing to sell those laptops without

 full and fair disclosure of the defect—harms the public at large and is part of a

 common and uniform course of wrongful conduct.

       592. The harm from HP’s conduct was not reasonably avoidable by

 consumers. The Class Laptops suffer from a latent defect, and even after receiving

 a large number of consumer complaints, HP did not disclose the defect. Plaintiffs

 Schauer, Cosman, Graner, Letson, and Luther and the California Subclass did not

 know if, and had no reasonable means of discovering, that the Class Laptops’ hinges

 were defective.

       593. There were reasonably available alternatives that would have furthered

 HP’s business interests by satisfying and retaining its customers while maintaining

 profitability, such as: (1) acknowledging the defect and providing a permanent fix

 for defective hinges; (2) adequately disclosing the defect to prospective purchasers;

 (3) extending the warranty for the HP Laptops; and (4) offering refunds or suitable

 non-defective replacement laptops to consumers with failed hinges.


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                                Fraud by Omission

       594. HP’s conduct is fraudulent in violation of the UCL because it is likely

 to deceive a reasonable consumer and:

          a. HP knowingly and intentionally concealed from Plaintiffs Schauer,

             Cosman, Graner, Letson, and Luther and the California Subclass that

             the Class Laptops contain a latent defect that render the hinges prone to

             failure;

          b. HP volunteered information to Plaintiffs Schauer, Cosman, Graner,

             Letson, and Luther and the California Subclass through advertising and

             other means that the Class Laptops—and their hinges—were functional

             products without disclosing facts that would have materially qualified

             those partial representations; and

          c. HP promoted the high quality and versatile features of the Class

             Laptops, including the hinges, despite knowing the Class Laptops are

             defective, and failed to correct its misleading partial disclosure.

       595. HP had ample means and opportunities to alert Plaintiffs Schauer,

 Cosman, Graner, Letson, and Luther and the California Subclass of the defective

 nature of the Class Laptops, including on HP’s webpages; in its advertisements of

 the Class Laptops; on the Class Laptops’ external packaging; and as part of the

 standardized Class Laptop setup process. HP uniformly failed to disclose that the


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 Class Laptops are defective. Had HP disclosed that the Class Laptops are defective,

 Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the California Subclass

 would not have purchased a Class Laptop, would not have purchased a Class Laptop

 at the prices they did, or would have returned their Class Laptop during their

 respective buyer’s remorse periods.

       596. HP was under a duty to disclose the Defect because of its exclusive

 knowledge of the defect before selling the Class Laptops stemming from its quality

 control and pre-release testing, complaints made directly to HP, online complaints,

 and online reputation management would have put it on notice that the Class Laptops

 were not as advertised and because it made partial representations about the Class

 Laptops and their hinges without disclosing the hinge defect.

       597. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass suffered injury in fact, including lost money or property, as a

 result of HP’s unlawful, unfair, and fraudulent acts and omissions. Absent HP’s

 unlawful, unfair, and fraudulent conduct, Plaintiffs Schauer, Cosman, Graner,

 Letson, and Luther and the California Subclass would not have purchased a Class

 Laptop, would not have purchased a Class Laptop at the prices they did, or would

 have returned their Class Laptop for a refund during their respective buyer’s remorse

 periods.




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         598. Through its unlawful, unfair, and fraudulent conduct, HP acquired

 money directly and as passed on by HP’s authorized resellers (i.e. Amazon, Best

 Buy, etc.).

         599. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass accordingly seek appropriate relief, including (1) restitution

 under the UCL and (2) such orders or judgments as may be necessary to enjoin HP

 from continuing its unfair, unlawful, and fraudulent practices. Plaintiffs also

 respectfully seek reasonable attorneys’ fees and costs under applicable law,

 including under California Code of Civil Procedure 1021.5.

                                     Count X
     Violation of California’s Consumer Legal Remedies Act (the “CLRA”)
                          CAL. CIV. CODE § 1750, et seq.
                      (On Behalf of the California Subclass)

         600. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

         601. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther assert this

 claim on behalf of the California Subclass against HP.

         602. HP is a “person” within the meaning of California Civil Code sections

 1761(c) and 1770, and provided “goods” within the meaning of sections 1761(a) and

 1770.



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       603. HP’s acts and practices, as alleged in this complaint, violate California

 Civil Code sections 1770(a)(5), (7) and (9) because they include unfair and deceptive

 acts and practices in connection with transactions—the sale of defective laptops. In

 violation of the CLRA, HP:

       604. Represented that the Class Laptops had characteristics, uses, and

 benefits they do not have;

       605. Represented that the Class Laptops are of a standard, quality, or grade

 when in fact they are not; and

       606. Advertised the Class Laptops with intent not to sell them as advertised.

       607. Through its design, development, and pre-release testing of the display,

 as well as through consumer complaints, HP knew that the Class Laptops’ hinges

 were defective and prone to failure.

       608. HP was under a duty to disclose that the Class Laptops are defective

 because it had superior knowledge of the defect—stemming from repairs,

 complaints made directly to HP, online complaints, its quality control and pre-

 release testing, as well as online reputation management —and because it made

 partial, materially misleading representations about the Class Laptops’ high quality

 and versatile features, including the hinges.

       609. HP had ample means and opportunities to disclose to Plaintiffs Schauer,

 Cosman, Graner, Letson, and Luther and the California Subclass that the Class


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 Laptops are defective, including through advertisements, on external packaging, and

 during the Class Laptops’ setup process. Despite its exclusive knowledge and

 opportunities to disclose the Class Laptops’ defective nature, HP failed to disclose

 the defects to Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass either prior to purchase or before Plaintiffs Schauer, Cosman,

 Graner, Letson, and Luthers’ and the California Subclass’ respective buyer’s

 remorse periods expired.

       610. HP’s misrepresentations and omissions were material. Had Plaintiffs

 Schauer, Cosman, Graner, Letson, and Luther and the California Subclass known

 that the Class Laptops were defective, they would not have purchased the Class

 Laptops, would not have purchased them at the prices they did, or would have

 returned their Class Laptops during their respective buyer’s remorse periods.

       611. Under California Civil Code section 1782(a), on their own behalf and

 on behalf of the Class, Plaintiffs Schauer, Cosman, Graner, Letson, and Luther

 separately sent notices to HP on March 21, 2022, April 19, 2022, and again on July

 18, 2022, via letter sent by certified mail, return receipt requested to HP’s principal

 place of business, advising HP of its violations and that it must correct, replace, or

 otherwise rectify the goods alleged to be in violation. HP failed to correct its business

 practices or provide the requested relief within 30 days. Accordingly, Plaintiffs




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 Schauer, Cosman, Graner, Letson, and Luther now seek monetary damages under

 the CLRA.

       612. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther were injured

 by HP’s CLRA violations. As a result, Plaintiffs Schauer, Cosman, Graner, Letson,

 and Luther are entitled to actual damages in an amount to be proven at trial,

 reasonable attorney’s fees and costs, declaratory relief and punitive damages.

       613. In accordance with California Civil Code section 1780(d), Plaintiffs’

 CLRA venue declarations are attached as Exhibit A to this complaint.

                                    Count XI
        Violation of California’s Song-Beverly Consumer Warranty Act,
                          CAL. CIV. CODE § 1792, et seq.
                      (On Behalf of the California Subclass)

       614. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass incorporate by reference each preceding and succeeding

 paragraph as though fully set forth herein.

       615. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther bring this claim

 on behalf of the California Subclass against HP.

       616. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther are “buyers”

 within the meaning of California Civil Code section 1791(b). Each purchased a Class

 Laptop in California.




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       617. HP is a manufacturer within the meaning of California Civil Code

 section 1791(j). HP was responsible for producing the Class Laptops and directed

 and was involved in all stages of the production and manufacturing processes.

       618. The Class Laptops are a “consumer good[]” within the meaning of

 California Civil Code section 1791(a).

       619. HP impliedly warranted to Plaintiffs Schauer, Cosman, Graner, Letson,

 and Luther and the California Subclass that the Class Laptops each purchased was

 “merchantable” under California Civil Code sections 1791.1(a) and 1792.

       620. HP breached the implied warranty of merchantability by producing,

 manufacturing, and selling laptops that were not of merchantable quality. The Class

 Laptops are defective, resulting in hinges that break and cannot support the screen.

 As a result, the laptops are difficult or impossible to transport and the 360-degree

 Class Laptops cannot perform the central 2-in-1 function. The Class Laptops are

 therefore unfit for the ordinary purpose for which a laptop computer is used and

 would not pass without objection in the laptop computer trade.

       621. The defect in the Class Laptops is latent. Though the Class Laptops

 appear operable when new, the Hinge Defect existed in the product at the time of

 sale and throughout the one-year Limited Warranty period. Accordingly, any

 subsequent discovery of the defect beyond that time does not bar an implied warranty

 claim under the Song-Beverly Act.


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         622. Any attempt by HP to disclaim its implied warranty obligations under

 the Song Beverly Act is ineffective due to its failure to adhere to California Civil

 Code sections 1792.3 and 1792.4. Those sections provide that, in order to validly

 disclaim the implied warranty of merchantability, a manufacturer must ‘in simple

 and concise language’ state: “(1) The goods are being sold on an ‘as is’ or ‘with all

 faults’ basis. (2) The entire risk as to the quality and performance of the goods is

 with the buyer. (3) Should the goods prove defective following their purchase, the

 buyer and not the manufacturer, distributor, or retailer assumes the entire cost of all

 necessary servicing or repair.” HP’s attempted warranty disclaimer does not

 conform to sections 1792.3 and 1972.4.

         623. As a direct and proximate cause of HP’s breaches of the Song-Beverly

 Consumer Warranty Act, Plaintiffs Schauer, Cosman, Graner, Letson, and Luther

 and the California Subclass members have been damaged in an amount to be proven

 at trial.

         624. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther seek costs and

 expenses, including reasonable attorney’s fees, under California Civil Code section

 1794.

                                    Count XII_
      Violations of the Song-Beverly Consumer Warranty Act For Breach of
                                Express Warranty
                          CAL. CIV. CODE §§ 1790-1795.8
                       (On Behalf of the California Subclass)


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       625. Plaintiff Leston incorporates by reference each preceding paragraph as

 though sully set forth herein.

       626. Plaintiff Letson bring this claim on behalf of the California Subclass.

       627. Plaintiff Letson and the California Subclass members who purchased

 the Class Laptops are “buyers” within the meaning of CAL. CIV. CODE § 1791(b).

       628. The Class Laptops are “consumer goods” within the meaning of CAL.

 CIV. CODE § 1791(a).

       629. HP is a “manufacturer” of the Class Laptops within the meaning of

 CAL. CIV. CODE § 1791(j).

       630. HP made express warranties to Plaintiff Letson and the California

 Subclass within the meaning of CAL. CIV. CODE §§ 1791.2 & 1793.2(d).

       631. HP breached these express warranties by selling defective Class

 Laptops that required repair or replacement. Plaintiff Letson contacted HP but was

 told she needed to pay $100 for technical support or had to have purchased an

 extended warranty to receive assistance. She was told her warranty was expired,

 despite the fact that one year had not yet passed from her purchase. Accordingly,

 despite a reasonable number of attempted repairs, HP has failed to adequately repair

 the Defect.




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       632. HP has failed to promptly replace or buy back the laptop of Plaintiff

 Letson and the proposed California Subclass as required under CAL. CIV. CODE §

 1793.2(d)(2).

       633. Defendant's attempts to disclaim or limit the express warranty is

 unconscionable and unenforceable. Specifically, Defendant's warranty limitations

 are unenforceable because Defendant knowingly sold a defective product without

 informing consumers about the Defect.

       634. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiff Leston and members of the Class.

 Among other things, Plaintiff Leston and members of the Class had no meaningful

 choice in determining these time limitations, terms which unreasonably favor

 Defendant. A gross disparity in bargaining power existed between Defendant and

 Class members, as only Defendant knew or should have known that the Class

 Laptops were defective at the time of sale and that the Class Laptops would fail well

 before the expiration of its useful life.

       635. Plaintiff Leston and Class members have complied with all obligations

 under the warranty or otherwise have been excused from performance of said

 obligations as a result of Defendant's conduct described herein.




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       636. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Defect became public.

       637. Prior to the filing of this Complaint, Plaintiff Leston sent Defendant a

 pre-suit notice letter concerning the Defect setting forth Plaintiff's experiences with

 the Defect and their intentions to file the instant Complaint alleging a breach of the

 implied warranty of merchantability on behalf of the Class or Subclass.

       638. As a direct and proximate result of HP’s breach of its express

 warranties, Plaintiff Letson and the California Subclass received goods in a

 condition that substantially impair their value to Plaintiff and the other Subclass

 members. Plaintiff Letson and the California Subclass have been damaged as a result

 of, among other things, overpaying for the Class Laptops, the diminished value of

 the Class Laptops, the Class Laptops’ malfunctioning, out-of-pocket costs incurred,

 and actual and potential increased maintenance and repair costs.

       639. Pursuant to CAL. CIV. CODE §§ 1793.2 & 1794, Plaintiff Letson and the

 California Subclass are entitled to damages and other legal and equitable relief,

 including, at their election, the purchase price of the Class Laptops or the

 overpayment or diminution in value of their Class Laptops as well as reimbursement

 of out-of-pocket expenses incurred as a result of the Defect.




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       640. Pursuant to CAL. CIV. CODE § 1794(d), (e) Plaintiff Letson and the

 California Subclass are entitled to reasonable costs and attorneys’ fees.

                                    Count XIII
                 Violation of California’s False Advertising Law,
                     CAL. BUS. & PROF. CODE § 17500, et seq.
                      (On Behalf of the California Subclass)

       641. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

       642. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther bring this claim

 on behalf of the California Subclass.

       643. Defendant’s acts and practices, as described herein, have deceived

 and/or are likely to continue to deceive class members and the public. As described

 above, and throughout this Complaint, Defendant misrepresented the Class Laptops

 and concealed the Defect.

       644. By its actions, Defendant disseminated uniform advertising regarding

 the Class Laptops into California. The advertising was, by its very nature, unfair,

 deceptive, untrue, and misleading within the meaning of CAL. BUS. & PROF. CODE §

 17500, et seq. Such advertisements were intended to and likely did deceive the

 consuming public for the reasons detailed herein.

       645. The above-described false, misleading, and deceptive advertising

 Defendant disseminated continues to have a likelihood to deceive because it does
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 not disclose the Defect—and how the Defect negatively affects consumers’

 experience with the Class Laptops by rendering the hinges inoperable.

           646. Defendant continued to misrepresent to consumers that its Class

 Laptops were reliable, durable, easy to transport and capable of operating as 2-in-1

 devices, when, in fact, that was not the case as described in detail throughout this

 Complaint.

           647. In making and disseminating the statements alleged herein. Defendant

 knew, or should have known, its advertisements were untrue and misleading in

 violation of California law. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther

 and the California Subclass based their purchasing decisions on Defendant’s omitted

 material facts. The revenue attributable to products sold in those false and

 misleading advertisements likely amounts to hundreds of millions of dollars.

 Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the California Subclass

 were injured in fact and lost money and property as a result.

           648. The misrepresentations and non-disclosure by Defendant of the

 material facts described and details herein constitute false and misleading

 advertising and, therefore, constitute violations of CAL. BUS. & PROF. CODE § 17500,

 et seq.

           649. As a result of Defendant’s wrongful conduct, Plaintiffs Schauer,

 Cosman, Graner, Letson, and Luther and the California Subclass lost money in an


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 amount to be proven at trial. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther

 and the California Subclass are therefore entitled to restitution as appropriate for this

 cause of action.

       650. Plaintiffs Schauer, Cosman, Graner, Letson, and Luther and the

 California Subclass seek all monetary and non-monetary relief allowed by law,

 including restitution of all profits stemming from Defendant’s unfair, unlawful, and

 fraudulent business practices; declaratory relief; reasonable attorney’s fees and costs

 under California Code of Civil Procedure section 1021.5; injunctive relief; and other

 appropriate equitable relief.

                                   Count XIV
              Violation of the Oregon Unlawful Trade Practices Act,
                    OR. REV. STAT. § 646.605 through 646.656
                        (On Behalf of the Oregon Subclass)

       651. Plaintiff Sarah Householder and the Oregon Subclass incorporate by

 reference each preceding and succeeding paragraph as though fully set forth at length

 herein.

       652. Plaintiff Householder brings this claim on behalf of herself and on

 behalf of the members of the Oregon Subclass against Defendant.

       653. Defendant is a “person” under the Oregon Unlawful Trade Practices

 Act, ORS § 646.605(4).

       654. Plaintiff Householder’s Class Laptop is a “good[]” under ORS §

 646.605(6)(a).

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        655. Defendant is and was engaged in “trade” and “commerce” as defined

 by ORS § 646.605(8).

        656. ORS § 646.607 provides, in relevant part, that a “person engages in an

 unlawful trade practice if in the course of the person’s business, vocation or

 occupation the person . . . [e]mploys any unconscionable tactic in connection with

 selling . . . goods or services.”

        657. Defendant knew or should have known that the Class Laptops’ hinges

 were defectively designed or manufactured, would fail prematurely, and were not

 suitable for their intended use.

        658. Defendants employed unconscionable tactics in selling the Class

 Laptops by not giving Plaintiff Householder and the Oregon Subclass members

 sufficient notice or warning regarding the defective hinges, intending that Plaintiff

 Householder and the Oregon Subclass rely upon HP’s omissions when purchasing

 the Class Laptops. Plaintiff Householder and the Oregon Subclass members were

 deceived by Defendant concealing the defective hinges.

        659. Defendant also engaged in unlawful and deceptive practices in

 violation of ORS § 646.608 by causing likelihood of confusion or of

 misunderstanding as to the source, sponsorship, approval, or certification of the

 Class Laptops (ORS § 646.608(b)); representing that the Class Laptops have

 characteristics, uses, benefits, quantities and qualities that they do not have (ORS


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 §646.608(e)); representing that the Class Vehicles are of a particular standard,

 quality or grade when they are of another (ORS § 646.608(g)); concurrently with

 tender or delivery of the Class Laptops, failing to disclose known material defects

 or material nonconformities (ORS § 646.608(t)); and engaging in other unfair or

 deceptive conduct (ORS § 646.608(u)).

       660. Defendant also engaged in unlawful and deceptive practices in

 violation of ORS §§ 646.607 and 646.608 by failing to provide Plaintiff Householder

 and Oregon Subclass members the full cost to repair the Class Laptops and replace

 the defective hinges.

       661. Defendant knew or should have known that its conduct was a violation

 of the Oregon Unfair Trade Practices Act, ORS § 646.605 - .656, and therefore its

 conduct was willful. ORS § 646.605(10).

       662. Plaintiff Householder and Oregon Subclass members have suffered an

 ascertainable loss of money or property as a direct and proximate result of

 Defendant’s willful use or employment of unlawful methods, acts or practices.

       663. Pursuant to ORS § 646.638, Plaintiff Householder and the Oregon

 Subclass members seek an order enjoining Defendant’s unfair and/or deceptive

 practices, actual damages, punitive damages, attorney’s fees and costs, and any other

 just and proper relief available under the Oregon UTPA.




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       664. Pursuant to ORS § 646.638(2), Plaintiff Householder will serve the

 Oregon Attorney General with a copy of this Complaint.

                                   Count XV
               Breach of the Implied Warranty of Merchantability
                        OR. REV. STAT. § 72.8020, et seq.
                      (On Behalf of the Oregon Subclass)

       665. Plaintiff Sarah Householder and the Oregon Subclass incorporate by

 reference each preceding and succeeding paragraph as though fully set forth at length

 herein.

       666. Plaintiff Householder brings this claim on behalf of herself and on

 behalf of the members of the Oregon Subclass against Defendant HP.

       667. The Class Laptops are “consumer goods” as defined in ORS §

 72.8010(1).

       668. Plaintiff Householder and the Oregon Subclass members are “buyers”

 and “retail buyers” as defined in ORS § 72.8010(2).

       669. HP is and was at all relevant times a “manufacturer” as defined in ORS

 § 72.8010(3) with respect to the Class Laptops.

       670. Pursuant to ORS § 72.8020, HP impliedly warranted that the Class

 Laptops are fit for the ordinary purposes for which they are used: displaying

 information in a standard laptop form factor and being easily portable, without

 defective hinges that fail to support the screen. With respect to the 360-degree Class



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 Laptops, HP impliedly warranted that the devices hinges would be sufficient to allow

 the device to be manipulated into various positions, including tablet mode.

       671. By marketing, advertising, distributing, and selling Class Laptops with

 the defective hinges, HP breached the implied warranty that the Class Laptops were

 merchantable and fit for use as personal computers.

       672. The defective hinges were installed in the Class Laptops at the time

 they left HP’s manufacturing facilities and at the time they were sold to Plaintiff

 Householder and the Oregon Subclass.

       673. Plaintiff Householder and the Oregon Subclass members have

 performed the duties required of them under the terms of the warranties, except as

 may have been excused or prevented by HP’s conduct or by operation of law in light

 of HP’s unconscionable conduct.

       674. HP received timely notice about the defective hinges but has failed to

 rectify the problem and refused to offer an effective remedy.

       675. Plaintiff Householder and the Oregon Subclass members have had

 sufficient dealings with HP or its agents to establish privity of contract. Privity is not

 required in this case, however, because Plaintiff Householder and the Oregon

 Subclass members are the intended third-party beneficiaries of contracts between

 HP and its authorized sellers and are the intended beneficiaries of HP’s implied

 warranties. The sellers were not intended to be the ultimate consumers of the Class


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 Laptops, and the warranties were designed for and intended to benefit the ultimate

 consumers only. Defendant's attempts to disclaim or limit the implied warranty of

 merchantability vis-à-vis consumers is unconscionable and unenforceable.

 Specifically, Defendant's warranty limitations are unenforceable because Defendant

 knowingly sold a defective product without informing consumers about the Defect.

       676. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiff Householder and the Oregon

 Subclass members. Among other things, Plaintiff Householder and the Oregon

 Subclass members had no meaningful choice in determining these time limitations,

 terms which unreasonably favor Defendant. A gross disparity in bargaining power

 existed between Defendant and Class members, as only Defendant knew or should

 have known that the Class Laptops was defective at the time of sale and that the

 Class Laptops would fail well before the expiration of its useful life.

       677. Plaintiff Householder and the Oregon Subclass members have

 complied with all obligations under the warranty or otherwise have been excused

 from performance of said obligations as a result of Defendant's conduct described

 herein.

       678. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Defect became public.


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       679. Prior to the filing of this Complaint, Plaintiff Householder sent

 Defendant a pre-suit notice letter concerning the Defect setting forth Plaintiff

 Householder’s experiences with the Defect and their intentions to file the instant

 Complaint alleging a breach of the implied warranty of merchantability on behalf of

 the Class or Subclass.

       680. As a direct and proximate result of HP’s breach of the implied warranty

 of merchantability, Plaintiff Householder and the Oregon Subclass members

 suffered economic damages, including loss attributable to the diminished value of

 the Class Laptops.

                                   Count XVI
              Violations of the Michigan Consumer Protection Act,
                      MICH. COMP. LAWS § 445.903, et seq.
                      (On Behalf of the Michigan Subclass)

       681. Plaintiff Diana Hobert-Powell and the Michigan Subclass incorporate

 by reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

       682. Plaintiff Hobert-Powell brings this claim on behalf of herself and on

 behalf of the members of the Michigan Subclass against Defendant.

       683. Plaintiff Hobert-Powell and members of the Michigan Subclass are

 “persons” within the meaning of MICH. COMP. LAWS § 445.902(1)(d).




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       684. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

 “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

 trade or commerce....” MICH. COMP. LAWS § 445.903(1).

       685. Defendant’s conduct as set forth herein constitutes unfair or deceptive

 acts or practices, including, but not limited to, Defendant’s manufacture, sale, and

 use of the defective hinges, which Defendant failed to adequately investigate,

 disclose and remedy, and their misrepresentations and omissions regarding the

 durability, reliability, and usability of the Class Laptops.

       686. Defendant’s conduct as alleged above and herein constitutes practices

 prohibited by the Michigan CPA, including: “(c) Representing that goods or services

 have … characteristics … that they do not have . . . .;” “(e) Representing that goods

 or services are of a particular standard . . . if they are of another;” “(s) Failing to

 reveal a material fact, the omissions of which tends to mislead or deceive the

 consumer, and which fact could not reasonably be known by the consumer;” “(bb)

 Making a representation of fact or statement of fact material to the transaction such

 that a person reasonably believes the represented or suggested state of affairs to be

 other than it actually is;” and “(cc) Failing to reveal facts that are material to the

 transaction in light of representations of fact made in a positive manner.” MICH.

 COMP. LAWS § 445.903(1).




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        687. Defendant’s actions as set forth above occurred in the conduct of trade

 or commerce.

        688. Defendant intended that Plaintiff Hobert-Powell and the Michigan

 Subclass members rely on their misrepresentations and omissions, so that Plaintiff

 Hobert-Powell and the Michigan Subclass members would purchase Class Laptops.

        689. Had Defendant disclosed the omitted material, Plaintiff Hobert-Powell

 and the Michigan Subclass members would not have purchased the Class Laptops

 or would have paid less for them.

        690. Defendant’s violations present a continuing risk to Plaintiff Hobert-

 Powell and Michigan Subclass members as well as to the general public.

 Defendant’s unlawful acts and practices complained of herein affect the public

 interest.

        691. Plaintiff Hobert-Powell and the Michigan Subclass members were

 injured as a result of Defendant’s conduct. Plaintiff Hobert-Powell and the Michigan

 Subclass members overpaid for the Class Laptops and did not receive the benefit of

 their bargain, and thus the Class Laptops have suffered a diminution in value.

        692. Defendant’s conduct proximately caused the injuries to Plaintiff

 Hobert-Powell and the Michigan Subclass members.




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       693. Defendant is liable to Plaintiff Hobert-Powell and the Michigan

 Subclass for damages in amounts to be proven at trial, including attorneys’ fees,

 costs, and treble damages.

                                      Count XVII
                  Breach of the Implied Warranty of Merchantability,
                             MICH. COMP. LAWS § 440.314
                         (On Behalf of the Michigan Subclass)

       694. Plaintiff Diana Hobert-Powell and the Michigan Subclass incorporate

 by reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

       695. Plaintiff Hobert-Powell brings this claim on behalf of herself and on

 behalf of the Michigan Subclass members against Defendant.

       696. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of MICH. COMP. LAWS § 440.2314(1).

       697. Pursuant to MICH. COMP. LAWS § 440.2314, a warranty that the Class

 Laptops were in merchantable condition is implied by law in the instant transactions.

       698. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops

 and 2-in-1 devices are used. Specifically, the Class Laptops are inherently defective

 in that the defective hinges cannot support the display in either Laptop or tablet

 mode, constituting a usability hazard to Plaintiff Hobert-Powell and Michigan



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 Subclass members. In addition, the failed hinges make the devices difficult or

 impossible to transport, undermining the ordinary purpose of a laptop computer.

       699. Privity is not required in this case because Plaintiff Hobert-Powell and

 the Michigan Subclass were the intended third-party beneficiaries of contracts

 between HP and its sellers; specifically, they are the intended beneficiaries of HP’s

 implied contracts. The sellers were not intended to be the ultimate consumers of the

 Class Laptops and have no rights under the warranty agreements provided with the

 Class Laptops; the warranty agreements were designed for and intended to benefit

 the ultimate consumers only.

       700. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Defect was discovered.

       701. Defendant's attempts to disclaim or limit the implied warranty of

 merchantability vis-à-vis consumers is unconscionable and unenforceable.

 Specifically, Defendant's warranty limitations are unenforceable because Defendant

 knowingly sold a defective product without informing consumers about the Defect.

       702. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiff Hobert-Powell and the Michigan

 Subclass members. Among other things, Plaintiff Hobert-Powell and the Michigan


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 Subclass members had no meaningful choice in determining these time limitations,

 terms which unreasonably favor Defendant. A gross disparity in bargaining power

 existed between Defendant and Class members, as only Defendant knew or should

 have known that the Class Laptops was defective at the time of sale and that the

 Class Laptops would fail well before the expiration of its useful life.

       703. Plaintiff Hobert-Powell and the Michigan Subclass members have

 complied with all obligations under the warranty or otherwise have been excused

 from performance of said obligations as a result of Defendant's conduct described

 herein.

       704. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Defect became public.

       705. Prior to the filing of this Complaint, Plaintiff Hobert-Powell sent

 Defendant a pre-suit notice letter concerning the Defect setting forth t Plaintiff

 Hobert-Powell’s experiences with the Defect and their intentions to file the instant

 Complaint alleging a breach of the implied warranty of merchantability on behalf of

 the Class or Subclass.

       706. As a direct and proximate result of HP’s breach of the warranties of

 merchantability, Plaintiff Hobert-Powell and the Michigan Subclass members have

 been damaged in an amount to be proven at trial.


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                                  Count XVIII
                             Fraud by Concealment
                       (On Behalf of the Michigan Subclass)

       707. Plaintiff Diana Hobert-Powell and the Michigan Subclass incorporate

 by reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

       708. Plaintiff Hobert-Powell brings this claim on behalf of herself and on

 behalf of the Michigan Subclass members against Defendant.

       709. As set forth above, Defendant know and intentionally concealed and/or

 suppressed material facts concerning the usability of the Class Laptops.

       710. Defendant actively concealed and/or suppressed these material facts, in

 whole or in part, with the intent to induce Plaintiff Hobert-Powell and the Michigan

 Subclass members to purchase the Class Laptops at a higher price, which did not

 match their true value.

       711. Defendant still has not made full and adequate disclosure and continues

 to defraud Plaintiff Hobert-Powell and Michigan Subclass members.

       712. Plaintiff Hobert-Powell and the Michigan Subclass members were

 unaware of these omitted material facts and would not have acted as they did if they

 had known of the concealed and/or suppressed facts. Plaintiff Hobert-Powell’s and

 the Michigan Subclass members’ actions were justified. Defendant had exclusive




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 control of the material facts and such facts were not known to the public, to Plaintiff

 Hobert-Powell, or the Michigan Subclass members.

       713. Defendant owed Plaintiff Hobert-Powell and members of the Michigan

 Subclass a duty to disclose the true durability, reliability, and usability of the Class

 Laptops, because Plaintiff Hobert-Powell and the Michigan Subclass members

 relied on Defendant’s material representations that the Class Laptops they were

 purchasing were functional and free from defects.

       714. Plaintiff Hobert-Powell and the members of the Michigan Subclass

 relied on Defendant’s failure to disclose the faulty and defective nature of the hinges

 in purchasing the Class Laptops.

       715. As a result of their reliance, Plaintiff Hobert-Powell and the Michigan

 Subclass members have been injured in an amount to be proven at trial, including,

 but not limited to, actual damages, their lost benefit of the bargain and overpayment

 at the time of purchase and/or the diminished value of their Class Laptops.

       716. Defendant’s acts were done maliciously, oppressively, deliberately,

 with intent to defraud, and in reckless disregard of Plaintiff Hobert-Powell’s and the

 Michigan Subclass members’ rights to enrich Defendant. Defendant's conduct

 warrants an assessment of punitive damages in an amount sufficient to deter such

 conduct in the future, which amount is to be determined according to proof.

                                     Count XIX
                                  Unjust Enrichment
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              (In the alternative on Behalf of the Michigan Subclass)

       717. Plaintiff Diana Hobert-Powel and the Michigan Subclass incorporate

 by reference each preceding and succeeding paragraph as though fully set forth at

 length herein.

       718. Plaintiff Hobert-Powell brings this action on behalf of herself and the

 Michigan Subclass against Defendant HP.

       719. As a result of Defendant’s wrongful and fraudulent acts and omissions,

 as set forth above, pertaining to the concealing of the defective hinges described

 herein, HP charged a higher price for the Class Laptops than the Class Laptops’ true

 value and HP obtained monies rightfully belonging to Plaintiff Hobert-Powell and

 the Michigan Subclass members.

       720. HP enjoyed the benefit of increased financial gains, to the detriment of

 Plaintiff Hobert-Powell and the Michigan Subclass members, who paid a higher

 price for laptops which actually had lower values. It would be inequitable and unjust

 for HP to retain these wrongfully obtained profits.

       721. Plaintiff Hobert-Powell, therefore, seeks an order establishing HP as

 constructive trustee of the profits unjustly obtained, plus interest.

                                     Count XXI
                         New Jersey Consumer Fraud Act
                              N.J. STAT. ANN. § 56:8
                       (On behalf of the New Jersey Subclass)



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         722. Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass incorporates

 by reference and realleges each and every allegation contained above, as though

 fully set forth herein.

         723. This claim is brought by Plaintiffs Kaplitt and Dobkin individually

 under the laws of New Jersey and on behalf of all members of the Class who reside

 in New Jersey (the “New Jersey Subclass”).

         724. The marketing and branding of the Class Laptops are advertisements

 within the meaning of N.J. STAT. ANN. § 56:8-1(a).

         725. The Class Laptops are merchandise within the meaning of N.J. STAT.

 ANN. § 56:8-1(c).

         726. Defendant is a “person” within the meaning of N.J. STAT. ANN. § 56:8-

 1(d).

         727. N.J. STAT. ANN. § 56:8-2 provides, in relevant part:

         The act, use or employment by any person of any unconscionable
         commercial practice, deception, fraud, false pretense, false promise,
         misrepresentation, or the knowing, concealment, suppression, or
         omission of any material fact with intent that others rely upon such
         concealment, suppression or omission, in connection with the sale or
         advertisement of any merchandise or real estate, or with the subsequent
         performance of such person as aforesaid, whether or not any person has
         in fact been misled, deceived or damaged thereby, is declared to be an
         unlawful practice…

         728. As explained above, Defendant knew or had reason to know of the

 defective nature of the Class Laptops prior to the branding, marketing, and sales of


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 those products. Defendant therefore knowingly and unconscionably concealed,

 misrepresented, and omitted material facts with the intent that consumers would rely

 on such concealments, misrepresentations, and omissions in purchasing the

 defective Class Laptops.

       729. Defendant’s concealments, misrepresentations, and omissions were

 material because Plaintiffs Kaplitt and Dobkin and New Jersey Class members

 would not have purchased the HP Class Laptops had they known of their defective

 nature.

       730. Pursuant to N.J. STAT. ANN. § 56:8-2.11, Defendant is liable for full

 refunds of all moneys acquired by means of its unlawful branding, marketing, and

 sales, as well as treble damages. Plaintiffs Kaplitt and Dobkin and the New Jersey

 Subclass represented in this claim seek all relief dictated by this law, in addition to

 such other relief as is deemed just and proper.

                                   Count XXII
                Breach of the Implied Warranty of Merchantability
                 (Asserted on Behalf of the New Jersey Subclasses)

       731. Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass incorporate

 by reference and reallege each and every allegation contained above, as though fully

 set forth herein.




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       732. This claim is brought by Plaintiffs Kaplitt and Dobkin individually

 under the laws of New Jersey and on behalf of all members of the New Jersey

 Subclass.

       733. HP is a merchant who regularly engages in the manufacture, marketing,

 and distribution of computer equipment, including the Class Laptops, which

 Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass members purchased. By

 operation of law, HP impliedly warranted to Plaintiffs Kaplitt and Dobkin and the

 New Jersey Subclass members that the products were fit for their intended use.

       734. Contrary to the implied warranties, the Class Laptops were not fit for

 their intended use due to their propensity for the plastic casing around the hinges to

 break. HP knew or had reason to know of the defective nature of the laptops prior to

 issuing the implied warranties.

       735. While the defective manufacturing was present at the time the

 warranties were issued, Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass

 members could not have discovered it at that time. At the time of purchase, Plaintiffs

 Kaplitt and Dobkin and the New Jersey Subclass members reasonably expected the

 Class Laptops to be fit for their intended use, and they did not receive the goods for

 which they bargained. Had they known of the defective manufacturing, they would

 not have made the purchases.




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       736. Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass members

 used the Class Laptops in the ordinary manner for which they were intended. The

 products were not altered, and no action by Plaintiffs Kaplitt and Dobkin and the

 New Jersey Subclass members caused or contributed to the Hinge Defect.

       737. In instances where Plaintiffs Kaplitt and Dobkin and the New Jersey

 Subclass members did not purchase the vehicles directly from Defendant, they are

 still the intended beneficiaries of the implied warranties, as the end users whom the

 retailers purchased the products to sell to and are therefore entitled to enforce the

 implied warranties against Defendant.

       738. Pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C. 50 § 2301 et

 seq., Defendant is prohibited from disclaiming or limiting the implied warranty of

 merchantability so as to not cover the defective laptops.

       739. Defendant's attempts to disclaim or limit the implied warranty of

 merchantability vis-à-vis consumers is unconscionable and unenforceable.

 Specifically, Defendant's warranty limitations are unenforceable because Defendant

 knowingly sold a defective product without informing consumers about the Defect.

       740. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiffs and members of the Class.

 Among other things, Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass had

 no meaningful choice in determining these time limitations, terms which


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 unreasonably favor Defendant. A gross disparity in bargaining power existed

 between Defendant and Class members, as only Defendant knew or should have

 known that the Class Laptops was defective at the time of sale and that the Class

 Laptops would fail well before the expiration of its useful life.

       741. Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass members

 have complied with all obligations under the warranty or otherwise have been

 excused from performance of said obligations as a result of Defendant's conduct

 described herein.

       742. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Defect became public.

       743. Prior to the filing of this Complaint, Plaintiffs Kaplitt and Dobkin sent

 Defendant a pre-suit notice letter concerning the Defect setting forth Plaintiffs

 Kaplitt’s and Dobkin’s experiences with the Defect and their intentions to file the

 instant Complaint alleging a breach of the implied warranty of merchantability on

 behalf of the Class or Subclass.

       744. As a result of Defendant’s breach of the implied warranty of

 merchantability, Plaintiffs Kaplitt and Dobkin and the New Jersey Subclass

 members suffered damages of an amount to be determined at trial.

                                   Count XXIII
                           Unjust Enrichment/Restitution
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        (Asserted in the alternative on behalf of the Nationwide Class and
                 alternatively on behalf of the State Subclasses)

        745. Plaintiffs and the Nationwide Class incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

        746. HP has been enriched as a result of the conduct described in this Second

 Amended Complaint.

        747. HP received a benefit from Plaintiffs and other members of the Class

 in the form of payment for products purchased, including purchases made on HP’s

 website.

        748. Defendant knowingly and willingly accepted and enjoyed the benefits

 of the sales.

        749. Retention of these benefits by HP would be unjust and inequitable

 because HP received these benefits by engaging in a false, deceptive, and misleading

 scheme to market the Class Laptops as premium, portable, fully functional machines

 and/or 2-in-1 laptop computers, and by engaging in the unlawful, unjust, and

 wrongful acts and practices described in this Second Amended Complaint.

        750. As the products were unfit for their intended use, Plaintiffs and Class

 members did not receive the goods they bargained for.

        751. In the instances where Class members did not purchase the defective

 products directly from Defendant, they are nonetheless the ultimate victims of the



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 unjust enrichment, as the end purchasers whom the retailers sold the products to in

 turn.

           752. The benefits, in whole or in part, that HP received were not legitimately

 earned and came at the expense of Plaintiffs and the other members of the Class.

           753. HP knows that the above-described conduct is unjust, inequitable, and

 wrongful, but systematically engages in this scheme anyway in order to gain unfair

 advantages and reap unearned financial benefits.

           754. HP is guilty of malice, oppression, and/or fraud through its willful and

 conscious disregard for the rights of Plaintiffs and other Class members.

           755. Plaintiffs and the Class members are entitled to restitution and

 disgorgement of all amounts unjustly retained by HP, as well as other appropriate

 relief.

                                 Count XXIV
                     Fraudulent Omission or Concealment
 (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                               State Subclasses)

           756. Plaintiffs and the Nationwide Class incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

           757. At all relevant times, HP was engaged in the business of designing,

 manufacturing, distributing, and selling the Class Laptops.

           758. HP, directly and through its representatives or agents, delivered Class

 Laptops to its distributors and various other distribution channels.
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       759. HP willfully, falsely, and knowingly omitted various material facts

 regarding the quality and character of the Class Laptops.

       760. Rather than disclose the Hinge Defect to Plaintiffs and other

 prospective purchasers of Class Laptops, HP concealed the Hinge Defect.

       761. HP omitted and concealed this material information to drive up sales,

 maximize profits, and maintain its market power, as consumers would not purchase

 Class Laptops, or would pay substantially less for them, had they known the truth.

       762. Plaintiffs and Class members could not have discovered the Hinge

 Defect prior to it manifesting in their Class Laptops.

       763. HP was in exclusive possession of information concerning the Hinge

 Defect’s existence, which would have been material to reasonable consumers, and

 thus was obligated to disclose the Hinge Defect to Plaintiffs and Class members, at

 the point of sale or otherwise.

       764. HP also had a duty to disclose because it made many general

 affirmative representations about the quality, warranty, maneuverability, and

 durability of the Class Laptops as set forth above, which were misleading, deceptive,

 and/or incomplete without the disclosure of the additional facts set forth above

 regarding their actual quality, functionality, and durability.

       765. Even when faced with complaints regarding the Hinge Defect, HP often

 refused to acknowledge the issue. As a result, Class members were misled as to the


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 true condition of the Class Laptops once at the time of purchase and often again

 when the Hinge Defect was complained of to HP. The omitted and concealed facts

 were material because they directly impact the value, appeal, and usability of the

 Class Laptops purchased by Plaintiffs and Class members. Whether a

 manufacturer’s products are as stated by the manufacturer, backed by the

 manufacturer, and usable for the purpose for which they were purchased, are

 material concerns to a consumer.

       766. Although HP had a duty to disclose the Hinge Defect to consumers, it

 failed to do so.

       767. Plaintiffs and Class members sustained injury at the time they

 purchased Class Laptops that suffer from the Hinge Defect, which Defendant failed

 to disclose and actively concealed from them. Had Plaintiffs and the Class known

 about the Hinge Defect at the time of purchase, they would have paid substantially

 less for their Class Laptops, or would not have purchased them and avoided the

 significant out-of-pocket costs they have or will incur to repair or replace Class

 Laptops once the Hinge Defect manifests.

       768. HP’s acts were done maliciously, oppressively, deliberately, and with

 intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights

 and well-being, and in part to enrich itself at the expense of consumers. HP’s acts

 were done to gain commercial advantage over competitors, and to drive consumers


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 away from consideration or competitor devices. HP’s conduct warrants an

 assessment of punitive damages in an amount sufficient to deter such conduct in the

 future.

                                  Count XXV
  Violation of Georgia’s Fair Business Practices Act – Placeholder Claim Only
                       GA. CODE ANN. §10-1-390, et seq.)
                (Asserted On Behalf Of The Georgia Subclasses)

       769. Plaintiff Nash and the Georgia Subclass incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

       770. Plaintiff Nash brings this claim on behalf of himself and the Georgia

 Subclass.

       771. Plaintiff Nash intends to assert a claim under the Georgia Fair Business

 Practices Act (“Georgia FBPA”) which declares “[u]nfair or deceptive acts or

 practices in the conduct of consumer transactions and consumer acts or practices in

 trade or commerce” to be unlawful, GA. CODE. ANN. § 10-1-393(a), including but

 not limited to “representing that goods or services have sponsorship, approval,

 characteristics, ingredients, uses, benefits, or quantities that they do not have,”

 “[r]epresenting that goods or services are of a particular standard, quality, or grade

 ... if they are of another,” and “[a]dvertising goods or services with intent not to sell

 them as advertised,” GA. CODE. ANN. § 10-1-393(b). Plaintiff Nash will make a

 demand in satisfaction of GA. CODE. ANN. § 10-1-399(b) upon HP, and may amend



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 this Complaint to assert claims under the Georgia FBPA once the required 30 days

 have elapsed.

       772. This Cause of Action is included for purposes of notice only and is not

 intended to actually assert a claim under the Georgia FBPA at this time.

                                 Count XXVI
         Violation of Georgia’s Uniform Deceptive Trade Practices Act
                       GA. CODE ANN. § 10-1-370, et seq.
                 (Asserted on behalf of the Georgia Subclasses)

       773. Plaintiff Nash and the Georgia Subclass incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

       774. Plaintiff Nash brings this claim on behalf of himself and the Georgia

 Subclass.

       775. Defendant, Plaintiff Nash, and the Georgia Subclass are “persons”

 within the meaning of Georgia Uniform Deceptive Trade Practices Act (“Georgia

 UDTPA”), GA. CODE. ANN. § 10-1-371(5).

       776. The Georgia UDTPA prohibits “deceptive trade practices,” which

 includes the “misrepresentation of standard or quality of goods or services,” and

 “engaging in any other conduct which similarly creates a likelihood of confusion or

 of misunderstanding.” GA. CODE. ANN. § 10-1-372(a).

       777. In the course of doing business, Defendant misrepresented material

 facts concerning the Class Laptops. As alleged herein, misrepresented through its



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 advertisements that the hinges utilized in the Class Laptops could be reliably used

 to open and closed the laptops without issue and maintain their portable nature.

       778. In the course of doing business, Defendant also knowingly failed to

 disclose, suppressed, concealed, and/or omitted material facts regarding the

 defective hinges and the durability hazards associated with it, and misrepresented

 the standard, quality, or grade of the Class Laptops, which directly caused harm to

 Plaintiff Nash and the members of the Georgia Subclass. Moreover, Defendant

 actively suppressed the fact that the hinges were defective and presented durability

 concerns because of materials, workmanship, and/or manufacturing defects.

       779. Defendant thus violated the Georgia UDTPA by, at minimum: (1)

 representing that the Class Laptops have characteristics, uses, benefits, and qualities

 which they do not have; (2) representing that the Class Laptops are of a particular

 standard and quality when they are not; (3) advertising the Class Laptops with the

 intent not to sell them as advertised; (4) willfully using, in any oral or written

 representation, exaggeration, falsehood, innuendo or ambiguity as to a material fact;

 (5) willfully failing to state a material fact, or willfully concealing, suppressing or

 omitting a material fact; and (6) otherwise engaging in an unconscionable act or

 practice in connection with a consumer transaction.




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       780. Defendant had the duty to Plaintiff Nash and the members of the

 Georgia Subclass to disclose the defective hinges and the defective nature of the

 Class Laptops because:

          a. Defendant     possessed     exclusive   knowledge    that   they   were

              manufacturing, selling, and distributing laptops throughout the United

              States that contained the defective hinges;

          b. Plaintiff Nash and the members of the Georgia Subclass could not

              reasonably have been expected to learn or discover that the Class

              Laptops had defects until those defects became manifest; and

          c. Defendant knew that Plaintiff Nash and the members of the Georgia

              Subclass could not reasonably have been expected to learn about or

              discover the defective hinges and the effect they would have on the

              Class Laptops’ reliability and portability.

       781. In failing to disclose the defective hinges and its resulting reliability

 and portability concerns, Defendant has knowingly and intentionally concealed and

 omitted material facts and breached its duty to disclose.

       782. The facts Defendant concealed or did not disclose to Plaintiff Nash and

 the members of the Georgia Subclass are material in that a reasonable consumer

 would have considered them to be important in deciding whether to purchase the

 Class Laptops or pay a lesser price. Had Plaintiff Nash and the members of the


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 Georgia Subclass known the Class Laptops were defective, they would not have

 purchased the Class Laptops or would have paid less for them.

       783. Defendant knowingly and intentionally misrepresented material facts

 regarding the Class Laptops, intending for Plaintiff Nash and the members of the

 Georgia Subclass to rely on those material misrepresentations when choosing to

 purchase a Class Laptop instead of laptops marketed and sold by Defendant’s

 competitors.

       784. Plaintiff Nash and members of the Georgia Subclass justifiably relied

 on Defendant’s material misrepresentation.

       785. Defendant’s violations present a continuing risk to Plaintiff Nash as

 well as to the general public. Defendant’s unlawful acts and practices complained of

 herein affect the public interest.

       786. Plaintiff Nash and the members of the Georgia Subclass suffered

 ascertainable loss directly and proximately resulting from Defendant’s Georgia

 UDTPA violations. Plaintiff Nash and the members of the Georgia Subclass have

 suffered actual damages and/or injury in fact, including, inter alia, the difference in

 value between the Class Laptops promised and warranted, and the Class Laptops

 utilizing the defective hinges.

       787. Plaintiff Nash and the members of the Georgia Subclass seek actual

 damages against Defendant in an amount to be determined at trial and statutory,


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 treble, and/or punitive damages under the Georgia UDTPA. Plaintiff Nash and the

 members of the Georgia Subclass also seek an order enjoining Defendant’s unfair,

 unlawful, and/or deceptive practices and awarding costs, attorneys’ fees and

 restitution, disgorgement of funds, and any other just and proper relief available

 under the Georgia UDTPA.

                                 Count XXVII
           Violation of the Washington State Consumer Protection Act
                   REV. CODE WASH. ANN. §§ 19.86.010, et seq.
                (Asserted on behalf of the Washington Subclasses)

       788. Plaintiff Drake and the Washington Subclass incorporate by reference

 each preceding and succeeding paragraph as though fully set forth at length herein.

       789. Plaintiff Drake brings this claim on behalf of herself and on behalf of

 the members of the Washington Subclass.

       790. Defendant’s conduct as set forth herein constitutes unfair or deceptive

 acts or practices, including, but not limited to, Defendant’s manufacture, sale, and

 use of the defective hinges, which Defendant failed to adequately investigate,

 disclose, and remedy, and its misrepresentations and omissions regarding the

 reliability, durability, and portability of the Class Laptops.

       791. Defendant’s actions as set forth above occurred in the conduct of trade

 or commerce.

       792. Defendant’s actions impact the public interest because Plaintiff Drake

 was injured in the same way as tens of thousands of others purchasing Defendant’s
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 Class Laptops as a result of Defendant’s generalized course of deception. All of the

 wrongful conduct alleged herein occurred, and continues to occur, in the conduct of

 Defendant’s business.

       793. Plaintiff Drake and the Washington Subclass members were injured as

 a result of Defendant’s conduct. Plaintiff Drake and the Washington Subclass

 overpaid for the Class Laptops, did not receive the benefit of their bargain, and are

 left with laptops that have suffered a diminution in value.

       794. Defendant’s conduct proximately caused the injuries to Plaintiff Drake

 and the Washington Subclass members.

       795. Defendant is liable to Plaintiff Drake and the Washington Subclass

 members for damages in amounts to be proven at trial, including attorneys’ fees,

 costs, and treble damages.

       796. Pursuant to Wash. Rev. Code. Ann. § 19.86.095, Plaintiffs will serve

 the Washington Attorney General with a copy of this complaint as Plaintiffs seek

 injunctive relief.

                                  Count XXVIII
             Violation of the Arkansas Deceptive Trade Practices Act,
                             A.C.A. §§ 4-88-101, et seq.
                 (Asserted on behalf of the Arkansas Subclasses)

       797. Plaintiff Meola and the Arkansas Subclass incorporate by reference

 each preceding and succeeding paragraph as though fully set forth at length herein.



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       798. Plaintiff Meola brings this claim on behalf of herself and on behalf of

 the members of the Arkansas Subclass.

       799. HP is a “person” as defined by A.C.A. § 4-88-102(5).

       800. HP’s products and services are “goods” and “services” as defined by

 A.C.A. §§ 4-88-102(4) and (7).

       801. HP advertised, offered, or sold goods or services in Arkansas and

 engaged in trade or commerce directly or indirectly affecting the people of Arkansas.

       802. The Arkansas Deceptive Trade Practices Act (“ADTPA”), A.C.A. §§

 4-88-101, et seq., prohibits unfair, deceptive, false, and unconscionable trade

 practices.

       803. HP engaged in acts of deception and false pretense in connection with

 the sale and advertisement of services in violation of A.C.A. § 4-88-108(1); the

 concealment, suppression and omission of material facts, with intent that others rely

 upon the concealment, suppression or omission in violation of A.C.A. § 4-88-108(2);

 and engaged in the following deceptive and unconscionable trade practices defined

 in A.C.A. § 4-88-107:

              a. Knowingly designing, developing, manufacturing, advertising, and

                selling Class Laptops with significant hinge defects that result in

                reliability, durability, and portability risks so that consumers did not

                receive the benefit of their bargain;


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          b. Failing to take steps to secure the Class Laptop hinges from premature

              failure;

          c. Making affirmative public representations about the durability of the

              Class Laptops, while at the same time not ensuring the durability of the

              hinges themselves; and

          d. Concealing and/or failing to disclose material facts, including but not

              limited to, that in designing the Class Laptops, it failed to take measures

              to protect the structural integrity of the hinges from normal wear and

              tear, while knowing that the Class Laptops were to be used in such a

              manner that necessitated the opening and closing of the lid, and thus the

              use of the hinges.

       804. Defendant’s representations and omissions were material because they

 were likely to deceive reasonable consumers.

       805. Defendant intended to mislead Plaintiff Meola and Arkansas Subclass

 members and induce them to rely on its misrepresentations and omissions.

       806. Had Defendant disclosed to Plaintiff Meola and Arkansas Subclass

 members material facts, including but not limited to, that in producing the Class

 Laptops, it failed to take quality control measures to protect the Class Laptops,

 including the hinges responsible for opening and closing the laptop screens, from

 premature failure that compromised the reliability, durability, and portability of the


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 Class Laptops, and was otherwise engaged in deceptive, common business practices,

 Defendant would have been unable to continue in business and it would have been

 forced to disclose the defective hinges in the Class Laptops. Instead, Defendant

 represented that its Class Laptops were reliable, durable, portable, and tested to meet

 those expectations. Plaintiff Meola and Arkansas Subclass members acted

 reasonably in relying on Defendant’s misrepresentations and omissions, the truth of

 which they could not have discovered.

       807. Defendant acted intentionally, knowingly, and maliciously to violate

 Arkansas’s Deceptive Trade Practices Act, and recklessly disregarded Plaintiff

 Meola’s and Arkansas Subclass members’ rights. Defendant’s knowledge of the

 Class Laptops’ durability and portability issues—from, among other sources,

 internal testing, consumer complaints, and warranty data put it on notice that the

 Class Laptops were not as it advertised.

       808. As a direct and proximate result of Defendant’s unconscionable, unfair,

 and deceptive acts or practices and Plaintiff Meola’s and Arkansas Subclass

 members’ reliance thereon, Plaintiff Meola and Arkansas Subclass members have

 suffered and will continue to suffer injury, ascertainable losses of money or property,

 and monetary and non-monetary damages, including from not receiving the benefit

 of their bargain in purchasing the Class Laptops, and increased time and expense in

 dealing with mitigation and repair.


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        809. Plaintiff Meola and Arkansas Subclass members seek all monetary and

 non-monetary relief allowed by law, including actual financial losses, injunctive

 relief, and reasonable attorneys’ fees and costs.

                                 Count XXIX
 Violation of the Massachusetts Consumer Protection Act – Placeholder Claim
                                      Only
                     MASS. GEN. LAWS CH. 93A, §§ 1, et seq.
               (Asserted on behalf of the Massachusetts Subclass)

        810. Plaintiffs Sakharuk and DiMartino and the Massachusetts Subclass

 incorporate by this reference the allegations contained in the preceding paragraphs

 as if fully set forth herein.

        811. Plaintiffs Sakharuk and DiMartino bring this claim individually and on

 behalf of the proposed Massachusetts Subclass against HP.

        812. Plaintiffs Sakharuk and DiMartino intend to assert a claim under the

 Massachusetts Consumer Protection Act (“MCPA”) against HP, which makes it

 unlawful to engage in any “[u]nfair methods of competition or deceptive acts or

 practices in the conduct of any trade or commerce.” MASS. GEN. LAWS. CH. 93A, §

 2(1). Plaintiffs Sakharuk and DiMartino will make a demand in satisfactions of

 MASS. GEN. LAWS. CH. 93A § 9(3) upon HP, and may amend this complaint to assert

 claims under the MCPA once the required 30 days have elapsed.

        813. This Cause of Action is included for purposes of notice only and is not

 intended to actually assert a claim under the MCPA at this time.


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                                  Count XXX
      Violation of the Massachusetts Implied Warranty of Merchantability
                        MASS. GEN. LAWS CH. 106, § 2-314
               (Asserted on behalf of the Massachusetts Subclass)

        814. Plaintiffs Sakharuk and DiMartino and the Massachusetts Subclass

 incorporate by this reference the allegations contained in the preceding paragraphs

 as if fully set forth herein.

        815. Plaintiffs Sakharuk and DiMartino bring this claim individually and on

 behalf of the proposed Massachusetts Subclass against HP.

        816. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass purchased Class Laptops from HP’s authorized retailers for

 non-commercial purposes.

        817. HP is a merchant with respect to consumer laptop computers. Class

 Laptops are goods within the meaning of the Uniform Commercial Code as adopted

 by Massachusetts.

        818. HP impliedly warranted to the public and owners of Class Laptops that

 Class Laptops were merchantable and fit for the ordinary purposes for which

 consumer laptop computers are used.

        819. As a manufacturer of consumer goods, HP is precluded from excluding

 or modifying an implied warranty of merchantability or limiting consumer remedies

 for breach of this warranty.



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       820. HP failed to provide written notice to Plaintiffs Sakharuk and

 DiMartino and the members of the Massachusetts Subclass of implied warranty

 exclusions at time of purchase because the warranty exclusions were in the sealed

 shipping box and was ineffective since it was not conspicuous within the meaning

 of MASS. GEN. LAWS. CH. 106, § 2-316.

       821. Class Laptops were not of merchantable quality and were unfit for the

 ordinary purposes for which laptop computers are used because of the Hinge Defect

 as described above.

       822. HP received adequate notice of its breach of the implied warranty of

 merchantability and request for repair or replacement.        In the alternative, the

 Plaintiffs Sakharuk and DiMartino and the members of the Massachusetts Subclass,

 as indirect purchasers were not required to issue notice of the warranty breach to HP

 and/or lack of notice of warranty breach did not result in any prejudice to HP. HP

 declined to offer Plaintiffs Sakharuk and DiMartino an effective remedy for their

 defective Class Laptops.

       823. HP breached the implied warranty of merchantability by producing,

 manufacturing, and selling laptops that were not of merchantable quality. The Class

 Laptops are defective, resulting in hinges that break and cannot support the screen.

 As a result, the laptops are difficult or impossible to transport and the Class Laptops

 cannot perform their central function. The Class Laptops are therefore unfit for the


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 ordinary purpose for which a laptop computer is used and would not pass without

 objection in the laptop computer trade.

       824. The defect in the Class Laptops is latent. Though the Class Laptops

 appear operable when new, the Hinge Defect existed in the product at the time of

 sale and throughout the one-year Limited Warranty period. Accordingly, any

 subsequent discovery of the defect beyond that time does not bar an implied warranty

 claim under MASS. GEN. LAWS. CH. 106, § 2-316.

       825. These above enumerated defects render the Class Laptop unfit for

 serving their essential function as an easily portable laptop computer at the time the

 Class Laptops were delivered.

       826. Class Laptops are not reliable, and Plaintiffs Sakharuk and DiMartino

 and the members of the Massachusetts Subclass of these laptop computers have lost

 confidence in the ability of the Class Laptops to perform the function of being a

 reliable portable computer which can open and close or change viewing position as

 designed.

       827. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass reasonably relied upon the expertise, skill, judgment and

 knowledge of HP and upon its implied warranty that Class Laptops were of

 merchantable quality and fit for their intended use.




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        828. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass relied on implied warranties of merchantability made by HP

 concerning the Class Laptops and sustained an ascertainable loss and financial injury

 resulting from the breach of those warranties by HP.

        829. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass could not have reasonably discovered the defective

 condition of the Class Laptops at the time of purchase.

        830. HP’s breach of implied warranties of merchantability was the direct and

 proximate cause of financial harm to Plaintiffs Sakharuk and DiMartino and the

 members of the Massachusetts Subclass.

        831. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass demand judgment against HP including monetary damages,

 interest, costs and attorneys’ fees.

                                    Count XXXI
                  Violation of the Massachusetts Express Warranty
                          MASS. GEN. LAWS CH. 106, §2-313
                 (Asserted on behalf of the Massachusetts Subclass)

        832. Plaintiffs Sakharuk and DiMartino and the Massachusetts Subclass

 incorporate by this reference the allegations contained in the preceding paragraphs

 as if fully set forth herein.

        833. Plaintiffs Sakharuk and DiMartino bring this claim individually and on

 behalf of the proposed Massachusetts Subclass against HP.
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       834. HP expressly warranted to the public including Plaintiffs Sakharuk and

 DiMartino and the members of the Massachusetts Subclass, that Class Laptops were

 merchantable and fit for the ordinary purposes for which consumer laptop computers

 are used.

       835. HP extensively advertised that Class Laptops were superior in

 construction and extolled the quality and virtues of Class Laptops including superior

 design and manufacture, safety, durability, reliability and performance and that the

 Class Laptop would open and close reliably in excess of 50,000 times.

       836. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass were unaware of any express warranty exclusions because

 they did not receive their Class Laptops’ Owner's Manual and warranty materials

 that contained any purported warranty exclusions at the time of purchase. Their

 Class Laptops and shipping boxes were not marked “irregular”, “factory seconds”,

 “as is”, “with all faults” or “damaged”. Class Laptops’ Owner's Manuals and

 warranty materials were in the sealed shipping box that contained the laptop

 computer.79 Consequently, Plaintiffs Sakharuk and DiMartino and the members of

 the Massachusetts Subclass were not presented with an opportunity to review (let

 alone bargain for) warranty provisions at the time of purchase of their Class Laptop.


 79
    Even if the Owner's Manual and warranty materials had been present for pre-purchase
 review, the warranty exclusion clause failed to satisfy conspicuity and other requirements
 of MASS. GEN. LAWS. CH. 106, § 2-316.
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       837. HP represented that Class Laptops were of a particular standard or

 quality when they in fact were not.

       838. HP’s representations were made in newspapers, magazines, television

 and Internet advertising viewed by Plaintiffs Sakharuk and DiMartino and the

 members of the Massachusetts Subclass. Other representations were made by HP’s

 authorized retail vendors who relied upon their training, promotional publications

 and statements contained in materials generated by HP including but not limited to

 Class Laptop Owner's Manuals.

       839. HP breached its express warranties in that Class Laptops were defective

 with respect to design and manufacture.

       840. HP received adequate notice of its breach of its express warranties and

 failed to cure the warranty breaches. In the alternative, Plaintiffs Sakharuk and

 DiMartino and the members of the Massachusetts Subclass, as indirect purchasers

 were not required to issue notice of the warranty breach to HP and/or lack of notice

 of warranty breach did not result in any prejudice to HP.

       841. Class Laptops are not reliable, and Plaintiffs Sakharuk and DiMartino

 and the members of the Massachusetts Subclass of these laptop computers have lost

 confidence in the ability of the Class Laptops to perform the function of being a

 reliable portable computer which can open and close or change viewing position as

 designed.


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       842. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass reasonably relied upon the expertise, skill, judgment and

 knowledge of HP and upon its express warranty that Class Laptops were of

 merchantable quality and fit for their intended use.

       843. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass relied on express warranties of merchantability made by HP

 concerning the Class Laptops and sustained an ascertainable loss and financial injury

 resulting from the breach of those warranties by HP.

       844. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass could not have reasonably discovered the defective

 condition of the Class Laptops prior to failure.

       845. HP’s breach of its express warranties was the direct and proximate

 cause of cause of financial harm to Plaintiffs Sakharuk and DiMartino and the

 members of the Massachusetts Subclass.

       846. The express warranty remedy set out in the Owner's Manual of the

 Class Laptops fails of its essential purpose under MASS. GEN. LAWS. CH. 106, § 2-

 719(2) because Class Laptops are not repairable and the limitation of consequential

 damages is unconscionable under MASS. GEN. LAWS. CH. 106, § 2-719(3) because of

 the conduct of HP described supra.




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       847. Plaintiffs Sakharuk and DiMartino and the members of the

 Massachusetts Subclass demand judgment against HP including monetary damages,

 interest, costs and attorneys’ fees.

                                   Count XXXII
                          Breach of the Implied Warranty
                              A.C.A. § 4-2-314 et seq.
                        (On Behalf of the Arkansas Subclass)

       848. Plaintiff Meola and the Arkansas Subclass incorporate by reference

 each preceding and succeeding paragraph as though fully set forth at length herein.

       849. Plaintiff Meola (for purposes of this section, the “Arkansas Plaintiff”)

 brings this claim on behalf of herself and on behalf of the Arkansas Subclass

 members against Defendant.

       850. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of A.C.A. § 4-2-104(1).

       851. The Class Laptops are and were at all relevant times goods within the

 meaning of A.C.A. § 4-2-105(1).

       852. Pursuant to A.C.A. § 4-2-314, a warranty that the Class Laptops were

 in merchantable condition is implied by law in the instant transactions.

       853. Pursuant to A.C.A. § 4-2-315, a warranty that the Class Laptops are fit

 for a particular purpose is implied by law in the instant transactions.

       854. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

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 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to the Arkansas

 Plaintiff and Arkansas Subclass members. In addition, the failed hinges make the

 devices difficult or impossible to transport, undermining the ordinary purpose of a

 laptop computer.

       855. As a result of the laptops not being merchantable or fit for their ordinary

 purpose, Plaintiff Meola and the Arkansas Subclass Members have suffered and will

 continue to suffer injury, ascertainable losses of money or property, and monetary

 and non-monetary damages, including from not receiving the benefit of their bargain

 in purchasing the Class Laptops, and increased time and expense in dealing with

 mitigation and repair.

       856. Privity is not required in this case because the Arkansas Plaintiff and

 the Arkansas Subclass were the intended third-party beneficiaries of contracts

 between HP and its sellers; specifically, they are the intended beneficiaries of HP’s

 implied contracts. The sellers were not intended to be the ultimate consumers of the

 Class Laptops and have no rights under the warranty agreements provided with the

 Class Laptops; the warranty agreements were designed for and intended to benefit

 the ultimate consumers only.

       857. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website


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 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       858. Defendant's attempts to disclaim or limit the implied warranty vis-à-vis

 consumers is unconscionable and unenforceable. Specifically, Defendant's warranty

 limitations are unenforceable because Defendant knowingly sold a defective product

 without informing consumers about the Hinge Defect.

       859. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiffs and members of the Class.

 Among other things, the Arkansas Plaintiff and members of the Arkansas Subclass

 had no meaningful choice in determining these time limitations, terms which

 unreasonably favor Defendant. A gross disparity in bargaining power existed

 between Defendant and Arkansas Subclass members, as only Defendant knew or

 should have known that the Class Laptops was defective at the time of sale and that

 the Class Laptops would fail well before the expiration of its useful life.

       860. The Arkansas Plaintiff and Arkansas Subclass members have complied

 with all obligations under the warranty or otherwise have been excused from

 performance of said obligations as a result of Defendant's conduct described herein.

       861. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.


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       862. Prior to the filing of this Complaint, Plaintiffs sent Defendant a pre-suit

 notice letter concerning the Hinge Defect setting forth Plaintiff's experiences with

 the Hinge Defect and their intentions to file the instant Complaint alleging a breach

 of the implied warranty on behalf of the Class or Subclass.

       863. As a direct and proximate result of HP’s breach of the implied

 warranties, the Arkansas Plaintiff and the Arkansas Subclass members have been

 damaged in an amount to be proven at trial.

                                 Count XXXIII
                         Breach of the Implied Warranty
                            ALA. CODE 7-2-314 et seq.
                       (On Behalf of the Alabama Subclass)

       864. Plaintiff Carson and the Alabama Subclass incorporate by reference

 each preceding and succeeding paragraph as though fully set forth at length herein.

       865. Plaintiff Carson (for purposes of this section, the “Alabama Plaintiff”)

 brings this claim on behalf of herself and on behalf of the Alabama Subclass

 members against Defendant.

       866. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of ALA. CODE 7-2-104.

       867. The Class Laptops are and were at all relevant times goods within the

 meaning of ALA. CODE 7-2-105(1).

       868. Pursuant to ALA. CODE 7-2-314, a warranty that the Class Laptops were

 in merchantable condition is implied by law in the instant transactions.

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       869. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to the Alabama

 Plaintiff and Alabama Subclass members. In addition, the failed hinges make the

 devices difficult or impossible to transport, undermining the ordinary purpose of a

 laptop computer.

       870. As a result of the laptops not being merchantable or fit for their ordinary

 purpose, Plaintiff Carson and the Alabama Subclass Members have suffered and will

 continue to suffer injury, ascertainable losses of money or property, and monetary

 and non-monetary damages, including from not receiving the benefit of their bargain

 in purchasing the Class Laptops, and increased time and expense in dealing with

 mitigation and repair.

       871. Privity is not required in this case because the Alabama Plaintiff and

 the Alabama Subclass were the intended third-party beneficiaries of contracts

 between HP and its sellers; specifically, they are the intended users of the devices

 and intended beneficiaries of HP’s implied contracts. The sellers were not intended

 to be the ultimate consumers of the Class Laptops and have no rights under the

 warranty agreements provided with the Class Laptops; the warranty agreements

 were designed for and intended to benefit the ultimate consumers only.


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       872. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       873. Defendant's attempts to disclaim or limit the implied warranty vis-à-vis

 consumers is unconscionable and unenforceable. Specifically, Defendant's warranty

 limitations are unenforceable because Defendant knowingly sold a defective product

 without informing consumers about the Hinge Defect.

       874. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiffs and members of the Alabama

 Subclass. Among other things, the Alabama Plaintiff and members of the Alabama

 Subclass had no meaningful choice in determining these time limitations, terms

 which unreasonably favor Defendant. A gross disparity in bargaining power existed

 between Defendant and Alabama Subclass members, as only Defendant knew or

 should have known that the Class Laptops was defective at the time of sale and that

 the Class Laptops would fail well before the expiration of its useful life.

       875. The Alabama Plaintiff and Alabama Subclass members have complied

 with all obligations under the warranty or otherwise have been excused from

 performance of said obligations as a result of Defendant's conduct described herein.




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       876. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.

       877. Prior to the filing of this Complaint, Plaintiffs sent Defendant a pre-suit

 notice letter concerning the Hinge Defect setting forth Plaintiff's experiences with

 the Hinge Defect and their intentions to file the instant Complaint alleging a breach

 of the implied warranties on behalf of the Class or Subclass.

       878. As a direct and proximate result of HP’s breach of the implied

 warranties, the Alabama Plaintiff and the Alabama Subclass members have been

 damaged in an amount to be proven at trial.

                                  Count XXXIV
                          Breach of the Implied Warranty
                              F.S.A. §§ 672.314 et seq.
                         (On Behalf of the Florida Subclass)
       879. Plaintiffs Erickson, Harman, Roberts, Nind and the Florida Subclass

 incorporate by reference each preceding and succeeding paragraph as though fully

 set forth at length herein.

       880. Plaintiffs Erickson, Harman, Roberts, and Nind (for purposes of this

 section, the “Florida Plaintiffs”) bring this claim on behalf of themselves and on

 behalf of the Florida Subclass members against Defendant.

       881. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of FLA. STAT. § 672.104(1).

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       882. The Class Laptops are and were at all relevant times goods within the

 meaning of FLA. STAT. § 672.105(1).

       883. Pursuant to FLA. STAT. § 672.314, a warranty that the Class Laptops

 were in merchantable condition is implied by law in the instant transactions.

       884. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to the Florida

 Plaintiffs and Florida Subclass members. In addition, the failed hinges make the

 devices difficult or impossible to transport, undermining the ordinary purpose of a

 laptop computer.

       885. As a result of the laptops not being merchantable or fit for their ordinary

 purpose, the Florida Plaintiffs and the Florida Subclass Members have suffered and

 will continue to suffer injury, ascertainable losses of money or property, and

 monetary and non-monetary damages, including from not receiving the benefit of

 their bargain in purchasing the Class Laptops, and increased time and expense in

 dealing with mitigation and repair.

       886. Privity is not required in this case because the Florida Plaintiffs and the

 Florida Subclass were the intended third-party beneficiaries of contracts between HP

 and its sellers; specifically, they are the intended users of the devices and intended


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 beneficiaries of HP’s implied contracts. The sellers were not intended to be the

 ultimate consumers of the Class Laptops and have no rights under the warranty

 agreements provided with the Class Laptops; the warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       887. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       888. Defendant's attempts to disclaim or limit the implied warranty vis-à-vis

 consumers is unconscionable and unenforceable. Specifically, Defendant's warranty

 limitations are unenforceable because Defendant knowingly sold a defective product

 without informing consumers about the Hinge Defect.

       889. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Florida Plaintiffs and members of the

 Florida Subclass. Among other things, Plaintiffs and members of the Florida

 Subclass had no meaningful choice in determining these time limitations, terms

 which unreasonably favor Defendant. A gross disparity in bargaining power existed

 between Defendant and Florida Subclass members, as only Defendant knew or

 should have known that the Class Laptops was defective at the time of sale and that

 the Class Laptops would fail well before the expiration of its useful life.


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       890. Florida Plaintiffs and Florida Subclass members have complied with all

 obligations under the warranty or otherwise have been excused from performance of

 said obligations as a result of Defendant's conduct described herein.

       891. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.

       892. Prior to the filing of this Complaint, Plaintiffs sent Defendant a pre-suit

 notice letter concerning the Hinge Defect setting forth Plaintiff's experiences with

 the Hinge Defect and their intentions to file the instant Complaint alleging a breach

 of the implied warranties on behalf of the Class or Subclass.

       893. As a direct and proximate result of HP’s breach of the implied

 warranties, the Florida Plaintiffs and the Florida Subclass members have been

 damaged in an amount to be proven at trial.

                                   Count XXXV
                          Breach of the Implied Warranty
                            O.C.G.A. § 11-2-314 et seq.
                        (On Behalf of the Georgia Subclass)

       894. Plaintiff Nash and the Georgia Subclass incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

       895. Plaintiff Nash (for purposes of this section, the “Georgia Plaintiff”)

 brings this claim on behalf of himself and on behalf of the Georgia Subclass

 members against Defendant.

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       896. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of O.C.G.A. § 11-2-104.

       897. The Class Laptops are and were at all relevant times goods within the

 meaning of O.C.G.A. § 11-2-105(1).

       898. Pursuant to O.C.G.A. § 11-2-314, a warranty that the Class Laptops

 were in merchantable condition is implied by law in the instant transactions.

       899. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to the Georgia

 Plaintiff and Georgia Subclass members. In addition, the failed hinges make the

 devices difficult or impossible to transport, undermining the ordinary purpose of a

 laptop computer.

       900. As a result of the laptops not being merchantable or fit for their ordinary

 purpose, the Georgia Plaintiff and the Georgia Subclass Members have suffered and

 will continue to suffer injury, ascertainable losses of money or property, and

 monetary and non-monetary damages, including from not receiving the benefit of

 their bargain in purchasing the Class Laptops, and increased time and expense in

 dealing with mitigation and repair.




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       901. Privity is not required in this case because the Georgia Plaintiff and the

 Georgia Subclass were the intended third-party beneficiaries of contracts between

 HP and its sellers; specifically, they are the intended users of the devices and

 intended beneficiaries of HP’s implied contracts. The sellers were not intended to be

 the ultimate consumers of the Class Laptops and have no rights under the warranty

 agreements provided with the Class Laptops; the warranty agreements, which offer

 repair and replacement of the devices, were designed for and intended to benefit the

 ultimate consumers only.

       902. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       903. Defendant's attempts to disclaim or limit the implied warranties vis-à-

 vis consumers is unconscionable and unenforceable. Specifically, Defendant's

 warranty limitations are unenforceable because Defendant knowingly sold a

 defective product without informing consumers about the Hinge Defect.

       904. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect the Georgia Plaintiff and members of the

 Georgia Subclass. Among other things, Plaintiffs and members of the Florida

 Subclass had no meaningful choice in determining these time limitations, terms


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 which unreasonably favor Defendant. A gross disparity in bargaining power existed

 between Defendant and Georgia Subclass members, as only Defendant knew or

 should have known that the Class Laptops was defective at the time of sale and that

 the Class Laptops would fail well before the expiration of its useful life.

       905. Florida Plaintiffs and Georgia Subclass members have complied with

 all obligations under the warranty or otherwise have been excused from performance

 of said obligations as a result of Defendant's conduct described herein.

       906. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.

       907. Prior to the filing of this Complaint, Plaintiffs sent Defendant a pre-suit

 notice letter concerning the Hinge Defect setting forth Plaintiff's experiences with

 the Hinge Defect and their intentions to file the instant Complaint alleging a breach

 of the implied warranty on behalf of the Class or Subclass.

       908. As a direct and proximate result of HP’s breach of the implied

 warranties, the Georgia Plaintiff and the Georgia Subclass members have been

 damaged in an amount to be proven at trial.

                                  Count XXXVI
                          Breach of the Implied Warranty
                         INDIANA CODE § 26-1-2-314 et seq.
                        (On Behalf of the Indiana Subclass)



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       909. Plaintiffs Rose Carina, William Draper, Sabine Miller and the Indiana

 Subclass incorporate by reference each preceding and succeeding paragraph as

 though fully set forth at length herein.

       910. Plaintiffs Carina, Draper, and Miller bring this claim on behalf of

 themselves and on behalf of the Indiana Subclass members against Defendant.

       911. HP is and was at all relevant times a merchant with respect to Class

 Laptops within the meaning of INDIANA CODE § 26-1-2-104(1).

       912. The Class Laptops are and were at all relevant times goods within the

 meaning of O.C.G.A. § INDIANA CODE § 26-1-2-105(1).

       913. Pursuant to INDIANA CODE § 26-1-2-314(1), a warranty that the Class

 Laptops were in merchantable condition is implied by law in the instant transactions.

       914. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to the Indiana

 Plaintiffs and Indiana Subclass members. In addition, the failed hinges make the

 devices difficult or impossible to transport, undermining the ordinary purpose of a

 laptop computer.

       915. As a result of the laptops not being merchantable or fit for their ordinary

 purpose, Plaintiffs Carina, Draper, and Miller and the Indiana Subclass Members


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 have suffered and will continue to suffer injury, ascertainable losses of money or

 property, and monetary and non-monetary damages, including from not receiving

 the benefit of their bargain in purchasing the Class Laptops, and increased time and

 expense in dealing with mitigation and repair.

       916. Privity is not required in this case because Plaintiffs Carina, Draper,

 and Miller and the Indiana Subclass were the intended third-party beneficiaries of

 contracts between HP and its sellers; specifically, they are the intended users of the

 devices and intended beneficiaries of HP’s implied contracts. The sellers were not

 intended to be the ultimate consumers of the Class Laptops and have no rights under

 the warranty agreements provided with the Class Laptops; the warranty agreements

 were designed for and intended to benefit the ultimate consumers only.

       917. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       918. Defendant's attempts to disclaim or limit the implied warranties vis-à-

 vis consumers is unconscionable and unenforceable. Specifically, Defendant's

 warranty limitations are unenforceable because Defendant knowingly sold a

 defective product without informing consumers about the Hinge Defect.




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        919. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiffs Carina, Draper, and Miller and

 members of the Indiana Subclass. Among other things, Plaintiffs Carina, Draper, and

 Miller and members of the Indiana Subclass had no meaningful choice in

 determining these time limitations, terms which unreasonably favor Defendant. A

 gross disparity in bargaining power existed between Defendant and Indiana Subclass

 members, as only Defendant knew or should have known that the Class Laptops was

 defective at the time of sale and that the Class Laptops would fail well before the

 expiration of its useful life.

        920. Plaintiffs Carina, Draper, and Miller and Indiana Subclass members

 have complied with all obligations under the warranty or otherwise have been

 excused from performance of said obligations as a result of Defendant's conduct

 described herein.

        921. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.

        922. Prior to the filing of this Complaint, Plaintiffs Carina, Draper, and

 Miller sent Defendant a pre-suit notice letter concerning the Hinge Defect setting

 forth Plaintiffs’ experiences with the Hinge Defect and their intentions to file the




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 instant Complaint alleging a breach of the implied warranty on behalf of the Class

 or Subclass.

       923. As a direct and proximate result of HP’s breach of the implied

 warranties, Plaintiffs Carina, Draper, and Miller and the Indiana Subclass members

 have been damaged in an amount to be proven at trial.

                                  Count XXXIII
                             Implied Warranty in Tort
                          (On Behalf of the Ohio Subclass)

       924. Plaintiffs Washington, Orenski and the Ohio Subclass incorporate by

 reference each preceding and succeeding paragraph as though fully set forth at length

 herein.

       925. Plaintiffs Washington and Orenski bring this claim on behalf of

 themselves and on behalf of the Ohio Subclass members against Defendant.

       926. The Class Laptops, when sold and at all times thereafter, were not in

 merchantable condition and are not fit for the ordinary purpose for which laptops are

 used. Specifically, the Class Laptops are inherently defective in that the defective

 hinges cannot support the display, constituting a usability hazard to Plaintiffs

 Washington and Orenski, and Ohio Subclass members. In addition, the failed hinges

 make the devices difficult or impossible to transport, undermining the ordinary

 purpose of a laptop computer.




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       927. As a result of the laptops not being merchantable, Plaintiffs Washington

 and Orenski, and the Ohio Subclass Members have suffered and will continue to

 suffer injury, ascertainable losses of money or property, and monetary and non-

 monetary damages, including from not receiving the benefit of their bargain in

 purchasing the Class Laptops, and increased time and expense in dealing with

 mitigation and repair.

       928. HP was provided notice of the defective hinges, as alleged herein, by

 numerous complaints filed against it, including those submitted to HP’s website

 forums and the instant Complaint, within a reasonable amount of time after the

 Hinge Defect was discovered.

       929. Defendant's attempts to disclaim or limit the implied warranty of

 merchantability vis-à-vis consumers is unconscionable and unenforceable.

 Specifically, Defendant's warranty limitations are unenforceable because Defendant

 knowingly sold a defective product without informing consumers about the Hinge

 Defect.

       930. The time limits contained in Defendant's warranty period were also

 unconscionable and inadequate to protect Plaintiffs Washington and Orenski, and

 members of the Ohio Subclass. Among other things, Plaintiffs Washington and

 Orenski, and members of the Ohio Subclass had no meaningful choice in

 determining these time limitations, terms which unreasonably favor Defendant. A


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 gross disparity in bargaining power existed between Defendant and Ohio Subclass

 members, as only Defendant knew or should have known that the Class Laptops was

 defective at the time of sale and that the Class Laptops would fail well before the

 expiration of its useful life.

        931. Plaintiffs Washington and Orenski, and Ohio Subclass members have

 complied with all obligations under the warranty or otherwise have been excused

 from performance of said obligations as a result of Defendant's conduct described

 herein.

        932. Defendant was provided notice of these issues by complaints lodged by

 consumers before or within a reasonable amount of time after the allegations of the

 Hinge Defect became public.

        933. Prior to the filing of this Complaint, Plaintiffs Washington and Orenski

 sent Defendant a pre-suit notice letter concerning the Hinge Defect setting forth

 Plaintiffs’ experiences with the Hinge Defect and their intentions to file the instant

 Complaint alleging a breach of the implied warranty of merchantability on behalf of

 the Class or Subclass.

        934. As a direct and proximate result of HP’s breach of the warranties of

 merchantability, Plaintiffs Washington and Orenski, and the Ohio Subclass members

 have been damaged in an amount to be proven at trial.

                                       Count XXXIX


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         Violation of the Unfair Prong of Various States’ Unfair and Deceptive
                                Trade Practices Statutes
           (Brought by Plaintiffs Carson, Shauer, Cosman, Graner, Letson,
          Luther, Erickson, Harmon, Roberts, Nind, Nash, Carina, Draper,
             Miller, Sakharuk, DiMartino, Hobert-Powell, Purvis, Harris,
           Householder, and Drake on behalf of their respective Subclasses)

        935. Plaintiffs Carson, Shauer, Cosman, Graner, Letson, Luther, Erickson,

 Harmon, Roberts, Nind, Nash, Carina, Draper, Miller, Sakharuk, DiMartino,

 Hobert-Powell, Purvis, Harris, Householder, and Drake repeat and reallege the

 above allegations as if fully set forth herein.

        936. Plaintiffs Carson, Shauer, Cosman, Graner, Letson, Luther, Erickson,

 Harmon, Roberts, Nind, Nash, Carina, Draper, Miller, Sakharuk, DiMartino,

 Hobert-Powell, Purvis, Harris, Householder, and Drake bring this claim individually

 and on behalf of their State Subclasses.

        937. Plaintiffs Carson, Shauer, Cosman, Graner, Letson, Luther, Erickson,

 Harmon, Roberts, Nind, Nash, Carina, Draper, Miller, Sakharuk, DiMartino,

 Hobert-Powell, Purvis, Harris, Householder, Drake, and class members who

 purchased Class Laptops are “consumers” under their states’ unfair and deceptive

 practices statutes.80


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   Plaintiff Carson represents the Alabama Subclass for violations of the unfairness prong
 of Alabama’s Deceptive Trade Practices Act (ALA. CODE § 8-19-1, et seq.); Plaintiffs
 Shauer, Cosman, Graner, Letson, and Luther represent the California Subclass for
 violations of the unfairness prong of California’s Unfair Competition Law (CAL. BUS. &
 PROF. CODE § 17200); Plaintiffs Erickson, Harmon, Roberts, and Nind represent the

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       938. Defendant’s practices, acts, policies and course of conduct violated

 these states’ unfair and deceptive practices statutes in that: Defendant engaged in

 unfair acts and practices in or affecting commerce, through their advertisements,

 packaging, and labeling of Class Laptops, by representing to Plaintiffs and members

 of their Subclasses, among other things, that the products were superior and high

 quality in their material and/or workmanship, that the Class Laptops were precisely

 designed, and that the Class Laptops could be used in the manner shown in

 Defendants’ marketing materials—i.e., a functional, portable, compact design and/or

 a 2-in-1 laptop employing hinges enabling the machine to fold into various positions

 – without triggering the Defect and becoming largely and wholly unusable. Such




 Florida Subclass for violations of the unfairness prong of Florida’s Deceptive and Unfair
 Trade Practices Act (FLA. STAT. § 501.204); Plaintiff Nash represents the Georgia Subclass
 for violations of the unfairness prong of Georgia’s Fair Business Practices Act (GA. CODE.
 ANN. § 10-1-393); Plaintiffs Carina, Draper, and Miller represent the Indiana Subclass for
 violations of the unfairness prong of Indiana’s Deceptive Consumer Sales Act (IND. CODE
 ANN. § 24-5-0.5-3); Plaintiffs Sakharuk and DiMartino represent the Massachusetts
 Subclass for violations of the Massachusetts General Laws Chapter 93A, section 2 (MASS.
 GEN. LAWS. CH. 93A § 2); Plaintiff Hobert-Powell represents the Michigan Subclass for
 violations of the unfairness prong of the Michigan Consumer Protection Act (MICH. COMP.
 LAWS SERV. § 445.903); Plaintiffs Purvis and Harris represent the Missouri Subclass for
 violations of the unfairness prong of the Missouri Merchandising Practices Act (MO. REV.
 STAT. § 407.020); Plaintiff Householder represents the Oregon Subclass for violations of
 the unfairness prong of Oregon’s Unlawful Trade Practices Act (OR. REV. STAT. §
 646.608); and Plaintiff Drake represents the Washington Subclass for violations of the
 unfairness prong of Washington’s Consumer Protection Act (WASH. REV. CODE §
 19.86.020).

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 pattern of conduct was uniform in nature with respect to the marketing and sale of

 the product.

       939. Defendant also knowingly concealed, suppressed and consciously

 omitted material facts from Plaintiffs and other members of their Subclasses – such

 as the hinge defect – knowing that consumers would rely on the advertisements and

 Defendant’s uniform representations concerning the Class Laptops’ high-end

 features and functionality in purchasing their Class Laptops.

       940. Defendant’s acts and omissions are unfair in that they (1) offend public

 policy; (2) are immoral, unethical, oppressive, or unscrupulous; and (3) cause

 substantial injury to consumers.

       941. Defendant’s acts and omissions are also unfair in that they cause

 substantial injury to consumers far in excess of any conceivable benefit; and are

 injuries of a nature that they could not have been reasonably avoided by consumers.

       942. Until the present, Defendant knowingly accepted the benefits of their

 unfair conduct in the form of profits from the increased sale of the Class Laptops

 and replacement parts as well as from repair charges performed by HP on the Class

 Laptops.

       943. As a proximate result of the above-described unfair acts, Plaintiffs and

 members of their Subclasses: (a) purchased and used Class Laptops when they would

 not otherwise have done so; (b) suffered economic losses consisting of the Class


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 Laptops’ cost of purchase or, alternatively, the diminished value of the Class Laptops

 with the hinge defect; (c) suffered and/or will suffer additional economic losses in

 purchasing another laptop; and (d) suffered and will suffer additional economic

 losses incidental to the hinge defect.

       944. As a direct and proximate result of these unfair practices, Plaintiffs and

 the members of their state subclasses have been damaged and are entitled to recover

 actual damages to the extent permitted by law, including class action rules, in an

 amount to be proven at trial.

       945. Plaintiffs and Subclass Members also seek appropriate equitable relief,

 including an order requiring Samsung to adequately disclose and remediate the

 defect plaguing the Class Laptops, and an order enjoining HP from incorporating the

 defect into its laptops in the future. Plaintiffs and the Subclasses also seek attorneys’

 fees and any other just and proper relief available under their states’ unfair and

 deceptive trade practices statutes.

                                  Count XL
                         Breach of Express Warranty
  (On Behalf of the Nationwide Class in the alternative to the State Subclasses)

       946. Plaintiffs and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.




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       947. HP expressly warrants that it will remedy defects in materials or

 workmanship in Class Laptops that manifest within one year of purchase for

 consumers who notify HP during the one-year warranty period.

       948. HP also expressly limits warranty relief to repair, replacement or

 refund, at HP’s sole option.

       949. HP, however, has refused to remedy the Hinge Defect when Class

 Laptops are presented for repair within an applicable warranty period because it

 repairs Class Laptops using similarly defective replacement components, or asserts

 that Class Laptops failed due to customer abuse and, thus, do not qualify for warranty

 coverage. HP’s repair-or-replace warranty thus fails of its essential purpose.

       950. HP also routinely refuses to repair the Hinge Defect in Class Laptops

 when presented for repair just outside the warranty period on grounds that the Class

 Laptops fall outside the limited warranty’s durational limits.

       951. HP’s knowledge and notice of the Hinge Defect prior to sale render its

 warranty limitations substantively unconscionable.

       952. HP’s warranties also are procedurally unconscionable because there

 was unequal bargaining power between HP and Plaintiffs and the other Class

 members, as, at the time of purchase, Plaintiffs and the other Class members had no

 other options for negotiating the terms thereof.

       953. HP’s warranty remedial and durational warranty limitations thus are


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 unconscionable and fail of their essential purpose and are unenforceable.

       954. Plaintiffs have complied with the warranty terms. Plaintiffs have made

 a demand upon HP to perform under the warranty terms, but HP has failed to comply

 with those terms.

       955. As a direct and proximate result of the breach of express warranties,

 Plaintiffs have suffered damages, injury in fact, and ascertainable loss in an amount

 to be determined at trial, including repair and replacement costs and damages to

 other property.

                                  Count XLI
                          Breach of Implied Warranty
  (On Behalf of the Nationwide Class in the alternative to the State Subclasses)

       956. Plaintiffs and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.

       957. HP is in the business of manufacturing, designing, supplying,

 marketing, advertising, warranting, and selling the Class Laptops. HP impliedly

 warranted to Plaintiffs and the Class that the Class Laptops were of a certain quality,

 free from defects, and fit for the serving the purpose of laptop computers.

       958. But the Class Laptops were unfit for ordinary use and were not of

 merchantable quality as warranted by HP in violation of U.C.C. § 2-314 because the

 Class Laptops have a Defect that (1) causes the hinge on the Class Laptops to fail,




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 and (2) prohibits owners from actually using the Class Laptops as laptop computers

 insofar as they cannot be easily used in a portable manner because the

       959. Before purchase, Plaintiffs and the Class could not have readily

 discovered that the Class Laptops were not merchantable, were not of the same

 quality as those generally acceptable in the trade, and did not conform to the quality

 previously represented.

       960. HP has failed to provide adequate remedies under their limited

 warranties, which have caused those warranties to fail of their essential purpose,

 thereby permitting remedies under these implied warranties.

       961. HP has not sufficiently (meaning specifically and conspicuously)

 disclaimed the implied warranty of merchantability.

       962. The purported limitations in HP’s warranties, including limiting the

 exclusive remedy to a refund, repair, or replacement, as well as any durational

 limitations, are procedurally and substantively unconscionable and thus fail under

 U.C.C. § 2-302. HP knew or should have known that the Class Laptops are

 susceptible to premature failure, HP had unequal bargaining power and

 misrepresented the Class Laptops’ reliability, and the limited remedies unreasonably

 favor HP and fail Plaintiffs’ (and the Class’) reasonable expectations for product

 performance.




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       963. Plaintiffs gave HP actual or constructive notice of the breaches of these

 warranties, and HP has failed to cure these breaches.

       964. As a direct and proximate result of the breaches of these implied

 warranties, Plaintiffs and the Class have suffered damages, injury in fact and

 ascertainable loss in an amount to be determined at trial, including repair and

 replacement costs and damages.

       965. Plaintiffs demand judgment against HP for compensatory damages for

 themselves and each class member, for the establishment of a common fund, plus

 additional remedies as this Court deems fit.

                                 Count XLII
                              Declaratory Relief
   (On Behalf of the Nationwide Class or, alternatively, the State Subclasses)

       966. Plaintiffs reallege and incorporate each of the preceding allegations as

 though fully set forth herein.

       967. Defendant has acted or refuses to act on grounds that apply generally

 to the Class, so that final injunctive relief or corresponding declaratory relief is

 appropriate respecting the Class as a whole within the meaning of Fed. R. Civ. P.

 23.

       968. Plaintiff seeks a ruling that:

           a. Class Laptops have defects that result in a premature hinge failure in

              ordinary use;


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          b. Any limitation of consumer rights in Defendant’s warranty is void as

             unconscionable;

          c. Defendant must notify owners of the Hinge Defect;

          d. Defendant will reassess all prior warranty claims and pay the full cost

             of repairs and damages relating to the Hinge Defect; and

          e. Defendant will pay the cost of inspection to determine whether any

             Class member’s Class Laptops needs replacement due to the Hinge

             Defect.

                                  JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.

                              PRAYER FOR RELIEF
 WHEREFORE, Plaintiffs pray for a judgment against Defendant as follows:

          a. Entering judgment in favor of Plaintiffs against Defendant;

          b. Certification of the proposed Class and Subclasses pursuant to Federal

             Rule of Civil Procedure 23;

          c. Appointment of Plaintiffs as Class Representative for the Class and

             Subclasses;

          d. Appointment of Plaintiffs’ counsel as Class Counsel;

          e. A declaration that HP violated the state statutes that form the basis for

             Plaintiffs’ primary statutory claims;


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         f. A declaration that HP was unjustly enriched by its conduct as described

            herein;

         g. A declaration that the limitations on HP’s warranties are unenforceable

            as set forth herein;

         h. Monetary damages;

         i. Statutory damages;

         j. Restitution;

         k. Injunctive relief;

         l. Disgorgement of all monies received by HP as a result of the unlawful,

            unjust, unfair, and deceptive acts and practices described herein;

         m. Penalties as provided by law;

         n. Treble damages;

         o. A permanent injunction enjoining HP from continuing the unlawful,

            unjust, unfair, and deceptive acts and practices described herein,

            including but not limited to, an injunction preventing incorporation of

            the Hinge Defect in future laptop models;

         p. Pre-judgment and post-judgment interest;

         q. Reasonable attorneys’ fees and expenses; and

         r. Such other further relief that the Court deems just and equitable.




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 Dated: July 28, 2022

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